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 1   SHOOK, HARDY & BACON L.L.P.
     Michael L. Mallow (SBN 188745)
 2   mmallow@shb.com
     Rachel A. Straus (SBN 268836)
 3   rstraus@shb.com
     2049 Century Park East, Suite 3000
 4   Los Angeles, California 90067
     Tel: 424.285.8330 | Fax: 424.204.9093
 5
     Amir Nassihi (SBN 235936)
 6   anassihi@shb.com
     555 Mission Street, Suite 2300
 7   San Francisco, California 94105
     Tel: 415.544.1900 | Fax: 415.391.0281
 8
     Attorneys for Defendant
 9   AMERICAN HONDA MOTOR CO., INC.

10                                UNITED STATES DISTRICT COURT

11                               NORTHERN DISTRICT OF CALIFORNIA

12                                    SAN FRANCISCO DIVISION

13   RONALD RAYNALDO, FERNANDA                    Case No. 4:21-cv-05808-HSG
     NUNES FERREIRA, GEORGE JONES,
14   ROBERT LIZZUL, MITCHELL BRYON                DEFENDANT AMERICAN HONDA
     PAZANKI, JOHN PROVENZANO, HARRY              MOTOR CO., INC.’S ANSWER TO
15   RAPP, DENNIS WOODS, DAYANE                   SECOND AMENDED CLASS ACTION
     TESSINARI, BRENDAN SANGER, and               COMPLAINT
16   JASON CASEY, Individually and on Behalf of
     All Others Similarly Situated,               Judge:        Hon. Haywood S. Gilliam, Jr.
17                                                Ctrm:         2 – 4th Floor
                   Plaintiffs,
18                                                Complaint Filed: July 28, 2021
            v.
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     AMERICAN HONDA MOTOR CO., INC.,
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                   Defendant.
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             AMERICAN HONDA MOTOR CO., INC.’S ANSWER TO SECOND AMENDED COMPLAINT
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 1             Pursuant to Federal Rules of Civil Procedure 8 and 12, defendant American Honda Motor

 2   Co., Inc. (“AHM”) hereby answers and sets forth its affirmative defenses to the Second Amended

 3   Class Action Complaint (“SAC”) of plaintiffs Ronald Raynaldo, Fernanda Nunes Ferreira, George

 4   Jones, Robert Lizzul, Mitchell Bryon Pazanki, Harry Rapp, Dennis Woods, Dayane Tessinari,

 5   Brendan Sanger, and Jason Casey (collectively, “Plaintiffs”). As set forth below, AHM denies each

 6   and every allegation in the SAC not specifically admitted in the following corresponding paragraphs.

 7   I.        INTRODUCTION
 8              1.     Honda markets its vehicles in a manner to convince consumers that they are buying a

 9       product of the highest quality and made with the utmost care and, most importantly, that will be

10       dependable and safe. Honda has actively concealed, however, that millions of vehicles suffer from a

11       latent defect which results in the failure of the vehicles’ essential purpose: to start running and safely

12       transport passengers. The Class Vehicles1 are Honda CR-V (model years 2017-2019) and Honda

13       Accord (model years 2016-2019), and each of these vehicles was delivered to consumers with an

14       identical and inherent defect in the Class Vehicle’s design and/or manufacturing process.

15              ANSWER: AHM admits that it markets certain Honda vehicles and that Plaintiffs have

16       defined the alleged Class Vehicles to include Honda CR-V model years 2017–2019 and Honda

17       Accord model years 2016–2019. AHM denies the remaining allegations in this paragraph, including

18       the existence of the alleged defect.

19              2.     Modern vehicles are made up of nearly 100 small electronic modules that control the

20       numerous functions within the vehicle called electronic control units (“ECUs”). These ECUs are

21       connected to, and communicate via, the vehicle’s Controller Area Network (“CAN”) system and

22       work together to transmit various messages to one another. The CAN system and its ECUs have two

23       operating modes known as, “wake-up” and “sleep.” The purpose of these two modes is to ensure that

24       the vehicle’s 12-volt battery supplies sufficient power to the ECUs that make up the CAN when

25       needed, primarily when the vehicle is being driven, and minimize the depletion of a battery’s power

26       when the vehicle is turned off, referred to as parasitic current drain, or simply “parasitic drain.”

27

28   1
      Plaintiffs reserve the right to amend their definition of Class Vehicles to include additional Honda
     vehicles with the same inherent defect.
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1               ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth

2        of the allegations as to any other vehicles and therefore denies the allegations. AHM does, however,

3        admit that each of the alleged Class Vehicles contains multiple electronic modules called electronic

4        control units (“ECUs”) that control various functions within the vehicle. AHM further admits that

5        some ECUs are connected to, and communicate via, the vehicle’s Controller Area Network (“CAN”).

6        AHM further admits that certain ECUs within the CAN have “wakeup” and “sleep” modes. AHM

7        further admits that certain ECUs draw power from the vehicle’s 12-volt battery, and the “sleep” mode

8        minimizes depletion of the battery when the vehicle is turned off, which is sometimes called parasitic

9        current drain or parasitic drain.

10               3.    Each of the approximately two million Class Vehicles suffers from a uniform defect

11       that causes excessive parasitic draining of the vehicles’ battery storage. The Class Vehicles each

12       contain a substantially similar Fast Controller Area Network (“F-CAN”), which is a subnetwork of

13       the vehicles’ main CAN system. The F-CAN is the network between the powertrain and ECUs that

14       control the chassis functions, and is comprised of many ECUs critical for the safety and dependability

15       of the vehicle. Although the F-CAN is supposed to limit its parasitic draw to less than 50 milliamps

16       (mA)2 when the vehicle is off, it contains a latent defect (including software errors) that results in the

17       F-CAN not entering sleep mode and drawing as much as 350 mA when the vehicle is off.

18       Consequently, the F-CAN causes its ECUs, including the Powertrain Control Module (“PCM”),

19       Vehicle Stability Assist (“VSA”) modulator control unit, and the Body Control Module (“BCM”), to
20       parasitically draw excessive amounts of battery power when the vehicle is off. If not properly

21       repaired, parasitic draining results in the premature discharge of the vehicle’s battery resulting in low

22       battery voltage, and ultimately battery failure, and, in turn, causes numerous vehicle components and

23       systems to malfunction, including certain mandated safety electronics, such as hazard lights.3

24       (Hereinafter, the “Parasitic Drain Defect” or “Defect”.)

25              ANSWER: AHM admits that each of the alleged Class Vehicles contains a Fast Controller

26       Area Network (“F-CAN”), which is a subnetwork within the vehicle’s CAN. AHM further admits

27   2
       A milliamp (mA) is a unit of measurement for an electric current. For context, the average amperage
28   draw of a light bulb is .5 to 1.5 Amps, or 500 mA to 1,500 mA.
     3
       See 49 C.F.R. §571.108, Federal Motor Vehicle Safety Standard (FMVSS) No. 108.
                                                       2
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1    that the F-CAN connects various ECUs that control certain functions within the powertrain and

2    chassis, including the Powertrain Control Module (“PCM”), the Vehicle Stability Assist (“VSA”)

3    modulator control unit (“MCU”), and, in some of the alleged Class Vehicles, the Body Control

4    Module (“BCM”). AHM further admits that a milliamp (mA) is a unit of measurement for an electric

5    current. AHM further admits that Plaintiffs purport to cite a section of the Code of Federal

6    Regulations. The contents of the section speak for themselves, and to the extent the allegations in this

7    paragraph vary therewith, AHM denies the allegations. AHM further denies the remaining allegations

8    in this paragraph, including the existence of the alleged defect.

9           4.     The problems and safety hazards created by the Parasitic Drain Defect are considerable.

10   The most common symptom of the parasitic draining in the Class Vehicles’ F-CAN is a no-start

11   condition, which leaves consumers stranded. Further, the damage caused by the Parasitic Drain

12   Defect manifests without advance notice, creating the risk of vehicles stopping while being driven,

13   and potentially causing federally mandated safety features such as headlights and emergency hazard

14   lights to fail. Prolonged and recurrent battery depletion also results in the overuse of the vehicle’s

15   alternator (which is used to replenish the battery when the engine is on) and can cause the vehicle’s

16   engine to stall if proper voltage isn’t maintained.

17          ANSWER: AHM denies the allegations in this paragraph, including the existence of the

18   alleged defect.

19          5.     As a result of the Defect, Class Vehicle owners are often being required to pay hundreds
20   or thousands of dollars for replacement batteries and F-CAN related repairs. Worse yet, many are

21   still left with the Defect even after these expensive attempts at repair. Replacing batteries and other

22   components which degrade as a result of the Defect are only temporary fixes, because the replacement

23   components will ultimately fail as well.

24          ANSWER: AHM denies the allegations in this paragraph, including the existence of the

25   alleged defect.

26          6.     Honda knew, and/or should have known, that the F-CAN in the Class Vehicles suffered

27   from the Parasitic Drain Defect by February 2017, at the latest. To date, Honda has issued two internal

28   Service Bulletins to its authorized dealerships about components in the F-CAN causing parasitic
                                                           3
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1    draining and resulting in dead batteries in Class Vehicles, but has yet to offer a reliable solution to

2    the Defect or recall the Class Vehicles. Instead, Honda has only instructed its dealers to update

3    internal software and replace dead batteries in certain Class Vehicles, if necessary and if the vehicle

4    is under warranty. Countless consumer reports have shown though that neither “corrective action”

5    remedies the Parasitic Drain Defect, nor does it make the vehicles any more dependable for their

6    owners. Furthermore, as detailed below, a Honda dealership revealed to one plaintiff that Honda is

7    aware that the BCM—a module within the F-CAN—in certain Class Vehicles was not entering sleep

8    mode “after the vehicle was shutdown.” Despite its quiet admission to its dealerships, Honda has yet

9    to issue any service bulletins or otherwise inform Class members that the BCM is at least in part

10   responsible for the ECUs within the F-CAN system failing to enter sleep mode and depleting the

11   vehicles’ batteries.

12          ANSWER: AHM admits that it has issued a Service Bulletin to authorized Honda dealers

13   regarding parasitic draw associated with the VSA MCU in a limited population of certain alleged

14   Class Vehicles that could cause a dead battery, and a Service Bulletin to authorized Honda dealers

15   regarding parasitic draw associated with the PCM in a limited population of certain alleged Class

16   Vehicles that could result in a dead battery. AHM further admits that these two Service Bulletins

17   contain instructions regarding software updates to correct the issues identified therein. AHM denies

18   the remaining allegations in this paragraph, including the existence of the alleged defect.

19           7.     If Plaintiffs and/or other Class members knew of the Defect at the time of purchase or
20   lease, they would not have bought or leased the Class Vehicles or would have paid substantially less

21   for them. Plaintiffs and other Class members were denied the benefit of the bargain in connection

22   with their purchases and/or leasing of the Class Vehicles, and incurred out-of-pocket expenses.

23          ANSWER: AHM denies the allegations in this paragraph, including the existence of the

24   alleged defect.

25           8.     The conduct described herein makes Defendant liable for, among other things, breach

26   of express and implied warranties, and unfair, deceptive, and/or fraudulent business practices. In turn,

27   owners and/or lessees of the Class Vehicles, including Plaintiffs, have suffered an ascertainable loss

28   of money and/or property and/or loss in value. The unfair and deceptive trade practices committed
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1     by Defendant caused Plaintiffs and the members of the Class damages, including, but not limited to,

2     loss of value, loss of use of the vehicles, battery replacement and other repair costs. Each of the

3     Plaintiffs will, and do, suffer the threat of future harm in that they are unable, due to the conduct of

4     Defendant alleged herein, to rely on Defendant’s advertising and statements concerning Defendant’s

5     vehicles in the future and therefore will be deprived of the ability to purchase a vehicle manufactured

6     by Defendant though each of the Plaintiffs would like to do so.

7               ANSWER: AHM denies the allegations in this paragraph.

8               9.    Accordingly, Plaintiffs bring this action to redress Defendant’s misconduct. Plaintiffs

9     seek recovery of damages and a repair under state consumer protection statutes and applicable express

10    and implied warranties, and reimbursement of all expenses associated with the repair or replacement

11    of the Class Vehicles.

12              ANSWER: AHM admits that Plaintiffs assert various consumer protection statute and

13    express warranty claims in this action and seek damages and repairs. AHM denies the remaining

14    allegations in this paragraph, including that Plaintiffs are entitled to any relief.

15   II.        JURISDICTION AND VENUE
16              10.   This Court has subject matter jurisdiction under the Class Action Fairness Act of 2005,

17    28 U.S.C. §1332(d)(2) and (6), because: (a) there are 100 or more class members; (b) there is an

18    aggregate amount in controversy exceeding $5,000,000.00 exclusive of interest and costs; and (c)

19    there is minimal diversity because at least one plaintiff and one defendant are citizens of different
20    states.

21              ANSWER: This paragraph sets forth a legal conclusion to which no response is required.

22    To the extent a response is required, AHM denes that Plaintiffs or anyone else suffered any monetary

23    loss and/or any other injury. AHM further denies this action is suitable for class treatment. AHM

24    admits there is minimal diversity because at least one member of the proposed class and one defendant

25    are citizens of different states. Except as otherwise admitted, AHM denies the allegations in this

26    paragraph.

27              11.   Venue is proper in this judicial district under 28 U.S.C. §1391 because Defendant

28    transacts substantial business and because Plaintiff Ronald Raynaldo (“Raynaldo”) purchased his
                                                          5
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1     Class Vehicle at issue in this District. Defendant advertised in this District and received substantial

2     revenue and profits from sales and/or leases of the Class Vehicles in this District. Therefore, a

3     substantial part of the events and/or omissions giving rise to the claims occurred, in part, within this

4     District.

5              ANSWER: The allegations in this paragraph are conclusions of law to which no response

6     is required. To the extent a response is required, AHM does not contest that venue is proper.

7              12.   This Court has personal jurisdiction over Defendant by virtue of its transactions and

8     business conducted in this judicial district. Defendant has transacted and done business, and violated

9     statutory and common law, in the State of California and in this District.

10             ANSWER: This paragraph sets forth legal conclusions to which no response is required. To

11    the extent a response is required, AHM admits it does business in California. AHM denies the

12    remaining allegations in this paragraph.

13   III.     INTRA-DISTRICT CASE ASSIGNMENT
14             13.   Pursuant to Civil Local Rule 3-2(c), an intra-district assignment to the San Francisco

15    or Oakland Division is appropriate because a substantial part of the events or omissions which give

16    rise to the claims asserted herein occurred in this Division, including that Plaintiff Raynaldo made

17    his purchase of his 2017 Honda Accord in San Francisco, California.

18             ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth

19    of the allegations in this paragraph and therefore denies the allegations.
20   IV.      PARTIES
21            A.     Plaintiffs

22                   1.     Ronald Raynaldo

23             14.   Plaintiff Raynaldo is a citizen of California and resides in San Francisco, California.

24    Plaintiff Raynaldo purchased a 2017 Honda Accord, vehicle identification number (“VIN”)

25    1HGCR2F57HA112027, from San Francisco Honda, located at 1395 Van Ness Avenue, San

26    Francisco, California 94109 in April 2019.

27             ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth

28    of the allegations in this paragraph and therefore denies the allegations.
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1           15.     San Francisco Honda is part of Honda’s network of authorized dealers across the

2    United States. Honda features San Francisco Honda on its website as an authorized Honda dealer,

3    with links to lists of inventory of Honda vehicles on its website.

4           ANSWER: AHM admits that San Francisco Honda is an authorized Honda dealer. AHM

5    further admits that San Francisco Honda is listed on its website as an authorized Honda dealer. AHM

6    denies the remaining allegations in this paragraph.

7           16.     When shopping for his Class Vehicle, Plaintiff Raynaldo researched and considered

8    the reliability and quality of the make and manufacturer, and has purchased Hondas in the past, so

9    Plaintiff Raynaldo was familiar with Honda’s representations about Honda’s vehicle quality, safety,

10   and warranties.

11          ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth

12   of the allegations in this paragraph and therefore denies the allegations.

13          17.     Prior to purchasing his Class Vehicle, Plaintiff Raynaldo was aware of and/or reviewed

14   Honda’s promotional materials on the internet and/or at San Francisco Honda, saw stickers the dealer

15   placed on the vehicle, and interacted with Honda sales agents at San Francisco Honda. Each of those

16   information sources failed to disclose the presence of the Defect in 2017 Honda Accord models or

17   the other Class Vehicles.

18          ANSWER: AHM denies the existence of the alleged defect. AHM lacks knowledge or

19   information sufficient to form a belief about the truth of the remaining allegations in this paragraph
20   and therefore denies the allegations.

21          18.     Through his exposure and interaction with Honda, Plaintiff Raynaldo was aware of

22   Honda’s uniform and nationwide marketing message that its vehicles are safe and dependable, which

23   was material to his decision to purchase his Class Vehicle. When he purchased the vehicle, he

24   believed that, based on Honda’s marketing message, he would be in a safe and dependable vehicle,

25   one that is safer than a vehicle that is not marketed as safe and dependable. At no point before Plaintiff

26   Raynaldo purchased his vehicle did Honda disclose to him that his vehicle was not safe or dependable,

27   or that it suffered from the Parasitic Drain Defect, which creates safety risks and renders the vehicle

28   useless.
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1              ANSWER: AHM denies the existence of the alleged defect. AHM lacks knowledge or

2    information sufficient to form a belief about the truth of the remaining allegations in this paragraph

3    and therefore denies the allegations.

4              19.   After purchasing the vehicle, Plaintiff Raynaldo experienced issues with his Class

5    Vehicle as a result of the Defect. Plaintiff Raynaldo has often had to jump-start his Class Vehicle as

6    he often finds the battery dead or the vehicle not capable of starting when left even for short periods

7    of time. Plaintiff Raynaldo does not have a vehicle that is safe or reliable as advertised by Honda.

8              ANSWER: AHM denies the existence of the alleged defect. AHM lacks knowledge or

9    information sufficient to form a belief about the truth of the remaining allegations in this paragraph

10   and therefore denies the allegations.

11             20.   Plaintiff Raynaldo purchased his Class Vehicle with the Parasitic Drain Defect as part

12   of a transaction in which Honda did not disclose material facts related to the automobile’s essential

13   purpose—safe and dependable transportation. Plaintiff Raynaldo did not receive the benefit of his

14   bargain. He purchased a vehicle that is of a lesser standard, grade, and quality than represented, and

15   he did not receive a vehicle that met ordinary and reasonable consumer expectations regarding safe

16   and reliable operation. The Parasitic Drain Defect has significantly diminished the value of Plaintiff

17   Raynaldo’s Class Vehicle.

18             ANSWER: AHM denies allegations in this paragraph, including the existence of the alleged

19   defect.
20             21.   Had Honda disclosed the Defect, Plaintiff Raynaldo would not have purchased his

21   Class Vehicle, or would have paid less to do so.

22             ANSWER: AHM denies the existence of the alleged defect. AHM lacks knowledge or

23   information sufficient to form a belief about the truth of the remaining allegations in this paragraph

24   and therefore denies the allegations.

25             22.   Plaintiff Raynaldo would purchase another Honda vehicle from Honda in the future if

26   Defendant’s representations about the vehicle, including its safety and durability, were accurate.

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1           ANSWER: AHM denies that its representations about Honda vehicles were or are

2    inaccurate. AHM lacks knowledge or information sufficient to form a belief about the truth of the

3    remaining allegations in this paragraph and therefore denies the allegations.

4                  2.      Fernanda Nunes Ferreira

5           23.    Plaintiff Fernanda Nunes Ferreira (“Ferreira”) is a citizen of Florida, and resides in

6    Pompano Beach, Florida. Plaintiff Ferreira purchased a 2017 Honda Accord in December 2017, VIN

7    7FARW1H86HE041546, from Hendrick Pompano Beach, an authorized Honda dealer, located at

8    5381 North Federal Highway, Pompano Beach, Florida 33064. Plaintiff Ferreira’s Class Vehicle was

9    covered by a written warranty. When shopping for her Class Vehicle, Plaintiff Ferreira researched

10   and considered the reliability and quality of the make and manufacturer, including Honda’s warranty.

11   Prior to purchasing the Class Vehicle, Plaintiff Ferreira heard, viewed, and/or read Honda marketing

12   materials and advertisements including commercials and internet advertisements that represented the

13   reliability and safety of Honda vehicles.

14          ANSWER: AHM admits that Hendrick Honda Pompano Beach is an authorized Honda

15   dealer. AHM lacks knowledge or information sufficient to form a belief about the truth of the

16   remaining allegations in this paragraph and therefore denies the allegations.

17          24.    Plaintiff Ferreira relied on the information regarding the quality, safety, and reliability

18   of the Class Vehicle conveyed in those marketing materials and advertisements in deciding to

19   purchase her Class Vehicle. Honda failed to disclose the Parasitic Drain Defect to Plaintiff Ferreira
20   before she purchased her Class Vehicle, despite Honda’s knowledge of the Defect. Plaintiff Ferreira,

21   therefore, purchased her Class Vehicle on a reasonable, but mistaken, belief that it would be a high

22   quality, reliable, and safe vehicle. Plaintiff Ferreira would not have purchased the Class Vehicle, or

23   would not have paid as much for it, had she known the vehicle had a Defect that could drain the

24   battery and leave her stranded without warning.

25          ANSWER: AHM denies the existence of the alleged defect. AHM lacks knowledge or

26   information sufficient to form a belief about the truth of the remaining allegations in this paragraph

27   and therefore denies the allegations.

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1           25.    After purchasing the vehicle, Plaintiff Ferreira experienced issues with her Class

2    Vehicle as a result of the Defect. Plaintiff Ferreira does not have a vehicle that is safe or reliable as

3    advertised by Honda.

4           ANSWER: AHM denies the existence of the alleged defect. AHM lacks knowledge or

5    information sufficient to form a belief about the truth of the remaining allegations in this paragraph

6    and therefore denies the allegations.

7                  3.       George Jones

8           26.    Plaintiff George Jones (“Jones”) is a citizen of Iowa and resides in Lamoni, Iowa.

9    Plaintiff Jones purchased a new 2019 Honda CR-V, VIN 7FARW2H5XKE005457, from Smart

10   Honda, located at 11206 Hickman Road, Clive, Iowa 50325, on February 22, 2019.

11          ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth

12   of the allegations in this paragraph and therefore denies the allegations.

13          27.    Smart Honda is part of Honda’s network of authorized dealers across the United States.

14   Honda promotes Smart Honda on its website and lists Smart Honda’s inventory of Honda vehicles

15   on its website.

16          ANSWER: AHM admits that Smart Honda is an authorized Honda dealer. AHM further

17   admits that Smart Honda is listed on its website as an authorized Honda dealer. AHM denies the

18   remaining allegations in this paragraph.

19          28.    When shopping for his Class Vehicle, Plaintiff Jones researched and considered the
20   reliability and quality of the make and manufacturer, including Honda’s warranty department.

21   Plaintiff Jones frequently travels for work and to visit family out of state, so the ability to park his

22   vehicle for a week at a time without the need to call a tow truck or jump-start the vehicle, among

23   other things, was integral to his decision to purchase a Class Vehicle.

24          ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth

25   of the allegations in this paragraph and therefore denies the allegations.

26          29.    Prior to purchasing his Class Vehicle, Plaintiff Jones reviewed Honda’s promotional

27   materials on the internet and at Smart Honda, the Monroney sticker, and sales brochures, and

28   interacted with Honda sales agents at Smart Honda. Each of those failed to disclose the presence of
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1    the Defect in the 2019 Honda CR-V models. Plaintiff Jones specifically questioned Honda’s sales

2    agent regarding the dependability of the Class Vehicle and was told that the CR-V has been in

3    Honda’s line of vehicles for many years, was well tested, and reliable. Plaintiff Jones also reviewed

4    Honda’s New Vehicle Limited Warranty, and discussed all applicable written express warranties with

5    Honda sales agents.

6           ANSWER: AHM denies the existence of the alleged defect. AHM lacks knowledge or

7    information sufficient to form a belief about the truth of the remaining allegations in this paragraph

8    and therefore denies the allegations.

9           30.    Through his exposure and interaction with Honda, Plaintiff Jones was aware of

10   Honda’s uniform and nationwide marketing message that its vehicles are safe and dependable, which

11   was material to his decision to purchase his Class Vehicle. When he purchased the vehicle, he

12   believed that, based on Honda’s marketing message, he would be in a safe and dependable vehicle,

13   one that is safer than a vehicle that is not marketed as safe and dependable. At no point before Plaintiff

14   Jones purchased his Class Vehicle did Honda disclose to him that his vehicle was not safe or

15   dependable, or that it suffered from the Parasitic Drain Defect, which creates safety risks and renders

16   the vehicle useless.

17          ANSWER: AHM denies the existence of the alleged defect. AHM lacks knowledge or

18   information sufficient to form a belief about the truth of the remaining allegations in this paragraph

19   and therefore denies the allegations.
20          31.    After purchasing his Class Vehicle, Plaintiff Jones experienced issues caused by the

21   Defect multiple times—although he was unaware of the cause at the time. Within months of

22   purchasing his Class Vehicle, on March 12, 2019, Plaintiff first experienced an issue caused by the

23   Parasitic Drain Defect in his Class Vehicle—although he was unaware of the cause at the time—

24   when he had a no-start condition and found his battery depleted. Plaintiff Jones then called an

25   emergency service company to jump-start his vehicle. Plaintiff Jones then brought his vehicle into

26   Smart Honda where he was told by an employee that the issue he experienced was “common” and

27   that Honda had to “reset” the vehicle so that it would not occur again. Two months later, in May

28   2019, Plaintiff Jones again found his vehicle with an inexplicable dead battery, and on May 15, 2019,
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1        brought his vehicle into Smart Honda. There, Smart Honda performed a multipoint inspection and

2        updated the vehicle’s PCM so that the ECUs within the F-CAN would enable sleep mode when the

3        vehicle is turned off, as Honda instructed in its Service Bulletin 19-039 (discussed below).4

4               ANSWER: AHM admits that Plaintiffs purport to reference a website containing a copy of

5        Honda’s Service Bulletin 19-039. The contents of the website and Honda’s Service Bulletin 19-039

6        speak for themselves, and to the extent the allegations in this paragraph vary therewith, AHM denies

7        the allegations. AHM further denies the existence of the alleged defect. AHM lacks knowledge or

8        information sufficient to form a belief about the truth of the remaining allegations in this paragraph

9        and therefore denies the allegations.

10              32.    Despite Smart Honda performing the software update, Plaintiff Jones’s Class Vehicle

11       continued to suffer from the Parasitic Drain Defect. On December 18, 2020, Plaintiff Jones again

12       brought his vehicle into Smart Honda. This time, Smart Honda ran a system check and concluded

13       that there is “no parasitic draw,” and reset the vehicle’s diagnostic trouble codes.

14              ANSWER: AHM denies the existence of the alleged defect. AHM lacks knowledge or

15       information sufficient to form a belief about the truth of the remaining allegations in this paragraph

16       and therefore denies the allegations.

17              33.    Given the issue causing the dead batteries is not limited to the battery itself, the new

18       battery fared no better and Plaintiff Jones’s Class Vehicle continued to suffer from the F-CAN failing

19       to enable sleep mode. Just a month later, on January 20, 2021, Plaintiff was forced to bring his vehicle
20       back to Smart Honda for the same issue. On February 1, 2021, Smart Honda replaced the battery

21       installed just a month and a half earlier.

22              ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth

23       of the allegations in this paragraph and therefore denies the allegations.

24              34.    On February 2, 2021, a Smart Honda technician contacted Honda’s technical support

25       line and spoke with a Honda engineer. The engineer stated that 2017-2019 Honda CR-Vs were known

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28      NHTSA ID No.: 10156620, Manufacturer Communication Number: A19-039, available at
     https://static.nhtsa.gov/odi/tsbs/2019/MC-10156620-0001.pdf. See infra ¶ 188.
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1    to experience an issue where the BCM, which is part of the F-CAN system and communicates with

2    other sub-computers in the vehicle, does not enable shut down when the vehicle is turned off.

3              ANSWER: AHM denies that the BCM in 2017–2019 CR-Vs is defective or has an issue

4    shutting down when the vehicle is turned off. AHM lacks knowledge or information sufficient to

5    form a belief about the truth of the remaining allegations in this paragraph and therefore denies the

6    allegations.

7              35.   Plaintiff Jones purchased his Class Vehicle with the Parasitic Drain Defect as part of a

8    transaction in which Honda did not disclose material facts related to the automobile’s essential

9    purpose—safe and dependable transportation. Plaintiff Jones did not receive the benefit of his

10   bargain. He purchased a vehicle that is of a lesser standard, grade, and quality than represented, and

11   he did not receive a vehicle that met ordinary and reasonable consumer expectations regarding safe

12   and reliable operation. The Parasitic Drain Defect has significantly diminished the value of Plaintiff

13   Jones’ Class Vehicle.

14             ANSWER: AHM denies allegations in this paragraph, including the existence of the alleged

15   defect.

16             36.   Had Honda disclosed the Defect, Plaintiff Jones would not have purchased his Class

17   Vehicle, or would have paid less to do so.

18             ANSWER: AHM denies the existence of the alleged defect. AHM lacks knowledge or

19   information sufficient to form a belief about the truth of the remaining allegations in this paragraph
20   and therefore denies the allegations.

21             37.   Plaintiff Jones would purchase another Honda vehicle from Honda in the future if

22   Defendant’s representations about the vehicle, including its safety and durability, were accurate.

23             ANSWER: AHM denies that its representations about Honda vehicles were or are

24   inaccurate. AHM lacks knowledge or information sufficient to form a belief about the truth of the

25   remaining allegations in this paragraph and therefore denies the allegations.

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1                  4.        Robert Lizzul

2           38.    Plaintiff Robert Lizzul (“Lizzul”) is a citizen of New York and resides in Flushing,

3    New York. Plaintiff Lizzul purchased a used 2017 Honda CR-V, VIN 2HKRW2H81HH606210, from

4    Rockland Motors, located at 85 Route 303 North, West Nyack, New York 10994, on January 2, 2020.

5           ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth

6    of the allegations in this paragraph and therefore denies the allegations.

7           39.    When shopping for his Class Vehicle, Plaintiff Lizzul researched and considered the

8    reliability and quality of the make and manufacturer. Prior to purchasing his Class Vehicle, Plaintiff

9    Lizzul was aware of and/or reviewed Honda’s promotional materials on the internet. Each of those

10   information sources failed to disclose the presence of the Defect in 2017 Honda CR-V models or the

11   other Class Vehicles.

12          ANSWER: AHM denies the existence of the alleged defect. AHM lacks knowledge or

13   information sufficient to form a belief about the truth of the remaining allegations in this paragraph

14   and therefore denies the allegations.

15          40.    Through his exposure and interaction with Honda, Plaintiff Lizzul was aware of

16   Honda’s uniform and nationwide marketing message that its vehicles are safe and dependable, which

17   was material to his decision to purchase his Class Vehicle. When he purchased the vehicle, he

18   believed that, based on Honda’s marketing message, he would be in a safe and dependable vehicle,

19   one that is safer than a vehicle that is not marketed as safe and dependable. At no point before Plaintiff
20   Lizzul purchased his Class Vehicle did Honda disclose to him that his vehicle was not safe or

21   dependable, or that it suffered from the Parasitic Drain Defect, which creates safety risks and renders

22   the vehicle useless.

23          ANSWER: AHM denies the existence of the alleged defect. AHM lacks knowledge or

24   information sufficient to form a belief about the truth of the remaining allegations in this paragraph

25   and therefore denies the allegations.

26          41.    After purchasing his Class Vehicle, Plaintiff Lizzul experienced issues caused by the

27   Defect multiple times. After his Class Vehicle was unable to start multiple times and he required the

28   assistance of AAA, on or around June 29, 2021, Plaintiff Lizzul brought his vehicle into Empire
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1    Honda of Manhasset, an authorized Honda dealership that is promoted on Honda’s website, with links

2    to its inventory of Honda vehicles. Plaintiff Lizzul’s had 24,294 miles driven at the time he brought

3    his Class Vehicle into Empire Honda. Empire Honda performed a “multi-point inspection” on the

4    vehicle.. Empire Honda informed Plaintiff Lizzul that the F-CAN’s BCM “must Ebel replaced.” In

5    total, Plaintiff Lizzul was forced to pay $961.34 in parts and labor to replace the BCM. At the time

6    he incurred this out-of-pocket expense, Plaintiff Lizzul was not informed that Honda had already

7    determined that 2017 CR-V vehicles were “having a problem with the BCM (body control module)

8    staying on after the vehicle was shut down.”

9              ANSWER: AHM admits that Honda of Manhasset is an authorized Honda dealer. AHM

10   further admits that Honda of Manhasset is listed on its website as an authorized Honda dealer. AHM

11   denies the existence of the alleged defect and that the BCM in 2017 CR-Vs has an issue shutting

12   down when the vehicle is turned off. AHM lacks knowledge or information sufficient to form a belief

13   about the truth of the remaining allegations in this paragraph and therefore denies the allegations.

14             42.   Plaintiff Lizzul purchased his Class Vehicle with the Parasitic Drain Defect as part of

15   a transaction in which Honda did not disclose material facts related to the automobile’s essential

16   purpose—safe and dependable transportation. Plaintiff Lizzul did not receive the benefit of his

17   bargain. He purchased a vehicle that is of a lesser standard, grade, and quality than represented, and

18   he did not receive a vehicle that met ordinary and reasonable consumer expectations regarding safe

19   and reliable operation. The Parasitic Drain Defect has significantly diminished the value of Plaintiff
20   Lizzul’s Class Vehicle.

21             ANSWER: AHM denies allegations in this paragraph, including the existence of the alleged

22   defect.

23             43.   Had Honda disclosed the Defect, Plaintiff Lizzul would not have purchased his Class

24   Vehicle, or would have paid less to do so.

25             ANSWER: AHM denies the existence of the alleged defect. AHM lacks knowledge or

26   information sufficient to form a belief about the truth of the remaining allegations in this paragraph

27   and therefore denies the allegations.

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1           44.    Plaintiff Lizzul would purchase another Honda vehicle from Honda in the future if

2    Defendant’s representations about the vehicle, including its safety and durability, were accurate.

3           ANSWER: AHM denies that its representations about Honda vehicles were or are

4    inaccurate. AHM lacks knowledge or information sufficient to form a belief about the truth of the

5    remaining allegations in this paragraph and therefore denies the allegations.

6                  5.      Mitchell Bryon Pazanki

7           45.    Plaintiff Mitchell Bryon Pazanki (“Pazanki”) is a citizen of Florida, and resides in

8    Jupiter, Florida. Plaintiff Pazanki purchased a used 2018 Honda Accord in 2020, VIN

9    1HGCV1F3XJA128829, from Delray Honda, an authorized Honda dealer, located at 2500 South

10   Federal Highway, Delray Beach, Florida 33483. Plaintiff Pazanki’s Class Vehicle was covered by a

11   written warranty. When shopping for his Class Vehicle, Plaintiff Pazanki researched and considered

12   the reliability and quality of the make and manufacturer, including Honda’s warranty. Prior to

13   purchasing the Class Vehicle, Plaintiff Pazanki heard, viewed, and/read Honda marketing materials

14   and advertisements including brochures, commercials, and interne advertisements that touted the

15   quality, reliability, and safety of Honda vehicles.

16          ANSWER: AHM admits that Delray Honda is an authorized Honda dealer. AHM lacks

17   knowledge or information sufficient to form a belief about the truth of the remaining allegations in

18   this paragraph and therefore denies the allegations.

19          46.    Plaintiff Pazanki relied on the information regarding the quality, safety, and reliability
20   of the Class Vehicle conveyed in those marketing materials and advertisements in deciding to

21   purchase his Class Vehicle. Honda failed to disclose the Parasitic Drain Defect to Plaintiff Pazanki

22   before he purchased his Class Vehicle, despite Honda’s knowledge of the Defect, and Plaintiff

23   Pazanki, therefore, purchased his Class Vehicle on the reasonable, but mistaken, belief that it would

24   be a high quality, reliable and safe vehicle. Plaintiff Pazanki would not have purchased the Class

25   Vehicle, or would not have paid as much for it, had he known the vehicle had a Defect that could

26   drain the battery and leave him stranded without warning.

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1           ANSWER: AHM denies the existence of the alleged defect. AHM lacks knowledge or

2    information sufficient to form a belief about the truth of the remaining allegations in this paragraph

3    and therefore denies the allegations.

4           47.    After purchasing the vehicle, Plaintiff Pazanki experienced issues with his Class

5    Vehicle as a result of the Defect. Plaintiff Pazanki does not have a vehicle that is safe or reliable as

6    advertised by Honda.

7           ANSWER: AHM denies the existence of the alleged defect. AHM lacks knowledge or

8    information sufficient to form a belief about the truth of the remaining allegations in this paragraph

9    and therefore denies the allegations.

10          48.    Plaintiff Pazanki would purchase another Honda vehicle from Honda in the future if

11   Defendant’s representations about the vehicle, including its safety and durability, were accurate.

12          ANSWER: AHM denies that its representations about Honda vehicles were or are

13   inaccurate. AHM lacks knowledge or information sufficient to form a belief about the truth of the

14   remaining allegations in this paragraph and therefore denies the allegations.

15                 6.       Harry Rapp

16          49.    Plaintiff Harry Rapp (“Rapp”) is a citizen of Arizona, and resides in Lake Havasu City,

17   Arizona. Plaintiff Rapp purchased a new 2018 Honda CR-V, VIN 7FARW1H89JE005050, from

18   Findlay Honda, located at 7494 West Azure Drive, Las Vegas, Nevada 89130, on May 18, 2018.

19          ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth
20   of the allegations in this paragraph and therefore denies the allegations.

21          50.    Findlay Honda is part of Honda’s network of authorized dealers across the United

22   States. Honda features Findlay Honda on its website as an authorized Honda dealer, with links to lists

23   of inventory of Honda vehicles on its website.

24          ANSWER: AHM admits that Findlay Honda is an authorized Honda dealer. AHM further

25   admits that Findlay Honda is listed on its website as an authorized Honda dealer. AHM denies the

26   remaining allegations in this paragraph.

27          51.    When shopping for his Class Vehicle, Plaintiff Rapp researched and considered the

28   reliability and quality of the make and manufacturer. Prior to purchasing his Class Vehicle, Plaintiff
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1    Rapp was aware of and/or reviewed Honda’s promotional materials on the internet and/or at Findlay

2    Honda, saw stickers the dealer placed on the vehicle, and interacted with Honda sales agents at

3    Findlay Honda. Each of those information sources failed to disclose the presence of the Defect in in

4    2018 Honda CR-V models or the other Class Vehicles.

5           ANSWER: AHM denies the existence of the alleged defect. AHM lacks knowledge or

6    information sufficient to form a belief about the truth of the remaining allegations in this paragraph

7    and therefore denies the allegations.

8           52.     Through his exposure and interaction with Honda, Plaintiff Rapp was aware of Honda’s

9    uniform and nationwide marketing message that its vehicles are safe and dependable, which was

10   material to his decision to purchase his Class Vehicle. When he purchased the vehicle, he believed

11   that, based on Honda’s marketing message, he would be in a safe and dependable vehicle, one that is

12   safer than a vehicle that is not marketed as safe and dependable. At no point before Plaintiff Rapp

13   purchased his Class Vehicle did Honda disclose to him that his vehicle was not safe or dependable,

14   or that it suffered from the Parasitic Drain Defect, which creates safety risks and renders the vehicle

15   useless.

16          ANSWER: AHM denies the existence of the alleged defect. AHM lacks knowledge or

17   information sufficient to form a belief about the truth of the remaining allegations in this paragraph

18   and therefore denies the allegations.

19          53.     Within months of purchasing the vehicle, Plaintiff Rapp first experienced issues caused
20   by the Defect—although he was unaware of the cause at the time. In October 2018, Plaintiff found

21   his vehicle’s battery dead and he was unable to start his vehicle without a jump. On October 1, 2018,

22   Plaintiff Rapp brought his vehicle into Kingman Honda, an authorized Honda dealer promoted on

23   Honda’s website, when he informed them that the “vehicle had to be jump-started.” Kingman Honda

24   stated the “cause” of the no-start condition was the battery: “over time and short trips the battery can

25   no longer be charged or hold a charge.” Kingman Honda replaced the battery and stated that the

26   vehicle was “working properly.” However, the new battery did not address the F-CAN’s defect and

27   Plaintiff Rapp continued to experience no-start conditions. On October 1, 2020, Plaintiff Rapp went

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1    back to Kingman Honda due to the vehicle failing to start. Kingman Honda determined that the

2    battery failed the load test and needed to be replaced.

3              ANSWER: AHM admits that Kingman Honda is an authorized Honda dealer featured on

4    its website. AHM denies the existence of the alleged defect. AHM lacks knowledge or information

5    sufficient to form a belief about the truth of the remaining allegations in this paragraph and therefore

6    denies the allegations.

7              54.   On multiple occasions, Plaintiff Rapp has had to jump-start his Class Vehicle, and he

8    continues to experience other electrical issues such as side mirrors and warning systems not operating

9    properly. Plaintiff Rapp has been forced to purchase additional new vehicle batteries which would

10   not have been necessary but for the presence of the parasitic draw Defect in his Class Vehicle.

11             ANSWER: AHM denies the existence of the alleged defect. AHM lacks knowledge or

12   information sufficient to form a belief about the truth of the remaining allegations in this paragraph

13   and therefore denies the allegations.

14             55.   Because the replacement battery does not resolve the Parasitic Drain Defect, Plaintiff

15   Rapp is left with a vehicle that he knows could have battery failure at any time and without warning

16   and thus does not have a vehicle that is safe or reliable as advertised by Honda.

17             ANSWER: AHM denies the existence of the alleged defect. AHM lacks knowledge or

18   information sufficient to form a belief about the truth of the remaining allegations in this paragraph

19   and therefore denies the allegations.
20             56.   Plaintiff Rapp purchased his Class Vehicle with the Parasitic Drain Defect as part of a

21   transaction in which Honda did not disclose material facts related to the automobile’s essential

22   purpose—safe and dependable transportation. Plaintiff Rapp did not receive the benefit of his bargain.

23   He purchased a Class Vehicle that is of a lesser standard, grade, and quality than represented, and he

24   did not receive a vehicle that met ordinary and reasonable consumer expectations regarding safe and

25   reliable operation. The Parasitic Drain Defect has significantly diminished the value of Plaintiff

26   Rapp’s Class Vehicle.

27             ANSWER: AHM denies allegations in this paragraph, including the existence of the alleged

28   defect.
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1           57.    Had Honda disclosed the Defect, Plaintiff Rapp would not have purchased his Class

2    Vehicle, or would have paid less to do so.

3           ANSWER: AHM denies the existence of the alleged defect. AHM lacks knowledge or

4    information sufficient to form a belief about the truth of the remaining allegations in this paragraph

5    and therefore denies the allegations.

6           58.    Plaintiff Rapp would purchase another Honda vehicle from Honda in the future if

7    Defendant’s representations about the vehicle, including its safety and durability, were accurate.

8           ANSWER: AHM denies that its representations about Honda vehicles were or are

9    inaccurate. AHM lacks knowledge or information sufficient to form a belief about the truth of the

10   remaining allegations in this paragraph and therefore denies the allegations.

11                 7.      Dennis Woods

12          59.    Plaintiff Dennis Woods (“Woods”) is a citizen of Florida, and resides in Land 0’ Lakes,

13   Florida. Plaintiff Woods purchased a used, certified, pre-owned 2016 Honda Accord, VIN

14   1HGCR2F5XGA234699, from Wesley Chapel Honda, located at 27750 Wesley Chapel Boulevard,

15   Wesley Chapel, Florida 33544, on August 26, 2016.

16          ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth

17   of the allegations in this paragraph and therefore denies the allegations.

18          60.    Wesley Chapel Honda is part of Honda’s network of authorized dealers across the

19   United States. Honda features Wesley Chapel Honda on its website as an authorized Honda dealer,
20   with links to lists of inventory of Honda vehicles on its website.

21          ANSWER: AHM admits that Wesley Chapel Honda is an authorized Honda dealer. AHM

22   further admits that Wesley Chapel Honda is listed on its website as an authorized Honda dealer. AHM

23   denies the remaining allegations in this paragraph.

24          61.    When shopping for his Class Vehicle, Plaintiff Woods researched and considered the

25   reliability and quality of the make and manufacturer. Prior to purchasing his Class Vehicle, Plaintiff

26   Woods was aware of and/or reviewed Honda’s promotional materials on the interne and/or at Wesley

27   Chapel Honda, saw stickers the dealer placed on the vehicle, and interacted with Honda sales agents

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1    at Wesley Chapel Honda. Each of those information sources failed to disclose the presence of the

2    Defect in 2016 Honda Accord models or the other Class Vehicles.

3           ANSWER: AHM denies the existence of the alleged defect. AHM lacks knowledge or

4    information sufficient to form a belief about the truth of the remaining allegations in this paragraph

5    and therefore denies the allegations.

6           62.    Through his exposure and interaction with Honda, Plaintiff Woods was aware of

7    Honda’s uniform and nationwide marketing message that its vehicles are safe and dependable, which

8    was material to his decision to purchase his Class Vehicle. When he purchased the vehicle, he

9    believed that, based on Honda’s marketing message, he would be in a safe and dependable vehicle,

10   one that is safer than a vehicle that is not marketed as safe and dependable. At no point before Plaintiff

11   Woods purchased his Class Vehicle did Honda disclose to him that his vehicle was not safe or

12   dependable, or that it suffered from the Parasitic Drain Defect, which creates safety risks and renders

13   the vehicle useless.

14          ANSWER: AHM denies the existence of the alleged defect. AHM lacks knowledge or

15   information sufficient to form a belief about the truth of the remaining allegations in this paragraph

16   and therefore denies the allegations.

17          63.    After purchasing the Class Vehicle, Plaintiff Woods experienced issues caused by the

18   Defect multiple times—although he was unaware of the cause at the time. Ultimately, Plaintiff Woods

19   found his vehicle had a dead battery and was unable to start. On multiple occasions, Plaintiff Woods
20   has had to jump-start his Class Vehicle. By June of 2021, approximately five years after he purchased

21   his Class Vehicle, Plaintiff Woods replaced the battery in his vehicle three times and has incurred

22   other service expenses caused by the Defect.

23          ANSWER: AHM denies the existence of the alleged defect. AHM lacks knowledge or

24   information sufficient to form a belief about the truth of the remaining allegations in this paragraph

25   and therefore denies the allegations.

26          64.    Because the replacement battery does not resolve the Parasitic Drain Defect, Plaintiff

27   Woods is left with a vehicle that he knows could have battery failure at any time and without warning

28   and thus does not have a vehicle that is safe or reliable as advertised by Honda.
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1              ANSWER: AHM denies the existence of the alleged defect. AHM lacks knowledge or

2    information sufficient to form a belief about the truth of the remaining allegations in this paragraph

3    and therefore denies the allegations.

4              65.   Plaintiff Woods purchased his Class Vehicle with the Parasitic Drain Defect as part of

5    a transaction in which Honda did not disclose material facts related to the automobile’s essential

6    purpose—safe and dependable transportation. Plaintiff Woods did not receive the benefit of his

7    bargain. He purchased a vehicle that is of a lesser standard, grade, and quality than represented, and

8    he did not receive a vehicle that met ordinary and reasonable consumer expectations regarding safe

9    and reliable operation. The Parasitic Drain Defect has significantly diminished the value of Plaintiff

10   Woods’ Class Vehicle.

11             ANSWER: AHM denies allegations in this paragraph, including the existence of the alleged

12   defect.

13             66.   Had Honda disclosed the Defect, Plaintiff Woods would not have purchased his Class

14   Vehicle, or would have paid less to do so.

15             ANSWER: AHM denies the existence of the alleged defect. AHM lacks knowledge or

16   information sufficient to form a belief about the truth of the remaining allegations in this paragraph

17   and therefore denies the allegations.

18             67.   Plaintiff Woods would purchase another Honda vehicle from Honda in the future if

19   Defendant’s representations about the vehicle, including its safety and durability, were accurate.
20             ANSWER: AHM denies that its representations about Honda vehicles were or are

21   inaccurate. AHM lacks knowledge or information sufficient to form a belief about the truth of the

22   remaining allegations in this paragraph and therefore denies the allegations.

23                   8.      Dayane Tessinari

24             68.   Plaintiff Dayane Tessinari (“Tessinari”) is a citizen of Florida, and resides in Pompano

25   Beach,      Florida.   Plaintiff   Tessinari   purchased   a   new    2019    Honda     Accord,    VIN

26   1HGCV1F38KA072178, in July 2019 from Hendrick Honda Pompano Beach, an authorized Honda

27   dealer, located at 5381 North Federal Highway, Pompano Beach, Florida 33064. Plaintiff Tessinari’s

28   Class Vehicle was covered by a written warranty. When shopping for her Class Vehicle, Plaintiff
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1    Tessinari researched and considered the reliability and quality of the make and manufacturer,

2    including Honda’s warranty. Prior to purchasing the Class Vehicle, Plaintiff Tessinari heard, viewed,

3    and/or read Honda marketing materials and advertisements including commercials and interne

4    advertisements that represented the reliability and safety of Honda vehicles.

5           ANSWER: AHM admits that Hendrick Honda Pompano Beach is an authorized Honda

6    dealer. AHM lacks knowledge or information sufficient to form a belief about the truth of the

7    remaining allegations in this paragraph and therefore denies the allegations.

8           69.    Plaintiff Tessinari relied on the information regarding the quality, safety, and reliability

9    of the Class Vehicle conveyed in those marketing materials and advertisements in deciding to

10   purchase her Class Vehicle. Honda failed to disclose the Parasitic Drain Defect to Plaintiff Tessinari

11   before she purchased her Class Vehicle, despite Honda’s knowledge of the Defect, and Plaintiff

12   Tessinari, therefore, purchased her Class Vehicle on the reasonable, but mistaken, belief that it would

13   be a high quality, reliable, and safe vehicle. Plaintiff Tessinari would not have purchased the Class

14   Vehicle, or would not have paid as much for it, had she known the vehicle had a Defect that could

15   drain the battery and leave her stranded without warning.

16          ANSWER: AHM denies the existence of the alleged defect. AHM lacks knowledge or

17   information sufficient to form a belief about the truth of the remaining allegations in this paragraph

18   and therefore denies the allegations.

19          70.    After purchasing the vehicle, Plaintiff Tessinari experienced issues with her Class
20   Vehicle as a result of the Defect. Plaintiff Tessinari does not have a vehicle that is safe or reliable as

21   advertised by Honda.

22          ANSWER: AHM denies the existence of the alleged defect. AHM lacks knowledge or

23   information sufficient to form a belief about the truth of the remaining allegations in this paragraph

24   and therefore denies the allegations.

25          71.    Plaintiff Tessinari would purchase another Honda vehicle from Honda in the future if

26   Defendant’s representations about the vehicle, including its safety and durability, were accurate.

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1           ANSWER: AHM denies that its representations about Honda vehicles were or are

2    inaccurate. AHM lacks knowledge or information sufficient to form a belief about the truth of the

3    remaining allegations in this paragraph and therefore denies the allegations.

4                  9.      Brendan Sanger

5           72.    Plaintiff Brendan Sanger is a citizen of Michigan and resides in Litchfield, Michigan.

6    On or about February 15, 2017, Plaintiff Sanger purchased a 2017 Honda Accord Touring, VIN

7    1HGCR3F98HA025360 from Art Moehn Auto Group Honda, located at 2200 Seymour Road,

8    Jackson, Michigan 49201.

9           ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth

10   of the allegations in this paragraph and therefore denies the allegations.

11          73.    Art Moehn Auto Group Honda is part of Honda’s network of authorized dealers across

12   the United States. Honda features Art Moehn Auto Group Honda on its website as an authorized

13   dealer, with links to lists of inventories of Honda vehicles on its website.

14          ANSWER: AHM admits that Art Moehn Honda is an authorized Honda dealer. AHM

15   further admits that Art Moehn Honda is listed on its website as an authorized Honda dealer. AHM

16   denies the remaining allegations in this paragraph.

17          74.    When shopping for his Class Vehicle, Plaintiff Sanger researched and considered the

18   reliability and quality of the make and manufacturer. Plaintiff relied on Honda’s representations and

19   that of its salesmen about the functionality and features of the vehicle, including its quality, safety,
20   and warranties.

21          ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth

22   of the allegations in this paragraph and therefore denies the allegations.

23          75.    Prior to purchasing his Class Vehicle, Plaintiff Sanger was aware of and/or reviewed

24   Honda’s promotional materials on the interne and/or at Art Moehn Auto Group Honda, saw stickers

25   the dealer placed on the vehicle, and interacted with Honda sales agents at Art Moehn Auto Group

26   Honda. Each of those information sources failed to disclose the presence of the Defect in 2017 Honda

27   Accord models or the other Class Vehicles.

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1              ANSWER: AHM denies the existence of the alleged defect. AHM lacks knowledge or

2    information sufficient to form a belief about the truth of the remaining allegations in this paragraph

3    and therefore denies the allegations.

4              76.   Through his exposure and interaction with Honda, Plaintiff Sanger was aware of

5    Honda’s uniform and nationwide marketing message that its vehicles are safe and dependable, which

6    was material to his decision to purchase his Class Vehicle. When he purchased his Class Vehicle, he

7    believed, based on Honda’s marketing message, that he would be in a safe and dependable vehicle,

8    one that is safer than a vehicle that is not marketed as safe and dependable. At no point before Plaintiff

9    Sanger purchased his Class Vehicle did Honda disclose to him that his vehicle was not safe or

10   dependable, or that it suffered from the Parasitic Drain Defect, which creates safety risks and renders

11   the vehicle useless.

12             ANSWER: AHM denies the existence of the alleged defect. AHM lacks knowledge or

13   information sufficient to form a belief about the truth of the remaining allegations in this paragraph

14   and therefore denies the allegations.

15             77.   After purchasing his Class Vehicle, Plaintiff Sanger experienced issues as a result of

16   the Defect. Plaintiff does not have a vehicle that is safe or reliable as advertised by Honda.

17             ANSWER: AHM denies the existence of the alleged defect. AHM lacks knowledge or

18   information sufficient to form a belief about the truth of the remaining allegations in this paragraph

19   and therefore denies the allegations.
20             78.   Plaintiff Sanger purchased his Class Vehicle with the Parasitic Drain Defect as part of

21   a transaction in which Honda did not disclose material facts related to the automobile’s essential

22   purpose—safe and dependable transportation. Plaintiff Sanger did not receive the benefit of his

23   bargain. He purchased a Class Vehicle that is of a lesser standard, grade, and quality than represented,

24   and he did not receive a vehicle that met ordinary and reasonable consumer expectations regarding

25   safe and reliable operation. The Parasitic Drain Defect has significantly diminished the value of

26   Plaintiff Sanger’s Class Vehicle.

27             ANSWER: AHM denies allegations in this paragraph, including the existence of the alleged

28   defect.
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1           79.    Had Honda disclosed the Defect, Plaintiff Sanger would not have purchased his Class

2    Vehicle, or would have paid less to do so.

3           ANSWER: AHM denies the existence of the alleged defect. AHM lacks knowledge or

4    information sufficient to form a belief about the truth of the remaining allegations in this paragraph

5    and therefore denies the allegations.

6           80.    Plaintiff Sanger would purchase another Honda vehicle from Honda in the future if

7    Defendant’s representations about the vehicle, including its safety and durability, were accurate.

8           ANSWER: AHM denies that its representations about Honda vehicles were or are

9    inaccurate. AHM lacks knowledge or information sufficient to form a belief about the truth of the

10   remaining allegations in this paragraph and therefore denies the allegations.

11          81.    Plaintiff Sanger—on behalf of himself and the Michigan Subclass—sent a demand

12   letter to Defendant via certified mail on or about August 23, 2021, to bring this action pursuant to

13   MICH. COMP. LAWS SERV.       §445.911(4) (“MCL 445.911(4)”). Plaintiff Sanger’s letter advised

14   Defendant that it is in violation of the MCL 445.911(4) and must correct, replace, or otherwise

15   remedy the Class Vehicles alleged to be in violation of MCL 445.911(4) as a result of the Defect.

16   Defendant was further advised therein that in the event the relief requested was not provided within

17   30 days, Plaintiff Sanger would amend the complaint to include an unfair, unconscionable, or

18   deceptive practices claim with a request for monetary damages. Over 30 days have now passed, and

19   Defendant did not correct, replace, or otherwise remedy the Class Vehicles and issues alleged in
20   Plaintiff’s notice under MCL 445.911(4) or this Complaint within the statutorily prescribed 30-day

21   period. Plaintiff Sanger, therefore, seeks both injunctive relief and monetary damages (including

22   compensatory damages) against Defendant pursuant to MCL 445.911(4).

23          ANSWER: AHM admits that Sanger sent a letter to it via certified mail dated August 23,

24   2021 asserting that it is in violation of MICH. COMP. LAWS SERV. (“MCL”) § 445.911(4), demanding

25   that it remedy the alleged violation, and advising that he would amend this complaint to include an

26   unfair, unconscionable, or deceptive practices act claim with a request for monetary damages if the

27   alleged violation were not corrected in 30 days, but denies that the letter satisfied the requirements of

28   MCL § 445.911(4). AHM further admits that Sanger seeks both injunctive relief and monetary
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1    damages against AHM pursuant to MCL § 445.911(4). AHM denies the remaining allegations in this

2    paragraph, including the existence of the alleged defect.

3           82.    Plaintiff further seeks an Order awarding costs of court and attorneys’ fees pursuant to

4    the Michigan Consumer Protection Act.

5           ANSWER: AHM admits that Sanger seeks an order awarding costs and attorneys’ fees

6    pursuant to the Michigan Consumer Protection Act, but denies that Sanger is entitled to such relief.

7    AHM denies any remaining allegations in this paragraph.

8                  10.     Jason Casey

9           83.    Plaintiff Jason Casey is a citizen of Massachusetts and resides in Spencer,

10   Massachusetts. On or about March 29, 2017, Plaintiff Casey purchased a 2017 Honda Accord EX,

11   VIN 1HGCR2F31HA184601 from Lundgren Honda, located at 163 Washington Street, Auburn,

12   Massachusetts 01501.

13          ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth

14   of the allegations in this paragraph and therefore denies the allegations.

15          84.    Lundgren Honda is part of Honda’s network of authorized dealers across the United

16   States. Honda features Lundgren Honda on its website as an authorized dealer, with links to lists of

17   inventories of Honda vehicles on its website.

18          ANSWER: AHM admits that Lundgren Honda of Auburn is an authorized Honda dealer.

19   AHM further admits that Lundgren Honda of Auburn is listed on its website as an authorized Honda
20   dealer. AHM denies the remaining allegations in this paragraph.

21          85.    When shopping for his Class Vehicle, Plaintiff Casey researched and considered the

22   reliability and quality of the make and manufacturer. Plaintiff relied on Honda’s representations and

23   that of its salesmen about the functionality and features of the vehicle, including its quality, safety,

24   and warranties.

25          ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth

26   of the allegations in this paragraph and therefore denies the allegations.

27          86.    Prior to purchasing his Class Vehicle, Plaintiff Casey was aware of and/or reviewed

28   Honda’s promotional materials on the internet and/or at Lundgren Honda, saw stickers the dealer
                                                       27
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1    placed on the vehicle, and interacted with Honda sales agents at Lundgren Honda. Each of those

2    information sources failed to disclose the presence of the Defect in 2017 Honda Accord models or

3    the other Class Vehicles.

4           ANSWER: AHM denies the existence of the alleged defect. AHM lacks knowledge or

5    information sufficient to form a belief about the truth of the remaining allegations in this paragraph

6    and therefore denies the allegations.

7           87.    Through his exposure and interaction with Honda, Plaintiff Casey was aware of

8    Honda’s uniform and nationwide marketing message that its vehicles are safe and dependable, which

9    was material to his decision to purchase his Class Vehicle. When he purchased the vehicle, he

10   believed, based on Honda’s marketing message, that he would be in a safe and dependable vehicle,

11   one that is safer than a vehicle that is not marketed as safe and dependable. At no point before Plaintiff

12   Casey purchased his Class Vehicle did Honda disclose to him that his vehicle was not safe or

13   dependable, or that it suffered from the Parasitic Drain Defect, which creates safety risks and renders

14   the vehicle useless.

15          ANSWER: AHM denies the existence of the alleged defect. AHM lacks knowledge or

16   information sufficient to form a belief about the truth of the remaining allegations in this paragraph

17   and therefore denies the allegations.

18          88.    After purchasing his Class Vehicle, Plaintiff Casey experienced issues as a result of the

19   Defect. Plaintiff does not have a vehicle that is safe or reliable as advertised by Honda.
20          ANSWER: AHM denies the existence of the alleged defect. AHM lacks knowledge or

21   information sufficient to form a belief about the truth of the remaining allegations in this paragraph

22   and therefore denies the allegations.

23          89.    Plaintiff Casey purchased his Class Vehicle with the Parasitic Drain Defect as part of

24   a transaction in which Honda did not disclose material facts related to the automobile’s essential

25   purpose—safe and dependable transportation. Plaintiff Casey did not receive the benefit of his

26   bargain. He purchased a Class Vehicle that is of a lesser standard, grade, and quality than represented,

27   and he did not receive a vehicle that met ordinary and reasonable consumer expectations regarding

28
                                                        28
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1    safe and reliable operation. The Parasitic Drain Defect has significantly diminished the value of

2    Plaintiff’s Class Vehicle.

3              ANSWER: AHM denies allegations in this paragraph, including the existence of the alleged

4    defect.

5              90.   Had Honda disclosed the Defect, Plaintiff Casey would not have purchased his Class

6    Vehicle, or would have paid less to do so.

7              ANSWER: AHM denies the existence of the alleged defect. AHM lacks knowledge or

8    information sufficient to form a belief about the truth of the remaining allegations in this paragraph

9    and therefore denies the allegations.

10             91.   Plaintiff Casey would purchase another Honda vehicle from Honda in the future if

11   Defendant’s representations about the vehicle, including its safety and durability, were accurate.

12             ANSWER: AHM denies that its representations about Honda vehicles were or are

13   inaccurate. AHM lacks knowledge or information sufficient to form a belief about the truth of the

14   remaining allegations in this paragraph and therefore denies the allegations.

15             92.   Plaintiff Casey—on behalf of himself and the Massachusetts Subclass—sent a demand

16   letter to Defendant via certified mail on or about August 23, 2021, pursuant to the requirements of

17   MASS. GEN. LAW, Chapter 93A, Section 9 (“M.G.L. Ch. 93A” or “Chapter 93A”). The Chapter

18   93A letter advised Defendant that it is in violation of the M.G.L. Ch. 93A and must correct, replace,

19   or otherwise remedy the Class Vehicles alleged to be in violation of M.G.L. Ch. 93A §9 as a result
20   of the Defect. Over 30 days have now passed, and Defendant did not correct, replace, or otherwise

21   remedy the Class Vehicles and issues alleged in Plaintiff’s M.G.L. Ch. 93A §9 notice or this

22   Complaint within the statutorily prescribed 30-day period. Plaintiff Casey, therefore, seeks both

23   injunctive relief and monetary damages (including compensatory and punitive damages) against

24   Defendant pursuant to M.G.L. Ch. 93A §9.

25             ANSWER: AHM admits that Casey sent a letter to it via certified mail dated August 23,

26   2021 asserting that it is in violation of MASS. GEN. LAW. (“M.G.L.”) Ch. 93A § 9 and demanding that

27   it remedy the alleged violation, but denies that the letter satisfied the requirements of M.G.L. Ch. 93A

28   § 9. AHM further admits that Casey seeks both injunctive relief and monetary damages against AHM
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1        pursuant to M.G.L. Ch. 93A § 9. AHM denies the remaining allegations in this paragraph, including

2        the existence of the alleged defect.

3               93.    Plaintiff further seeks an Order awarding costs of court and attorneys’ fees pursuant to

4        M.G.L. Ch. 93A §9(3A).

5               ANSWER: AHM admits that Casey seeks an order awarding costs and attorneys’ fees

6        pursuant to the M.G.L. Ch. 93A § 9, but denies that Casey is entitled to such relief. AHM denies any

7        remaining allegations in this paragraph.

8              B.      Defendant

9               94.    Defendant American Honda Motor Company, Inc. is incorporated in California with

10       its principal place of business in Torrance, California. Honda is the wholly owned subsidiary in North

11       America of Honda Motor Company Limited (“HML”), a Japanese corporation. Honda began

12       operations in 1959 and is now responsible for “[s]ales, marketing, service, distribution, import and

13       export of Honda and Acura products in the U.S.”5

14              ANSWER: AHM admits the allegations in this paragraph, but notes that the correct spelling

15       of its parent company is “Honda Motor Co., Ltd.”

16              95.    Honda Development & Manufacturing of America, LLC and Honda R&D Americas,

17       LLC are affiliated with Honda, and operate 19 major manufacturing plants in North America and 14

18       major research and development centers in North America which jointly fully design, develop, and

19       engineer many of the products the Company makes in North America.
20              ANSWER: AHM admits that Honda Development & Manufacturing of America, LLC

21       (“HDMA”) and Honda R&D Americas, LLC are or were affiliated with the Honda brand. AHM

22       further admits that HDMA operates multiple manufacturing plants and research and development

23       centers in North America. AHM further admits that Plaintiffs purport to quote a website. The contents

24       of that website speak for themselves, and to the extent the allegations in this paragraph vary therewith,

25       AHM denies the allegations. AHM denies the remaining allegations in this paragraph.

26

27
     5
28    Honda, Honda 2020 Digital FactBook, at 2.1 (Aug. 31, 2020), https://hondanews.com/en-US/honda-
     corporate/releases/release-554e3d8539c7f6db3b88b571930280ab-honda-2020-digital-factbook.
                                                   30
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1               96.    Honda is a holding company of sales, manufacturing, engineering, design, and research

2        and development strategies of HML in the United States. Honda is in the business of designing,

3        engineering, testing, validating, manufacturing, distributing, marketing, selling, and servicing Honda-

4        and Acura-branded vehicles in the United States through its hundreds of dealerships.

5               ANSWER: AHM admits that it is in the business of marketing and selling and distributing

6        to authorized dealers for resale in the United States Honda and Acura branded vehicles. AHM denies

7        the remaining allegations in this paragraph.

8               97.    At its Torrance, California headquarters, Honda reportedly combines product sales,

9        service, and coordinating functions for HML in North America, and is responsible for the

10       manufacture, development, distribution, marketing, sales, and servicing of Honda vehicles. The

11       decisions regarding the marketing and sale of the Class Vehicles, the development of the internal

12       Service Bulletins relating to the Parasitic Drain Defect in the Class Vehicles, and the disclosure or

13       non-disclosure of the Defect were in whole or substantial part made by Honda at its Torrance

14       headquarters. For example, in addition to Honda’s C-Suite, Honda’s Vice President of Marketing &

15       Customer Experience (responsible for “overseeing marketing and public relations for both the Honda

16       and Acura automobile brands as well as the company’s customer experience initiatives”);6 Assistant

17       Vice President of Honda’s Marketing Division (responsible for “leading the company’s marketing

18       efforts for both the Honda and Acura automobile brands”);7 Vice President of the Automobile Sales

19       Strategy Division (responsible for Honda’s “market representation, sales and production planning,
20       certified pre-owned sales, dealer communication, product and sales information, as well as export

21       sales and distribution”);8 Vice President of the Product Regulatory Office (responsible for

22       “overseeing the U.S. regulatory compliance activities for all automobile . . . products, including the

23       areas of product safety, environmental strategy, and energy reporting and compliance”);9 Division

24
     6
25     Press Release, Honda, Jay Joseph, https://hondanews.com/en-US/releases/jay-joseph-bio (last
     accessed Sept. 21, 2021).
     7
26     Press Release, Honda, Ed Beadle, https://hondanews.com/en-US/releases/ed-beadle (last accessed
     Sept. 21, 2021).
     8
27     Press Release, Honda, Steven Center, https://hondanews.com/en-US/releases/steven-center (last
     accessed Sept. 21, 2021).
     9
28     Press Release, Honda, Jenny Gilger, https://hondanews.com/en-US/releases/jenny-gilger-bio (last
     accessed Sept. 21, 2021).
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1     Head of Product Safety (responsible for automobile “product safety, including compliance with the

2     Transportation Recall Enhancement, Accountability and Documentation [(“TREAD”)] Act[,]”

3     “compliance with government regulations[,]” and managing “Honda’s relationship with U.S.

4     government agencies, including the National Highway Traffic Safety Administration [(“NHTSA”)]

5     … on matters related to incident reporting, safety investigations, and product recall management”);10

6     and Manager of Auto Campaigns and Recalls (responsible for communicating with Honda

7     dealerships concerning potential defects in Honda vehicles and overseeing internal investigations)11

8     are each based in Torrance.

9            ANSWER: AHM admits that its principal place of business is at its headquarters in

10    Torrance, California, and that its business includes marketing, selling and distributing to authorized

11    dealers for resale, and providing customer service for Honda branded vehicles in North America.

12    AHM further admits that members of its C-Suite are based in Torrance. AHM further admits that Jay

13    Joseph was the Vice President of its Marketing & CX business unit and is based in Torrance. AHM

14    further admits that Ed Beadle was the Assistant Vice President and Marketing Division Head of

15    Honda and Acura Marketing and was based in Torrance. AHM further admits that Steven Carter was

16    the Vice President of its Automobile Sales Strategy Division and was based in Torrance. AHM further

17    admits that Jenny Gilger was its Vice President of its Product Regulatory Office and was based in

18    Torrance. AHM further admits that Jeff Chang was a Senior Manager, Product Safety at AHM and

19    was based in Torrance. AHM further admits that Brad Ortloff is a Manager of Auto Campaigns and
20    Recalls at AHM and is based in Torrance. AHM further admits that Plaintiffs purport to quote various

21    websites. The contents of those websites speak for themselves, and to the extent the allegations in

22    this paragraph vary therewith, AHM denies the allegations. AHM denies the remaining allegations in

23    this paragraph, including the existence of the alleged defect.

24

25

26   10
        Linkedln, Jeff Chang, https://www.linkedin.com/in/jeff-chang-2a0195107/ (last accessed Sept. 21,
27   2021).
     11
        Linkedln, Brad Ortloff, https://www.linkedin.com/in/brad-ortloff-7210039a/ (last accessed Sept. 21,
28   2021); see also https://static.nhtsa.gov/odi/tsbs/2019/MC-10156621-0001.pdf (last accessed Sept. 21,
     2021).
                                                         32
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1            98.     Honda’s warranty and customer service departments for Honda vehicle owners and

2     lessees are operated from its Torrance headquarters.12

3            ANSWER: AHM admits that its warranty department is operated at its Torrance

4     headquarters. AHM further admits that Plaintiffs purport to reference its website. The contents of the

5     website speak for themselves, and to the extent the allegations in this paragraph vary therewith, AHM

6     denies the allegations. AHM denies the remaining allegations in this paragraph.

7    V.     SUBSTANTIVE ALLEGATIONS
8           A.       Honda’s History of Emphasizing the Quality, Reliability, and Safety of Its
                     Vehicles
9
             99.     Passenger cars such as the Accord and Civic, and light trucks (such as the CR-V,
10
      Odyssey, and Pilot) are Honda’s principal automobile models in the United States. More than half of
11
      all Honda parent HML’s global revenue from 2018 to 2020 were from North American sales.
12
             ANSWER: AHM admits that Honda’s automobile models in the United States include the
13
      Accord, Civic, CR-V, Odyssey, and Pilot. AHM lacks knowledge or information sufficient to form a
14
      belief about the truth of the remaining allegations in this paragraph and therefore denies the
15
      allegations.
16
             100. The Accord, first introduced in 1976, is now up to its tenth generation; the ninth
17
      generation was released in 2013, and the tenth generation was released in 2018.
18
             ANSWER: AHM admits the allegations in this paragraph.
19
             101. The Honda CR-V is a compact crossover SUV, first sold in Japan in 1995 and
20
      introduced into the United States market in 1997, selling 66,000 vehicles in its first year. Honda’s
21
      2017 CR-V introduced the fifth generation of the vehicle.
22
             ANSWER: AHM admits that the CR-V is a compact crossover SUV that was first sold in
23
      Japan in 1995 and introduced into the United States in 1997. AHM further admits that it sold
24
      approximately 66,000 CR-Vs in the United States in 1997 and that it introduced the fifth generation
25
      of the vehicle in 2017. AHM denies the remaining allegations in this paragraph.
26
     12
27      See Honda, https://automobiles.honda.com/information/customer-relations#:—
     :text=Call%201%2D866%2D864%2D5211                (last    accessed       July     27,     2021);
28   https://direct.automobiles.honda.com/infonnation/customer-relations.aspx (last accessed July 27,
     2021).
                                                     33
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1            102. Honda is at the top of automakers in the United States in terms of sales.

2            ANSWER: AHM lacks knowledge or information about the sales of other automakers, and

3     on that basis, lacks knowledge or information to respond to this allegation.

4            103. In 2019 and 2020, Honda sold 1.6 million and 1.3 million vehicles, respectively.13

5            ANSWER: AHM admits that it sold over 1.6 million vehicles in 2019 and over 1.3 million

6     vehicles in 2020. AHM further admits that Plaintiffs purport to reference a website. The contents of

7     the website speak for themselves, and to the extent the allegations in this paragraph vary therewith,

8     AHM denies the allegations. AHM denies the remaining allegations in this paragraph.

9            104. In 2019, more than 90% of the Honda and Acura automobiles sold in the United States

10    were produced in North America.14

11           ANSWER: AHM admits that in 2018, more than 90% of Honda and Acura automobiles

12    sold in the United States were made in North America. AHM further admits that Plaintiffs purport to

13    reference a website. The contents of the website speak for themselves, and to the extent the allegations

14    in this paragraph vary therewith, AHM denies the allegations. AHM denies the remaining allegations

15    in this paragraph.

16           105. The Accord has been Honda’s third best-selling vehicle, selling over 267,000 vehicles

17    and over 199,000 vehicles in 2019 and 2020, respectively.15 The CR-V has been Honda’s best-selling

18    vehicle in the United States for eight straight years, selling over 384,000 vehicles in 2019 and over

19    323,000 vehicles in 2020.16
20           ANSWER: AHM admits that the Accord was its third best-selling vehicle in the United

21    States in 2019 and 2020, and that it sold over 267,000 Accords in 2019 and over 199,000 in 2020.

22    AHM further admits the CR-V was its best-selling vehicle in the United States for some years, and

23    that it sold over 384,000 CR-Vs in 2019 and over 325,000 in 2020. AHM further admits that Plaintiffs

24   13
        Car Sales Statistics, https://www.best-selling-cars.com/usa/2020-full-year-usa-honda-and-acura-
25   sales-by-model/ (last accessed Sept. 21, 2021).
     14
        See https ://hondanews . com/en-US/release s/honda-honors -its -top-north-american- suppliers-
26   3#:—:text=In%202018%2C%20more%20than%2090,HF120%20turbofan%20engines%20in%20
     America.
     15
27      Goodcarbadcar.net, “Honda Accord Sales Figures,” https://www.goodcarbadcar.net/honda-accord-
     sales-figures/
     16
28      Goodcarbadcar.net, “Honda C-RV Sales Figures,” https://www.goodcarbadcar.net/honda-cr-v-
     sales-figures/
                                                      34
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1     purport to reference a website. The contents of the website speak for themselves, and to the extent

2     the allegations in this paragraph vary therewith, AHM denies the allegations. AHM denies the

3     remaining allegations in this paragraph.

4            106. A McKinsey & Company report noted that over twice as many second-owner used

5     vehicles are sold in the United States each year compared to new vehicles.17

6            ANSWER: AHM admits that Plaintiffs purport to reference a website linking to a

7     McKinsey & Company report. The contents of the website and report speak for themselves, and to

8     the extent the allegations in this paragraph vary therewith, AHM denies the allegations. AHM lacks

9     knowledge or information sufficient to form a belief about the truth of the remaining allegations in

10    this paragraph and therefore denies the allegations.

11           107. Honda has metamorphosed into such a large player in the United States auto-market

12    based on its assurances to consumers of care, durability, quality, and safety. Consistent with its

13    marketing and public statements, Honda falsely represents its vehicles as safe and dependable so that

14    consumers can rely upon the build and quality of the vehicles for daily use.

15           ANSWER: AHM lacks knowledge or information to respond to the first sentence of this

16    paragraph. AHM denies the allegations in the second sentence of this paragraph.

17           108. Honda dedicates a page on its website entitled “safety,” where Honda represents the

18    safety of its vehicles.18 Therein, Honda states that it conducts “Virtual & Real-World Tests[,]” and

19    touts that it has “developed two of the world’s most advanced crash-test facilities — including the
20    largest ever built and first to allow multi-directional crashes.” Further, Honda states that it also

21    “dreamt bigger to create some of the most advanced virtual crash tests in the world. All this combines

22    to make safer roads for everyone.”19

23           ANSWER: AHM admits that Plaintiffs purport to reference its website. The contents of the

24    website speak for themselves, and to the extent the allegations in this paragraph vary therewith, AHM

25    denies the allegations. AHM denies the remaining allegations in this paragraph.

26   17
        Ben Ellencweig, et al., Used cars, new platforms: accelerating sales in a digitally disrupted market
27   (June 6, 2019), https://www.mckinsey.com/industries/automotive-and-assembly/our-insights/used-
     cars-new-platforms-accelerating-sales-in-a-digitally-disrupted-market.
     18
28      Honda, https://www.honda.com/safety (last accessed Sept. 21, 2021).
     19
        Id.
                                                      35
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1            109. Notwithstanding the presence of the Defect in millions of Class Vehicles which

2    prevents drivers from starting their engines and can cause engine stalls, Honda calls itself “a mobility

3    company—we move people. But, for us, safety is an enormous priority. We don’t just want to move

4    you; we want to move you safely.”20

5            ANSWER: AHM admits that Plaintiffs purport to reference its website. The contents of the

6    website speak for themselves, and to the extent the allegations in this paragraph vary therewith, AHM

7    denies the allegations. AHM denies the remaining allegations in this paragraph, including the

8    existence of the alleged defect.

9            110. In addition to the real-world test performed at the “most advanced crash-test

10   facilities[,]”21 Honda “supplement[s] these tests” with “software that results in extremely reliable,

11   accurate, and cost-effective crash simulations.”22 Honda claims that the safety testing procedures it

12   utilizes “allows [it] to make the road safer for everybody on it by engineering for worst case scenarios

13   in an unprecedented way.”

14           ANSWER: AHM admits that Plaintiffs purport to reference its website. The contents of the

15   website speak for themselves, and to the extent the allegations in this paragraph vary therewith, AHM

16   denies the allegations. AHM denies the remaining allegations in this paragraph.

17           111. A “rugged” webpage on Honda’s website represents that Honda conducts “COLD-

18   WEATHER TESTING[,]” including “on 23 different driving courses in the frozen prairies of

19   Northern Minnesota” and in “-40-degree cold cells.”23 Further, Honda states that it “test[s]
20   everything” at “the Honda Proving Center of California, spanning 3,840 acres of sun-scorched

21   desert.”24

22           ANSWER: AHM admits that Plaintiffs purport to reference its website. The contents of the

23   website speak for themselves, and to the extent the allegations in this paragraph vary therewith, AHM

24   denies the allegations. AHM denies the remaining allegations in this paragraph.

25

26   20
        Honda, https://www.honda.com/safety/virtual-and-real-world-tests (last accessed Sept. 21, 2021).
     21
27      Id.
     22
        Id.
     23
28      Honda, https://automobiles.honda.com/rugged (last accessed Sept. 21, 2021).
     24
       Id.
                                                       36
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1            112. The consistently uniform marketing message from Honda concerning the reliability of

2     its vehicles is also found in the marketing materials unique to the Class Vehicles.

3            ANSWER: AHM does not understand what Plaintiffs mean by this allegation, and on that

4     basis, denies the allegation in this paragraph.

5            113. In the brochure for Honda’s “ALL-NEW 2017 CR-V[,]” Honda states that “THE BAR

6     HAS BEEN RAISED, AGAIN” and that the CR-V sets “the new standard in comfort, style and

7     versatility.” Honda marketed the CR-V as “[a] vehicle designed for a superior driving experience

8     makes for better exploration of the roads ahead[,]” “deliver[ing] a wealth of standard features and

9     driver and passenger conveniences[.]”25

10           ANSWER: AHM admits that Plaintiffs purport to reference its website. The contents of the

11    website speak for themselves, and to the extent the allegations in this paragraph vary therewith, AHM

12    denies the allegations. AHM denies the remaining allegations in this paragraph.

13           114. Even in the face of the known Parasitic Drain Defect in the vehicle, Honda proclaimed

14    the CR-V’s reliability with the slogan, “Because no matter where you’re going, there’s always more

15    to do, more to see, and more to experience-every day.”26

16           ANSWER: AHM admits that Plaintiffs purport to reference its website. The contents of the

17    website speak for themselves, and to the extent the allegations in this paragraph vary therewith, AHM

18    denies the allegations. AHM denies the remaining allegations in this paragraph, including the

19    existence of the alleged defect.
20           115. In addition, Honda stated that the vehicle provides “A STAND-OUT EXPERIENCE”

21    because “[e]very surface, every contour, and every feature has been thoughtfully designed to create

22    a truly superior driving experience in every sense.” In light of all these purported safety features and

23    attention to detail, Honda instructs drivers to “COMMUTE WITH CONFIDENCE.”27

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            Honda    2017     CR-V     Brochure,     https://automobiles.honda.com/-/media/Honda-
27   Automobiles/Vehicles/2017/CR-V/Brochures/weird/MY17CRV-Wave2-Reprint (last accessed Sept.
     21, 2021).
     26
28      Id.
     27
        Id.
                                                 37
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1             ANSWER: AHM admits that Plaintiffs purport to reference its website. The contents of the

2     website speak for themselves, and to the extent the allegations in this paragraph vary therewith, AHM

3     denies the allegations. AHM denies the remaining allegations in this paragraph.

4             116. Featured prominently in Honda’s marketing materials are claims of excellence in

5     quality, design, safety, and reliability.

6             ANSWER: AHM admits that some of its marketing materials advertise excellence in

7     quality, design, safety, and reliability. AHM denies the remaining allegations in this paragraph.

8             117. For example, in its brochure for the 2018 Accord, Honda states that the vehicle is “[t]he

9     most impressive Honda ever”:28

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19            ANSWER: AHM admits that Plaintiffs purport to reference its website. The contents of the
20    website speak for themselves, and to the extent the allegations in this paragraph vary therewith, AHM
21    denies the allegations. AHM denies the remaining allegations in this paragraph.
22            118. Additional representations about reliability-related topics include affirmative promises
23    that the Class Vehicle was “[b]uilt for what-if’ and is “[a]t the forefront of safety.”29
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27                        Honda                 2018               Accord                 Brochure,
     https://pictures.dealer.com/rivertownhonda/8b4ec4800a0e0ca37432ffaa8919ba2f.pdf (last accessed
28   Sept. 21, 2021).
     29
        Id.
                                                     38
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1            ANSWER: AHM admits that Plaintiffs purport to reference its website. The contents of the

2     website speak for themselves, and to the extent the allegations in this paragraph vary therewith, AHM

3     denies the allegations. AHM denies the remaining allegations in this paragraph.

4            119. Honda similarly represented that the 2018 CR-V is a dependable vehicle. In the

5     brochure for the Class Vehicle, Honda again states that drivers should “[c]ommute with confidence”

6     and that there is “[e]xcellence in every detail.”30

7            ANSWER: AHM admits that Plaintiffs purport to reference its website. The contents of the

8     website speak for themselves, and to the extent the allegations in this paragraph vary therewith, AHM

9     denies the allegations. AHM denies the remaining allegations in this paragraph.

10           120. The 2019 CR-V was promoted by Honda as a reliable vehicle with the slogan “Enhance

11    Every Day[,]” “MONDAY” through “SUNDAY[,] [p]eace of mind, from here to everywhere”:31

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        Honda 2018 CR-V Brochure, https://automobiles.honda.com/-/media/Honda- Automobiles/Vehicle
27   s/2018/CR-V/2018-Updates/Brochure/MY18_CR-V_Brochure_Online_Mechl.pdf (last accessed
     Sept. 21, 2021).
     31
28       Honda, https://web.archive.org/web/20190218165632if /https ://automobiles.honda.com/cr-
     v#features (last accessed Sept. 21, 2021).
                                                   39
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12          ANSWER: AHM admits that Plaintiffs purport to reference its website. The contents of the

13   website speak for themselves, and to the extent the allegations in this paragraph vary therewith, AHM

14   denies the allegations. AHM denies the remaining allegations in this paragraph.

15         B.      The Class Vehicles’ F-CAN Suffers From the Parasitic Drain Defect

16          121. Like the nervous system in a human body, which allows the body’s muscles and organs

17   to communicate with one another, the various components within a vehicle are controlled by its

18   Controller Area Network (“CAN”).

19          ANSWER: AHM admits that some components of certain vehicles communicate via a

20   CAN. AHM lacks knowledge or information sufficient to form a belief about the truth of the

21   remaining allegations in this paragraph and therefore denies the allegations.

22          122. A CAN is a serial bus system that is used to interface between various intelligent

23   components, such as ECUs. The CAN allows the ECUs and sensors within a vehicle to communicate

24   to one another via a single pair of wires. Utilizing a CAN reduces lengthy and complex wiring for the

25   dozens of ECUs and other components that exchange data as part of their ordinary functions. The

26   ECUs within the CAN have transmitters and receivers, which allow them to receive and transmit data

27   to other components within the CAN.

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1              ANSWER: AHM admits that various components, such as certain ECUs and sensors, can

2     communicate through a CAN, and that utilizing a CAN may reduce the length and complexity for

3     wiring such components. AHM further admits that certain ECUs may receive and transmit data

4     through the CAN. AHM lacks knowledge or information sufficient to form a belief about the truth of

5     the remaining allegations in this paragraph and therefore denies the allegations.

6              123. For example, the Class Vehicle’s wheel sensors, which are part of the anti-lock braking

7     system (“ABS”) transmit information to the ABS module (which is an ECU) through the CAN. In

8     turn, the ABS module may pass this real-time data along the CAN to the VSA modulator control unit,

9     which will process the data to determine whether it needs to help stabilize the vehicle during

10    acceleration, cornering and braking.

11             ANSWER: AHM admits that a wheel speed sensor is part of the anti-lock braking system

12    (“ABS”) and that the VSA MCU is connected to the CAN. AHM denies the remaining allegations in

13    this paragraph.

14             124. The CAN in the Class Vehicles is split into two subnetworks: the Fast CAN (“F-CAN”)

15    and the Body CAN (“B-CAN”). The F-CAN transfers data at a faster speed (500 kbps) and primarily

16    controls the more critical components of the car, such as the engine, transmission, steering, brakes,

17    and other and “real time” functions (e.g. speed, fuel, and emissions data).32 The F-CAN in the Class

18    Vehicles is comprised of, among other ECUs, the BCM, Gauge Control Module, PCM, VSA

19    Modulator-Control Unit, Electric Brake Booster, Electronic Power Steering (“EPS”) Control Unit,
20    and Transmission Control Module.

21             ANSWER: AHM admits that the CAN in the alleged Class Vehicles is split into two

22    subnetworks: the F-CAN and the Body CAN (“B-CAN”). AHM further admits that the F-CAN

23    transfers data at a faster speed (approximately 500 kbps) and connects to components associated with

24    the engine, transmission, steering, brakes, and other functions (including some associated with speed

25    and fuel). AHM further admits that the F-CAN in the alleged Class Vehicles is connected to the

26    Gauge Control Module, PCM, VSA MCU, and Electronic Power Steering (“EPS”) Control Unit, and

27    in some of the alleged Class Vehicles to the BCM, Electric Brake Booster, and Transmission Control

28   32
          https://www.autocodes.com/articles/32/honda-b-can-and-f-can.html.
                                                      41
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1     Module. AHM further admits that Plaintiffs purport to reference a website. The contents of the

2     website speak for themselves, and to the extent the allegations in this paragraph vary therewith, AHM

3     denies the allegations. AHM denies the remaining allegations in this paragraph.

4              125. The B-CAN communicates data at a slower speed (33.33 kbps) for convenience related

5     items and for other functions.33 For example, the B-CAN is comprised of the Climate Control Unit,

6     Audio Unit, and Power Seat Control Unit, among others.

7              ANSWER: AHM admits that the B-CAN communicates data at a slower speed and

8     connects to components associated with certain convenience and other functions, including the

9     Climate Control Unit and Audio Unit, and in some of the alleged Class Vehicles the Power Seat

10    Control Unit. AHM further admits that Plaintiffs purport to reference a website. The contents of the

11    website speak for themselves, and to the extent the allegations in this paragraph vary therewith, AHM

12    denies the allegations. AHM denies the remaining allegations in this paragraph.

13             126. To allow both subnetworks to share information, the gauge control module translates

14    information from B-CAN to F-CAN and from F-CAN to B-CAN. This is called the Gateway

15    Function.34

16             ANSWER: AHM admits that the F-CAN and B-CAN are interconnected at the Gauge

17    Control Module, which is called a Gateway. AHM further admits that Plaintiffs purport to reference

18    a website. The contents of the website speak for themselves, and to the extent the allegations in this

19    paragraph vary therewith, AHM denies the allegations. AHM denies the remaining allegations in this
20    paragraph.

21             127. Like the main CAN, the F-CAN has two operating modes: wake-up mode and sleep

22    mode. When the ignition switch is turned on, the F-CAN enters wake-up mode, during which the

23    components within the CAN may draw 200 mA or more from the battery. When the ignition is turned

24    off and the key is removed from the ignition cylinder, the F-CAN is designed to go into low power

25    mode off after a certain amount of time, typically 10 minutes. When the vehicle is off and the F-CAN

26    is in sleep mode, the overall draw on the vehicle’s battery is supposed to fall below 50mA.

27
     33
28      Id..
     34
       Id.
                                                       42
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1             ANSWER: AHM admits that certain ECUs within the F-CAN have “wakeup” and “sleep”

2     modes. AHM denies the remaining allegations in this paragraph.

3             128. The purpose of the F-CAN entering sleep mode is to reduce parasitic draw to a level

4     that will not prematurely or nefariously deplete the battery’s reserved power, but still be able to return

5     to full power mode when certain actions are recognized, such as the door being unlocked, the door

6     opened, or other indications full vehicle functionality is anticipated.

7             ANSWER: AHM admits that a purpose of the sleep mode is to reduce parasitic draw to a

8     level that will not prematurely discharge the vehicle’s battery, but still be able to operate certain

9     functions in response to certain actions. AHM denies the remaining allegations in this paragraph.

10            129. Due to the serial nature of the connectivity between components with the F-CAN, if

11    one component fails to properly shut down or awakens before the vehicle is started, it can cause other

12    components to do the same, causing significant parasitic draining.

13            ANSWER: AHM admits that if a component connected to the F-CAN fails to properly shut

14    down or awakens before the vehicle is started, this could cause other components connected to the F-

15    CAN to do the same. AHM denies the remaining allegations in the paragraph.

16            130. In a ServiceNews Article published by Honda and distributed to its dealerships, the

17    manufacturer recognizes that “[w]hen it comes to parasitic draw,” the CAN and its subnetworks, “is

18    a major contributor.” 35

19            ANSWER: AHM admits that Plaintiffs purport to quote a website. The contents of the
20    website speak for themselves, and to the extent the allegations in this paragraph vary therewith, AHM

21    denies the allegations. AHM denies the remaining allegations in this paragraph.

22            131. The Class Vehicles contain a latent defect (including manufacturing defects in the form

23    of software errors) that results in the F-CAN not entering sleep mode when the vehicle is turned off,

24    or failing to completely turn off and continuing to cycle off and on due to improper “wake up” signals.

25    Consequently, the F-CAN ECUs continue to draw excessive amounts of battery power when the

26    vehicle is off.

27   35
       HONDA, SERVICENEWS ARTICLE, “Excessive Parasitic Draw? Check If the B-CAN System Is
28   Awake”     (July     2008).    https ://fOljustanswer.com/clmcr8/93f5f360-831e-426e-af57-
     958994d562ad_parasiticdraw.pdf
                                               43
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1           ANSWER: AHM denies the allegations in this paragraph, including the existence of the

2    alleged defect.

3          C.      The F-CAN ECUs Failure to Enter Sleep Mode Causes Excessive Parasitic
                   Draining, Thereby Creating an Unreasonable Safety Risk
4

5           132. In some fashion, vehicles today are feats of electrical coordination, no longer simply

6    mechanical machines. Nearly every function of a vehicle is dependent upon electrical power. This

7    includes federal- and state-mandated safety features, as well as the vehicle’s fundamental function,

8    which is transporting consumers where they need to go, and safely.

9           ANSWER: AHM admits that many vehicles today involve electrical coordination and are

10   comprised of many components that depend on electrical power, including some federal and state

11   mandated safety features, and some components associated with transport. AHM lacks knowledge or

12   information sufficient to form a belief about the truth of the remaining allegations in this paragraph

13   and therefore denies the allegations.

14          133. A vehicle’s electrical components, such as ECUs and other components that comprise

15   the F-CAN, are powered by the vehicle’s battery and, when the engine is running, the alternator.

16   When operated, the alternator also charges the vehicle’s battery at a specified voltage level.

17          ANSWER: AHM admits that some electrical components within the alleged Class

18   Vehicles, including some ECUs and other components connected to the F-CAN, are powered by the

19   vehicle’s battery and, when the engine is running, the alternator. AHM further admits that when
20   operated, the alternator also charges the vehicle’s battery at a specified voltage level. AHM lacks

21   knowledge or information sufficient to form a belief about the truth of the remaining allegations in

22   this paragraph and therefore denies the allegations.

23          134. When a vehicle is parked and turned off, the battery is the vehicle’s only source of

24   power. Consequently, the vehicle relies on a minimum level of electricity stored in its battery to start

25   the engine and operate. Specifically, the vehicle’s sparkplugs, which run the engine and the starter

26   which cranks the engine, rely on the battery when the vehicle is off.

27          ANSWER: AHM admits that when the alleged Class Vehicles are turned off, the battery is

28   generally the vehicle’s only source of power. AHM further admits that the alleged Class Vehicles
                                                       44
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1    require a minimum level of electricity stored in the battery to start the engine and operate properly.

2    AHM further admits that the spark plugs in the alleged Class Vehicles are used to start the engine and

3    require a minimum level of electricity stored in the battery to operate properly. AHM lacks knowledge

4    or information sufficient to form a belief about the truth of the remaining allegations in this paragraph

5    and therefore denies the allegations.

6           135. Additionally, in order “to reduce traffic accidents and deaths and injuries resulting from

7    traffic accidents,” automobile manufacturers are required to include certain core safety features in

8    their vehicles that rely on battery power.36 For example, reliable emergency hazard warning signal

9    lights, headlights, and taillights must be found in all passenger cars sold in the United States.37

10          ANSWER: AHM admits that automobile manufacturers are required under certain laws to

11   include safety features. AHM admits that Plaintiffs purport to reference multiple laws. The contents

12   of the laws speak for themselves, and to the extent the allegations in this paragraph vary therewith,

13   AHM denies the allegations. AHM denies the remaining allegations in this paragraph.

14          136. Other safety components that rely on engine-off battery usage are defrosters, door

15   locks, alarm systems, interior lights, windshield wipers, and internal computer modules which store

16   engine diagnostic codes, fuel economy adjustments, and other essential components.

17          ANSWER: AHM admits that some of the components listed in this paragraph by Plaintiffs

18   rely on the battery when the engine is turned off. AHM lacks knowledge or information sufficient to

19   form a belief about the truth of the remaining allegations in this paragraph and therefore denies the
20   allegations.

21          137. When the engine is off, these components are supposed to turn off or, as explained

22   above, enter sleep mode and draw negligible amounts of the battery’s stored electricity. Once the

23   engine is started, the alternator begins to replenish the minimal amount of electricity that the

24   emergency features pulled from the battery while in the off state.

25          ANSWER: AHM admits that when the alleged Class Vehicles are turned off, some of the

26   electrical components listed in paragraph 136 are supposed to turn off or enter sleep mode. AHM

27   36
        49 C.F.R. §571.108, Federal Motor Vehicle Safety Standard (FMVSS) No. 108.
     37
28     Id.; see also CAL. VEH. CODE §§24250, 24400 (motor vehicles in California must be equipped
     with at least two headlights which must be used during “darkness” or “inclement weather”).
                                                      45
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1     further admits that after the ignition is started, the alternator generally begins to recharge the battery

2     in the alleged Class Vehicles. AHM lacks knowledge or information sufficient to form a belief about

3     the truth of the remaining allegations in this paragraph and therefore denies the allegations.

4             138. A vehicle’s alternator is not designed to generate power with the engine off, therefore

5     all electricity used from the battery when the alternator is not running is a parasitic or one-way

6     electrical drain.

7             ANSWER: AHM admits that the alternators in the alleged Class Vehicles are not designed

8     to generate power with the engine off, and parasitic drain can occur when electricity is drawn from

9     the battery when the engine is off. AHM lacks knowledge or information sufficient to form a belief

10    about the truth of the remaining allegations in this paragraph and therefore denies the allegations.

11            139. Left unabated over an extended period of time, a parasitic draw will deplete a vehicle’s

12    battery resulting in a no-start condition (i.e., the driver is unable to start the vehicle). Parasitic draws

13    typically will not give drivers any warnings nor provide drivers with an apparent sign that would

14    notify someone of its existence, until the excessive draw causes the complete depletion of the

15    battery’s power.

16            ANSWER: AHM admits that a parasitic draw may deplete a vehicle’s battery resulting in a

17    no-start condition under certain circumstances. AHM lacks knowledge or information sufficient to

18    form a belief about the truth of the remaining allegations in this paragraph and therefore denies the

19    allegations.
20            140. Due to the reliance of multiple emergency safety features and the starter on a minimum

21    amount of electricity stored in the battery, modern vehicles are designed so that this amount of draw

22    does not significantly discharge a healthy battery below the amount necessary to perform its basic

23    functions.38 The most important means by which a manufacturer accomplishes this is by turning the

24    ECUs in the CAN into sleep mode when the vehicle is off.

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27      For example, vehicles are now designed with precautionary systems to detect unintended draws
     occurring while the vehicle is off, including audible and visual alarms which notify drivers when lights
28   are left on. Most instances of unintended parasitic draining are not detectable, and the driver’s safety
     is at risk without their knowledge.
                                                        46
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1             ANSWER: AHM admits that the alleged Class Vehicles are designed so the amount of draw

2     on the battery does not prematurely discharge the battery. AHM lacks knowledge or information

3     sufficient to form a belief about the truth of the remaining allegations in this paragraph and therefore

4     denies the allegations.

5             141. Because one or more of the F-CAN ECUs fail to shut down in the Class Vehicles and

6     causes constant excessive parasitic draining, the vehicles’ batteries will be under constant strain, and

7     their performance will degrade until total obsolescence. That is because vehicle batteries have a

8     certain amount of “duty cycles” — i.e., the recharging of a depleted battery — before it becomes

9     unable to store the minimal amount of electricity required to perform its function. With each

10    depletion, the battery becomes weaker and is unable to store as much electricity. This reduced

11    capacity is irreversible, and no amount of jump-starts or recharging through the alternator will repair

12    the battery. Thus, the defect impaired the safety, reliability, and/or operability of the Class Vehicles,

13    as further detailed herein.

14            ANSWER: AHM admits that, like most vehicle batteries, the batteries in the alleged Class

15    Vehicles have a limited lifespan and over time the battery becomes weaker and is unable to store as

16    much energy as it is depleted and recharged. AHM denies the remaining allegations in this paragraph,

17    including the existence of the alleged defect.

18            142. Prior to the inevitable complete failure of a battery, excessive parasitic draining can

19    cause key safety components (e.g., hazard lights, headlights, and taillights) to fail, including when
20    the vehicle is being driven. For example, as the battery degrades, the dashboard, headlights, and

21    hazard lights can flicker and dim due to poor electricity flow coming from the battery and/or

22    alternator.39

23            ANSWER: AHM admits that Plaintiffs purport to reference a website. The contents of the

24    website speak for themselves, and to the extent the allegations in this paragraph vary therewith, AHM

25    denies the allegations. AHM lacks knowledge or information sufficient to form a belief about the

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     39
27        See Synchrony, 9 Signs Your Battery Needs to Be Replaced (Nov. 2022),
     https://www.mysynchrony.com/blog/automotive/6-signs-your-car-battery-needs-to-be-
28   replaced.html#:—:text=11%20your%2Oheadlights%20dim%20while,again%20in%20the%2Onear
     %20future.
                                                 47
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1     truth of the remaining allegations in this paragraph and therefore denies the allegations. To the extent

2     Plaintiffs are inferring that the alleged Class Vehicles suffer from the alleged defect, AHM denies

3     those allegations.

4            143. Because parasitic draining results in depleted batteries, the alternator is utilized to

5     replenish the battery’s power at a higher-than-usual rate, resulting in the failure of the alternator’s

6     internal electrical component and bearing. When that occurs, the alternator generates a reduced

7     amount of power until the point when it ultimately fails. As the alternator’s ability to generate power

8     degrades, there is an increasing risk that the vehicle’s engine will unexpectedly sta11.40

9            ANSWER: AHM admits that Plaintiffs purport to reference a website. The contents of the

10    website speak for themselves, and to the extent the allegations in this paragraph vary therewith, AHM

11    denies the allegations. AHM lacks knowledge or information sufficient to form a belief about the

12    truth of the remaining allegations in this paragraph and therefore denies the allegations. To the extent

13    AHM is inferring that the Class Vehicles suffer from the alleged defect, AHM denies those

14    allegations.

15           144. Also, when a vehicle loses its engine control module data due to battery depletion, the

16    vehicle may experience reduced engine performance, reduced fuel economy, and increased

17    emissions.

18           ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth

19    of the allegations in this paragraph and therefore denies the allegations. To the extent Plaintiffs are
20    inferring that the Class Vehicles suffer from the alleged defect, AHM denies those allegations.

21           145. According to Honda, “[n]ormal parasitic draw on a battery” is less than 50 mA; “if it’s

22    50 mA or more, it’s excessive.”41 When a vehicle battery experiences an expected draw within this

23    range, the battery should last months without the need to recharge itself from the alternator or receive

24    a jump-start. Moreover, the life and operation of the battery and other vehicle components (i.e., the

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     40
26      See Mia Bevacqua, Why Your Engine Is Stalling, and How to Stop It, REPAIR PAL (Mar. 14, 2018),
     https://repaimal.com/symptoms/why-is-my-car-stalling;; AAMCO, Alternator Trouble Signs (Dec.
27   20, 2017), https://aamcominnesota.com/alternator-trouble-signs/.
     41
        HONDA, SERVICENEWS ARTICLE, “Excessive Parasitic Draw? Check If the B-CAN System Is
28   Awake ,A08070K (July 2008), https://f01.justanswer.com/clmcr8/93f5f360-831e-426e-af57-
     958994d562ad_parasiticdraw.pdf
                                                     48
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1     alternator) are not detrimentally impacted. But, as Honda warns its dealerships and technicians, “a

2     current draw of more than 50mA can discharge the battery.”42 According to Honda, “[a] parasitic

3     draw of about 200 mA will usually kill a battery in about 2 days.” 43 “Left unchecked, [parasitic]

4     current draw on the battery can drain it to the point where the engine doesn’t start.”44

5            ANSWER: AHM admits that Plaintiffs purport to quote various websites and articles. The

6     contents of the websites and articles speak for themselves, and to the extent the allegations in this

7     paragraph vary therewith, AHM denies the allegations. AHM lacks knowledge or information

8     sufficient to form a belief about the truth of the remaining allegations in this paragraph and therefore

9     denies the allegations.

10           146. In modern vehicles, such as the Class Vehicles, a battery typically has enough duty

11    cycles to last up to six years, with some lasting nearly twice that amount, as long as the battery is not

12    subject to excessive parasitic draining.45 The cost to replace a vehicle battery typically varies from

13    $45 to $250,46 and the cost of a replacement alternator with repair fees can vary from $200 to $800.47

14           ANSWER: AHM admits that Plaintiffs purport to reference various websites. The contents

15    of the websites speak for themselves, and to the extent the allegations in this paragraph vary therewith,

16    AHM denies the allegations. AHM lacks knowledge or information sufficient to form a belief about

17    the truth of the remaining allegations in this paragraph and therefore denies the allegations.

18

19
20
     42
21      HONDA, SERVICENEWS ARTICLE, “Measuring Parasitic Current Draw” A020316M (Sept.
     2002).
     43
22      HONDA, SERVICENEWS ARTICLE, “Excessive Parasitic Draw? Check If the B-CAN System Is
     Awake”, A08070K (July 2008), https://f01.justanswer.com/clmcr8/93f5f360-831e-426e-af57-
23   958994d562ad_parasiticdraw.pdf
     44
        HONDA, SERVICENEWS ARTICLE, “Measuring Parasitic Current Draw” A020316M (Sept.
24   2002).
     45
        See How Long Should a Car Battery Last? I YourMechanic Advice; AAA, How Long Do Car
25   Batteries     Last,   https://www.aaa.com/autorepair/articles/how-long-do-car-batteries-last);  Jen
     McCaffery, How Long Do Car Batteries Last? READER’S DIGEST (May 24, 2021), https ://www.
26   rd. com/article/how-long-do-car-batteries-last/.
     46
        See KELLEY BLUE BOOK, https://www.kbb.com/battery-replacement/ (last accessed Sept. 21,
27   2021).
     47
        See Andy Jensen, How Much Does an Alternator Cost, ADVANCE AUTO PARTS (Aug. 25, 2021),
28   https ://shop. advanceautoparts. com/r/advice/car-maintenance/how-much-doe s-it-cost-to-replace-an-
     alternator.
                                                       49
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1            147. The F-CAN parasitic draining Defect in the Class Vehicles is worsened by the fact that

2     the Class Vehicles are highly susceptible to the negative effects and symptoms of excessive parasitic

3     draining due to Honda’s decision to install comparatively small and weak batteries in the vehicles.

4            ANSWER: AHM denies the allegations in this paragraph, including the existence of the

5     alleged defect.

6            148. For instance, Honda installed a 12-volt battery with 410 Cold Cranking Amps

7     (“CCA”)48 in its 2017 CR-V vehicles. By comparison, its competitors with similar 4-cylinder engines

8     and the same model year installed batteries ranging from 508 CCA to 800 CCA. The 2017 4- cylinder

9     Ford Escape has a battery ranging from 590 to 760 CCA, or 43% to 85% larger than the CR-V’s

10    battery. The 2017 Hyundai Tucson has a 640 CCA battery, 56% larger than the CR-V battery. The

11    2017 Jeep Cherokee has a 600 CCA battery. The 2017 Kia Sportage has a 640 CCA battery. The

12    2017 Mazda CX5 has a 520 CCA battery. And the 2017 Chevrolet Equinox has a 525 CCA battery.

13           ANSWER: AHM admits that 2017 CR-Vs have a 12-volt battery. AHM further admits that

14    Cold Cranking Amps (“CCA”) is an industry standard rating used for automobile batteries. AHM

15    lacks knowledge or information sufficient to form a belief about the truth of the allegations in this

16    paragraph related to other vehicles and therefore denies the allegations. AHM denies the remaining

17    allegations in this paragraph.

18           149. The small battery size in the 2017 CR-V is not unique to that model. By way of

19    additional examples, the 4-cylinder 2016 Accord has a 410 CCA battery, while the 2017 Ford Fusion
20    has a 760 CCA battery, the Hyundai Sonata has a 800 CCA battery, and the Kia Optima has a battery

21    of at least 760 CCA.

22           ANSWER: AHM admits that 2016 Accords have a 12-volt battery. AHM lacks knowledge

23    or information sufficient to form a belief about the truth of the allegations in this paragraph related to

24    other vehicles and therefore denies the allegations. AHM denies the remaining allegations in this

25    paragraph.

26

27
     48
28     CCA is an industry standard rating used to define a battery’s ability to crank an engine in cold
     temperatures.
                                                   50
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1            150. A smaller and weaker battery, as measured by its CCA, will become depleted and result

2     in no-start conditions faster than a battery with a higher CCA when experiencing excessive parasitic

3     draining.

4            ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth

5     of the allegations in this paragraph and therefore denies the allegations.

6           D.       Over Two Million Class Vehicles Suffering from the Parasitic Drain Defect
                     Were Sold by Honda
7

8            151. Honda, upon information and belief based on the facts alleged herein, has knowingly

9     sold over two million Class Vehicles which suffer from a serious Parasitic Drain Defect. The Defect

10    provides no discernable warning to drivers and thus creates an unreasonable risk to each driver. The

11    most common symptom associated with the Defect is being unable to start a vehicle after being left

12    undriven for a short period of time.

13           ANSWER: AHM admits that it has sold over two million of the alleged Class Vehicles.

14    AHM denies the remaining allegations in this paragraph, including the existence of the alleged defect.

15           152. Scores of complaints submitted to NHTSA reveal the magnitude of the Defect’s impact

16    of the Class Vehicles and consumers. As set forth in these complaints and in the experience of the

17    Plaintiffs, the defect manifested or is substantially certain to manifest within the period of time

18    covered by Honda’s warranties, and impaired the safety, reliability, or operability of the Class

19    Vehicles.
20           ANSWER: AHM denies the allegations in this paragraph, including the existence of the

21    alleged defect.

22           153. A list of representative complaints filed with NHTSA detailing the Parasitic Drain

23    Defect found in the 2017 Honda CR-V Class Vehicles includes:49

24               NHTSA ID No. 11005067 (dated July 13, 2017) (“Brand new 2017 cr-v touring, second
                  night home. Battery completely drained while parked overnight and had to charge battery
25                to start. Took to dealer, who did a battery test and found no issue. There is a honda tsb
                  campaign, but honda tells me my yin is out of range and is not covered -- even though the
26                symptoms are identical. They will not offer service until the yin is within range. Reference
                  Honda TSB-032 `parasitic battery draw from vsa modulator’ honda america support
27
     49
28      NHTSA complaints are publicly available online and searchable by NHTSA ID Number at
     https://www.nhtsa.govirecalls.
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            suggested I report this to nhtsa, for some reason. Stated that if they receive enough
1           complaints for a yin range it could be expanded. (this makes no sense to me since i was on
            the phone with them.).”).
2
           NHTSA ID No. 11012414 (dated August 2, 2017) (“THIS INCIDENT WAS 4 MONTHS
3           AFTWR PURCHASE. I PARKED A FRIEND’S HOUSE, AND THE BATTERY
            DRAINED OVER THE COURSE OF 3 HOURS.”).
4
           NHTSA ID No. 11019266 (dated August 17, 2017) (“Car battery has drained on two
5           occasions. Car won’t start.”).
6          NHTSA ID No. 11016279 (dated August 18, 2017) (owner reported that three months after
            purchasing his CR-V, the battery died after being parked for three hours. “Honda service
7           called [the owner[ the next day and said that they charged the car battery and that
            the cause was a parasitic drain and that [he] needed to put the electric brake on before
8           [he] turned off the car. They told [him] that Honda was aware of this issues and that they
            were working on a software fix.”).
9
           NHTSA ID No. 11032872 (dated October 10, 2017) (“Battery drains completely for no
10          reason when vehicle is parked. The first time it happened the dealership replaced the
            battery. It has [sic] happenned twice since then and dealership does not provide a fix.”).
11
           NHTSA ID No. 11035424 (dated October 17, 2017) (“Vehicle battery dead after sitting
12          for 3 hours. 3 week old vehicle with 690 miles.”).
13         NHTSA ID No. 11045525 (dated November 13, 2017) (2-month old vehicle would not
            start; the owner lamented: “so I will be late to work today and wasted my Sunday dealing
14          with this too.”).
15         NHTSA ID No. 11061486 (dated January 9, 2018) (“vehicle was parked in garage for a
            few days over holidays. When leaving to meet relatives at a restaurant, the car was
16          completely dead.”).
17         NHTSA ID No. 11064100 (dated January 22, 2018) (“Car will not start after sitting
            overnight Dealer performed software update which did not correct the problem to.”).
18
           NHTSA ID No. 11073304 (dated February 16, 2018) (“Car purchased July 1, 2017. Jan 6,
19          2018 battery died after sitting for roughly 2 days. Honda checked battery and found no
            problems with battery or electrical system. Friday, Feb 16, 2018 same problem: dead
20          battery. Car was sitting for 3 days prior to discovery.”).
21         NHTSA ID No. 11079667 (dated March 15, 2018) (“Car would not start twice in the first
            year. System seems to have some kind of drain on the battery when the car is off. First
22          time, the car was not turned on for 3 days before trying to start it….It is not acceptable for
            this to happen in the first year of having a car. Plenty of 2017 CRV owners are saying the
23          same thing happened to them. It’s all over the internet. Honda must find a solution and
            issue a recall.”).
24
           NHTSA ID No. 11088356 (dated April 16, 2018) (after parking car at airport for 13 days,
25          “the battery was completely dead and was started with a jump.”).
26         NHTSA ID No. 11089119 (dated April 20, 2018) (“Purchased car 1/18. Took 10 day
            vacation car was parked during that period. Car battery was dead when we returned. Had
27          aaa jump car and took to dealer. Battery checked and told by dealer it was fine 6 days later
            battery dead had honda service tow car to dealer. Had found honda tsb 17-032 online
28          describing a battery drain from vsa modulator. Made copy for dealer because they were
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            ‘unaware of problem’ asked them to follow the tsb software upgrade procedure which
1           they did but when they tested battery there was still a drain so they replaced the battery
            and informed me i need to drive car everday to keep it charged, this is our second car and
2           is not driven everyday and we travel which means the car may not be driven for 10 days or
            more the service advisor indicated that we need to acquire a battery charger because most
3           likely the battery would be dead. It seems that the 2017 cry has an electric brake system
            problem. It pulls on the battery even when the ignition is off Is honda going to issue a recall
4           on this problem. Everytime i get in the car i wonder if the car will start and this an
            uncomfortable feeling for a brand new car with only 540 miles on it.”).
5
           NHTSA ID No. 11090045 (dated April 25, 2018) (“Five times the battery drained
6           completely with nothing on, after sitting unused garaged, over night or after one day
            unused.”).
7
           NHTSA ID No. 11098895 (dated May 30, 2018) (“I bought this Honda CRV 2017 awd on
8           04/01/2017 from Honda Folsom. On April 24,2018, it would not start. I called roadside
            assistance to jumpstart it and brought this to the dealer in Folsom. They changed the battery
9           on April 24, 2018…. Today, May 30, 2018, it did not start again so it was jumpstarted
            again[.]”).
10
           NHTSA ID No. 11115700 (dated August 4, 2018) (“The vehicle was in the garage with
11          dead battery after 2 days of not being used.”).
12         NHTSA ID No. 11120233 (dated August 16, 2018) (“Bought the car April of 2017, after
            a few months car went dead ... dealer replaces the battery, not much explanation why. The
13          problem happen 2 more times, had to jump start car again took it back to the dealer but
            this time dealer telling me that the car needs to be driven regularly and also on a certain
14          distance so that battery will be charged up completely. And was told to buy a portable
            charger[.]”).
15
           NHTSA ID No. 11124343 (dated September 4, 2018) (after two-week vacation, “battery
16          was dead as it was completely drained.”).
17         NHTSA ID No. 11131089 (dated September 24, 2018) (“car left in parking lot for four
            days. Car would not crank or start. Battery serviced by aaa, jump started successfully. No
18          obvious clamps, wire, alternator problem. Car evaluated at honda burlington dealer. No
            problems found. No cause for battery failure given. Service clerk at dealership and aaa
19          battery service person independently suggested that car should not be left unproven for
            more than a few days as battery failure has been found, without an obvious cause. Evidently
20          honda service bulletin # 17-032 addresses this issue but neither the general honda customer
            hotline nor the burlington mass dealership acknowledge this with my vehicle.”).
21
           NHTSA ID No. 11131864 (dated September 27, 2018) (“For the second time, after
22          leaving the vehicle parked for 3-5 days the battery has been drained and unable to start
            the engine.”).
23
           NHTSA ID No. 11142765 (dated October 25, 2018) (“vehicle battery drains after 2 days
24          of non use”).
25         NHTSA ID No. 11143939 (dated October 29, 2018) (“Vehicle was parked over night in
            the morning the battery was completely drained I left no lights on there was no reason for
26          a drained battery on a new car.”).
27         NHTSA ID No. 11145200 (dated November 4, 2018) (“battery drains out completely and
            car won’t start.. Just 18000 miles. 4 times in 3 days.”).
28
                                                    53
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           NHTSA ID No. 11153477 (dated November 24, 2018) (“Battery was dead after parking
1           on street, had to call for emergency road service to jump car. There was no excessive usage
            of battery or electronics in the car.”).
2
           NHTSA ID No. 11154819 (dated November 29, 2018) (“After a month. We went for a
3           vacation and as we went back, my car is not starting anymore.”).
4          NHTSA ID No. 11165366 (dated January 5, 2019) (“January 3rd my car would not start.
            Jan 4th and 5th again my car would not stop without a jump. I have had nothing but
5           electrical problem, radio blinking and not coming on or brake system engaging without
            braking etc. since I have purchased.”).
6
           NHTSA ID No. 11165157 (dated January 8, 2019) (“Vehicle frequently runs out of battery
7           and need to jump start.”).
8          NHTSA ID No. 11182473 (dated February 26, 2019) (“Vehicle does not shut down when
            turned off. This causes a high [sic] parsitic draw on the battery which causes the vehicle
9           not to start in a matter of hours. ... my battery blew up releasing toxic gasses filling the
            exterior of the car which contain my wife and kids at the time.”).
10
           NHTSA ID No. 11187354 (dated March 17, 2019) (“Battery dies after sitting for 5+ days.
11          New battery installed, same issue. TSB-032 has been applied, still have the problem.”).
12         NHTSA ID No. 11191314 (dated March 25, 2019) (“Vehicle is unable to start after
            shutdown with no diagnosed cause.... Vehicle requires jump start for successful start upon
13          symptoms appearing... vehicle has been brought to Honda dealerships several times for
            diagnosis and service... latest visit, car was unable to start immediately after parking car at
14          dealership.... Dealership applied Honda technical service bulletin (TSB) 17-032 and did
            not fix problem....).
15
           NHTSA ID No. 11194855 (dated April 9, 2019) (“If I stop using the cr-v for two days the
16          battery goes dead and I have to recharge it. The original battery was replaced after the first
            year in the Honda dealer.”).
17
           NHTSA ID No. 11220318 (dated June 15, 2019) (“I had parked my car for 4 days while
18          away on a business trip. I came back and the car was totally dead. It wouldn’t start, I could
            not even open the doors without the emergency key.”).
19
           NHTSA ID No. 11229585 (dated July 5, 2019) (“If I parked this car over two nights, its
20          battery will die and need to call AAA to lump it. It occurs over five times in only two years.
            Then I changed my battery, it still happened and I also turn off all light in my cars.”).
21
           NHTSA ID No. 11256787 (dated September 20, 2019) (“Issue with drained battery/vsa
22          modulator. Vehicle lights won’t turn off when shutting off vehicle. Key fob will not work
            because vehicle battery will die. Once jumped, vehicle will die again. Battery has been
23          checked and it doesn’t seem to need replacing yet no active recall reported.”).
24         NHTSA ID No. 11258834 (dated September 29, 2019) (“My 2017 crv-ex has had its
            battery drained twice. With only 4600 miles driven. I’ve had the battery drained after 2
25          days to less then 24 hours. I’m on my third time now.”).
26         NHTSA ID No. 11268859 (dated October 16, 2019) (“Yesterday the car would not start,
            battery issue was determined to be the likely problem after placing a service assist call to
27          Honda. A jump start and problem was resolved. Mileage approx. 19,000. This is the second
            time this occurred since owning the car. The first time it happened within a couple of
28          months of owning the car. In both instances, the car had been parked less than 2 hours.”).
                                                    54
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           NHTSA ID No. 11280821 (dated November 18, 2019) (“dead battery - 11-17-2019, 11-
1           18-2019 (2yrs 3months old, 16,000 miles) garage kept. Car won’t start.”).
2          NHTSA ID No. 11308113 (dated February 10, 2020) (“Vehicle battery will die after two
            days of non starting. This happens constantly.”).
3
           NHTSA ID No. 11322233 (dated April 25, 2020) (“Battery keeps dying after sitting more
4           than a several days. This is the third time since owning the car.”).
5          NHTSA ID No. 11322811 (dated April 30, 2020) (“Car would not start and goes dead with
            3rd attempt to start. This is the 3rd time i must have car towed to dealership; car has 4,000
6           miles.”).
7          NHTSA ID No. 11322903 (dated April 30, 2020) (“numerous people including myself
            have been affected by this car draining a brand new battery and leaving people stranded
8           and needing a jumpstart. My car is currently at the dealership again to have this issue
            looked at.”).
9
           NHTSA ID No. 11324710 (dated May 15, 2020) (“As of May 13, I have had to return my
10          leased 2017 cr-v to the dealership four (4) times for the same reason - the battery would
            not work , hence the engine did not start... I was verbally told the problem is my fault -
11          since I do not drive the vehicle enough.”).
12         NHTSA ID No. 11325206 (dated May 19, 2020) (“Battery keeps dying after 2 days of non
            operational this has happen multiple times and no fix from dealer.”).
13
           NHTSA ID No. 11325093 (dated May 19, 2020) (“My wife and I have, on numerous
14          incidents, had to jumpstart the cr-v due to a dead battery.”).
15         NHTSA ID No. 11326577 (dated May 30, 2020) (“Car battery will die if the car is not
            used for more than a couple days. We have taken it into the dealership to get checked
16          many times only to be told nothing is wrong. Battery has been replaced multiple times as
            well only for the car to die a few days later. We purchased the car brand new in March
17          2017. The first time it happened it was only a few months into owning the car.”).
18         NHTSA ID No. 11329352 (dated June 17, 2020) (“The car was towed to the dealer because
            the battery (less than 3 years old) was dead and was replaced because the car was still in
19          warranty. Then on 6/13/2020 the second battery was completely dead with only 663 miles.
            I think the situation should be investigated and remedied due to concern about safety.”).
20
           NHTSA ID No. 11241811 (dated August 5, 2019) (“Battery failure [at] 27275 miles... Car
21          won’t start, dashboard lights blinking and flashing, all sorts of error codes...alternator may
            be working hard to recharge battery that won’t recharge”).
22
           NHTSA ID No. 11349364 (dated August 15, 2020) (“Dead battery for 3 mornings in a row
23          and now on the 4th day it will not accept a jump.”).
24         NHTSA ID No. 11351281 (dated August 15, 2020) (“Battery died overnight, took vehicle
            to different dealerships, replaced battery.. Nothing help!”).
25
           NHTSA ID No. 11355664 (dated September 17, 2020) (“Battery runs down. Put new
26          battery...same problem. Need a jump to start for me to drive. Battery runs down if it sits
            for a day problem steering after it is jumped.”).
27
           NHTSA ID No. 11364200 (dated October 13, 2020) (“I lost power.... I have no documents
28          except the dealer’s report that there was nothing wrong except a weak battery.”).
                                                   55
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              NHTSA ID No. 11373970 (dated November 10, 2020) (“Battery is dead if I don’t drive it
1              for 2 days. This has happened three times in the past year, the last two times just a few
               weeks apart. And this past time I drove it on a Thursday and it was dead on Saturday.
2              Fortunately the times this has happened the car was in the garage, so I was not stranded.”).
3             NHTSA ID No. 11376180 (dated November 24, 2020) (“Battery will be dead if car not
               used every 2 days. 4 times I have had the dealer replace my battery and 1 time myself.
4              Dealer refuses to solve the problem. A vehicle[ls battery should not go dead after only 4
               days of use.”).
5
              NHTSA ID No. 11378523 (dated December 8, 2020) (“The battery dies frequently for no
6              reason after not driving for one to two days. When the battery dies, it locks up the brakes
               and messes up the safety features.”).
7
              NHTSA ID No. 11386463 (dated January 4, 2021) (“Ongoing intermittent issues since car
8              was purchased May 2017. Repeated battery drains and complete failure, battery replaced
               by Honda July 2020. Drove, parked, would not start or run accessories Nov. 30 2020 and
9              on Jan. 1 2021.”).
10            NHTSA ID No. 11388291 (dated January 15, 2021) (“Parasitic power draw on system
               resulting in dead battery if not driven every other day. Honda is aware of the issue but has
11             not issued a recall.”).
12            NHTSA ID No. 11390863 (dated January 31, 2021) (“Overnight dead battery.”).
13            NHTSA ID No. 11397119 (dated February 20, 2021) (“Car battery gets drained out over
               night and it’s not the battery or the alternator.”).
14
              NHTSA ID No. 11398524 (dated March 1, 2021) (“Honda CRV 2017 keeps draining
15             battery even after it is turned off and causing routine service calls.... Hope such things do
               not happen on road when parked and create other issues.”).
16
              NHTSA ID No. 11437944 (dated October 24, 2021) (“After the car is turned completely
17             off, the dash lights up with all warning lights on and won’t shut down, which then drains
               the battery. This has happened 3 times and we’ve gone through 2 batteries. The 3rd time it
18             happened, we were able to get it to the dealership before it drained the battery completely.
               The dealership was able to confirm that it’s the Body Control Module that is causing the
19             electrical shortage which completely drains the battery. Part is on back order and car is
               unsafe to drive at this time because of the electrical shortage in the BCM.”)
20
              NHTSA ID No. 11462788 (dated April 29, 2022) (“The contact also stated that the vehicle
21             failed to start occasionally. The contact was able to jumpstart the vehicle with assistance.
               The vehicle was taken to the dealer who diagnosed that the battery needed to be replaced.
22             The contact stated that the battery was replaced; however, the failure reoccurred with
               the computer system engaging independently, while activating the alarm system
23             simultaneously. The vehicle was taken to a second dealer Norm Reeves Honda Superstore
               Irvine (16 Auto Center Dr, Irvine, CA 92618) where it was diagnosed that the Body
24             Control Module (BCM) needed to be replaced; however, the parts were not available as it
               was on a national back order. The vehicle was not repaired. The manufacturer was not
25             notified of the failure. The failure mileage was approximately 17,000.”
26
           ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth
27
     of the complaints allegedly filed with the National Highway Traffic Safety Administration
28
                                                      56
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1    (“NHTSA”) referenced in this paragraph and therefore denies the allegations. The contents of the

2    complaints filed with NHTSA speak for themselves, and to the extent the allegations in this paragraph

3    vary therewith, AHM denies the allegations. AHM denies the remaining allegations in this paragraph,

4    including the existence of the alleged defect.

5           154. A list of representative complaints filed with NHTSA detailing the Parasitic Drain

6    Defect found in the 2018 Honda CR-V Class Vehicles includes:

7              NHTSA ID No. 11076480 (dated March 6, 2018) (“While on vacation, I had my 2018
                Honda, CRV-EXL parked for nearly 2 weeks. On our return, I attempted to start the
8               vehicle. It would not start as the new battery was completely drained and dead.”).
9              NHTSA ID No. 11115697 (dated August 4, 2018) (“Draining battery suspected parasitic.
                ... The vehicle was sitting in the garage for about 2 days since last use.”).
10
               NHTSA ID No. 11118082 (dated August 6, 2018) (“While driving 35 mph, the vehicle
11              inadvertently came to a stop. There were no warning indicators illuminated. The contact
                stated that the vehicle was able to restart. The vehicle was taken to Lithia Honda in
12              Medford... where the contact was informed that the alternator needed to be replaced.”).
13             NHTSA ID No. 11139129 (dated October 8, 2018) (“Car stalls when going up parking
                ramp, car dies at intersection.... The car has been a problem ever since I got it earlier this
14              year...there is only 4,000 miles on it and so far, they changed the battery...explanation I
                was given is that Honda has bad batteries ....still having problems, car is stalling, panel
15              freezes, sensors don’t work....I believe it’s a major safety issue.....Brakes failed, panel
                freezes, car stalls... help! “).
16
               NHTSA ID No. 11316406 (dated March 5, 2020) (“I was away for 17 days and my battery
17              died. Went to dealer and he said this is normal. It’s dangerous and should not happen!
                Car is 18 months old! This is dangerous too.”).
18
               NHTSA ID No. 11383284 (dated December 14, 2020) (“2018 Honda CRV Touring
19              Purchase September 8, 2018. Currently has 16,400 miles. On Thursday, December 10, I
                went out to start my Honda CRV Touring in the garage. It would not start. ... The towing
20              company driver informed me that this is about the 13th Honda 2018 2020 that he has had
                to jumpstart.”).
21
               NHTSA ID No. 11342279 (dated July 30, 2020) (“I parked my car in my garage with half
22              a tank of gas on Sunday. On Wednesday I went to start my car to no avail. “).
23             NHTSA ID No. 11397174 (dated February 21, 2021) (“Battery drains abnormally.”).
24             NHTSA ID No. 11441612 (dated November 24, 2021) (“The BCM module of the vehicle
                can fail unexpectedly and cause a complete drain of the vehicle battery overnight. Specific
25              part number of the component: 38809-TMM-A21.”).
26             NHTSA ID No. 11478761 (dated August 11, 2022) (“The contact’s husband owns a 2018
                Honda CR-V. The contact stated that her husband was driving at an unknown speed when
27              the vehicle stalled. The battery warning light illuminated. However, the battery was
                replaced but the failure recurred without warning. The vehicle was taken to the dealer
28              where it was diagnosed that the Body Control Module (BCM) needed to be replaced. The
                                                       57
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                manufacturer was notified and the contact was informed that no parts were available. The
1               approximate failure mileage was 20,000. The VIN was not available.”).
2
            ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth
3
     of the complaints allegedly filed with NHTSA referenced in this paragraph and therefore denies the
4
     allegations. The contents of the complaints filed with NHTSA speak for themselves, and to the extent
5
     the allegations in this paragraph vary therewith, AHM denies the allegations. AHM denies the
6
     remaining allegations in this paragraph, including the existence of the alleged defect.
7
            155. A list of representative complaints filed with NHTSA detailing the Parasitic Drain
8
     Defect found in the 2019 Honda CR-V Class Vehicles includes:
9
               NHTSA ID No. 11181325 (dated February 20, 2019) (“Battery keeps dying after 2 days of
10              not using my car. I brought my car to a honda dealer and they checked it and said there was
                nothing wrong with it. So far this has happened 4 times.”).
11
               NHTSA ID No. 11182356 (dated February 25, 2019) (“Purchased 2019 honda crv on
12              february 9, 2019. Drove only twice in the first 2 weeks. Attempted to drive for the 3rd time
                (101 miles on odometer) on the 2 week anniversary of buying, february 23, 2019 and the
13              car was completely dead!”).
14             NHTSA ID No. 11184460 (dated March 5, 2019) (“Purchased 12/28/18. After driving
                home from dealer(60 miles) car was not used for 2 days. Tried to start car and battery was
15              dead—totally drained. ... Dealership is aware of 4 additional 2019 crvs with the same
                problem.”).
16
               NHTSA ID No. 11184357 (dated March 5, 2019) (“The battery is repeatedly dead after a
17              day or so if not driven.”).
18             NHTSA ID No. 11185761 (dated March 11, 2019) (“After turning the vehicle off, the
                battery drained and the vehicle could not be restarted. ... The battery was replaced, but the
19              failure continued.”).
20             NHTSA ID No. 11186743 (dated March 14, 2019) (“Vehicle failed to start without
                warning. ... The technician stated that the vehicle needed to be driven everyday to keep the
21              battery charged.”).
22             NHTSA ID No. 11187233 (dated March 16, 2019) (“Left car parked for 5 days. Nothing
                left on but battery was drained. Needed to call a tow truck for a jump start.”).
23
               NHTSA ID No. 11187238 (dated March 16, 2019) (“Continual batter), failures, batteries
24              go dead if not driven every day. On my second battery and died as two days not being
                driven. Some sort of parasitic drain?”).
25
               NHTSA ID No. 11190065 (dated March 19, 2019) (“If the car sits for 2-3 days without
26              running the battery drains and dies completely.”).
27             NHTSA ID No. 11192285 (dated March 28, 2019) (“Vehicle battery was dead after the
                suv sat unused for 2 days within 3 weeks and 300 miles of ownership. This has occurred
28              over 6 times in 3000 miles. Battery has been replaced by the battery twice and is now on
                                                       58
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            its third battery. Dealer notes this problem exists on all 2019 crv’s delivered to-date and
1           that they do not yet have a solution.”).
2          NHTSA ID No. 11192339 (dated March 29, 2019) (“If the car sits for 24 + hours the battery
            dies, I have had this happen 6 times now. Called dealer 3+ times, brought it in they first
3           said it was the battery (which we all knew it was not) but they put in a new one they said.
            Anyhow as you already know this is an electrical issue that needs to be fixed a.s.a.p. Dealer
4           now tells me honda is working on a fix but in the mean time I have had to have the car
            jumped and paid for this as well it’s a major nuisance I want fixed very soon or want my
5           money back and I will buy another car. This has been going on since i bought this car dec.
            28th 2018.”).
6
           NHTSA ID No. 11196738 (dated April 16, 2019) (“Car 2 months old, have only put 1300
7           miles on it, let it sit for 5 days, and battery totally dead.”).
8          NHTSA ID No. 11196271 (dated May 1, 2019) (“The consumer stated the battery dies
            within 2 days of shutting the vehicle down, if not driven again. The emissions system
9           drains the battery. There is no repair available for the failure.”).
10         NHTSA ID No. 11207890 (dated May 15, 2019) (“Electrical problem,4/10/19 at 200
            miles, battery completely dead after 2 days of not driving because computer program
11          error. Honda is aware of problem, but does not instruct the dealer to fix the problem before
            selling its cars[.]”).
12
           NHTSA ID No. 11231760 (dated July 14, 2019) (“Battery dies overnight. Car has only
13          1000 miles and i’ve had to jump it 3 times. ... A new car should not behave this way.
14         NHTSA ID No. 11172347 (dated January 27, 2019) (“My 2019 honda cr-v’s battery dies
            after sitting in my garage for two days. It has only 320 miles on it”).
15
           NHTSA ID No. 11244857 (dated August 19, 2019) (“Battery is draining out after sitting
16          for 3 days in a parking lot, and will not start up again without a jump.”).
17         NHTSA ID No. 11252372 (dated August 30, 2019) (“The vehicle was parked at an airport
            and would not start upon the contact’s return from a five day trip. ... Manufacturer
18          suggested that the contact unhook the battery if the vehicle remained parked more than a
            day. ... The failure mileage was 1,900.”).
19
           NHTSA ID No. 11279556 (dated November 12, 2019) (“Went away for a weekend trip
20          and hadn’t driven the car for 3 days. Came back and the battery was totally drained, had
            to jump start the car. It has roughly 3,300 miles on the odometer.”).
21
           NHTSA ID No. 11299090 (dated January 13, 2020) (“The SUV would not start after not
22          being driven for 2 days.”).
23         NHTSA ID No. 11324191 (dated May 11, 2020) (“After leaving vehicle in garage for 24
            hours or more, then attempting to start the vehicle, vehicle will not start. After using
24          battery jump, vehicle will start and run as normal. This has happened several times over
            the past few months, even when vehicle is run for couple miles or more.”).
25
           NHTSA ID No. 11337956 (dated July 7, 2020) (“The contact stated that an hour after
26          parking the vehicle, the battery was drained. The contact stated that the failure recurred
            six times.”).
27
           NHTSA ID No. 11360689 (dated September 23, 2020) (“The contact stated that the battery
28          became drained on two separate occasions. ... The battery was replaced. The failure
                                                   59
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                recurred after two weeks. ... The technician stated that the failure was common with the
1               make and model and that the dealer would not disclose that information. The contact
                called the same dealer who confirmed the information and told the contact to buy a jumper
2               cable.”).
3              NHTSA ID No. 11373267 (dated November 5, 2020) (“The car wouldn’t start until I
                messed with it a lot. I’ve read it’s a battery drain and software update issue on message
4               boards- several people complained about it. I’ve only had my 2019 honda cry since
                september 2019.”).
5
               NHTSA ID No. 11376801 (dated November 28, 2020) (“Our 2019 honda cry was
6               purchased in december of 2019. The battery had died 3 times and had to be recharged by
                the dealer. The honda dealer refused to replace the battery and could tell us why the battery
7               keeps dying. The car is driven every day and the lights are always turned off automatically
                at night after driving.”).
8
               NHTSA ID No. 11385578 (dated December 30, 2020) (“On august 28 I went to start my
9               car and it would not turn on. I called the dealership and they jumped it and the car started.
                They tested the battery and it was fine but changed it anyway. On December 23 it would
10              not start and had to be jumped. This happened again on December 26 and 27. The car is
                currently at the dealership. They have said nothing is wrong with the battery or the car even
11              though this has happened to multiple 2019 cr-vs.”).
12             NHTSA ID No. 11397192 (dated February 21, 2021) (“The battery has failed multipile
                time in the first 18 months of ownership. The first instance at the 4 month mark with about
13              1000 miles on the car.”).
14
            ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth
15
     of the complaints allegedly filed with NHTSA referenced in this paragraph and therefore denies the
16
     allegations. The contents of the complaints filed with NHTSA speak for themselves, and to the extent
17
     the allegations in this paragraph vary therewith, AHM denies the allegations. AHM denies the
18
     remaining allegations in this paragraph, including the existence of the alleged defect.
19
            156. A list of representative complaints filed with NHTSA concerning the Parasitic Drain
20
     Defect found in the 2016 Honda Accord Class Vehicles includes:
21
               NHTSA ID No. 10959718 (dated March 9, 2017) (“The battery has been replaced twice
22              by the dealership. We are not leaving anything on.”).
23             NHTSA ID No. 10970672 (dated April 5, 2017) (“Vehicle would not start possibly due to
                alternator or battery malfunction after being purchased for one year.”).
24
               NHTSA ID No. 10978620 (dated April 15, 2017) (“Purchased 2016 accord touring in
25              may 2016. In April 2017 the car would not start - appeared to be a battery issue.”).
26             NHTSA ID No. 11013956 (dated August 9, 2017) (“I am unable to start my car after it
                sits for ten days to two weeks or more. The battery goes dead and my family and I are left
27              potentially stranded. My wife and I travel frequently and return to a car that won’t start due
                to a parasitic draw on the battery. This is a safety issue as you can imagine flying home,
28              taking the bus to the parking lot at the airport at 11:00 pm, going to your car and finding a
                                                       60
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            dead battery which puts our safety in peril. ... [the honda dealership stated that] this is now
1           normal with the new honda accords due to the parasitic draw on the battery when the car
            isn’t running. ... I called another honda dealer’s service department in the kansas city area
2           and received the same comment. ... this is now what I can expect on my new accord, if it
            sits for ten days or two weeks then the battery will die”. ... I have had this problem since
3           last fall and it has occurred on several occasions.”).
4          NHTSA ID No. 11047161 (dated November 18, 2017) (“Second time on the last four days
            that my car will not start. ... I was working in los angeles four days later and once again the
5           car wouldn’t start. ... this is a problem because of where I work and I cannot let my wife
            drive the car due to not having the confidence that the car will start, especially if she has
6           the kids with her.”).
7          NHTSA ID No. 11013956 (dated August 9, 2017) (“I am unable to start my car after it
            sits for ten days to two weeks or more... due to a parasitic draw on the battery. This is a
8           safety issue[.]” The owner added that when he brought his vehicle into a Honda dealer he
            was told “that this is now normal with the new Honda accords due to the parasitic draw on
9           the battery when the car isn’t running which ultimately drains the battery to a point where
            it won’t start.”).
10
           NHTSA ID No. 11112042 (dated July 17, 2018) (“My battery has a shortage-2016 with
11          less than 40,000 miles. This is clearly a defect.”).
12         NHTSA ID No. 11153323 (dated November 23, 2018) (“I had to get my car towed be it
            would not start.”).
13
           NHTSA ID No. 11153677 (dated November 26, 2018) (“After driving the vehicle and
14          turning the engine off, the battery power would drain and the vehicle could not be restarted.
            After replacing the battery with a new battery, the failure continued.”).
15
           NHTSA ID No. 11192228 (dated March 28, 2019) (“Battery has been replaced 3 times
16          and constantly drains.”).
17         NHTSA ID No. 11209968 (dated May 25, 2019) (“Battery has been replaced twice in 1
            year.”).
18
           NHTSA ID No. 11268149 (dated October 13, 2019) (“When I get in my car sometimes to
19          start it the battery is dead I have taking it to Autozone so they can run test with there
            computer and everything comes out perfect if I’m not mistaken I think the battery negative
20          voltage sensor is damaged.”).
21         NHTSA ID No. 11281257 (dated November 20, 2019) (“My battery has died multiple
            times without leaving anything on or open.”).
22
           NHTSA ID No. 11281833 (dated November 22, 2019) (“August 2018 battery in car
23          stopped working. Stationary car would not start. Replaced battery and in November 2019
            battery stopped working again. Car wont start.”).
24
           NHTSA ID No. 11360118 (dated September 20, 2020) (“I just replace the battery for the
25          3rd time on 9/19/2020. This is a problem for a car 4 years old.”).
26         NHTSA ID No. 11390859 (dated January 31, 2021) (“If the vehicle is not started and
            driven at least every second day. A no start condition results. Battery is new, the second
27          one from Honda dealer. ... Purchased an after market start booster to resolve dead battery
            issue.”).
28
                                                    61
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               NHTSA ID No. 11481089 (dated August 24, 2022) (“For the 4th time in a year and a
1               half, my CR-V has failed to start. I’ve had it in for dealership servicing twice on this
                issue and even replaced the battery at their recommendation. It did not fix the problem
2               and they have since told me that they can’t identify the problem and said it could be with
                the computer system (I did purchase an additional warranty for the computer system). In
3               addition to the car failing to start and needing a jump start, the dashboard will start beeping
                and go blank, or flash a warning message that does not fit the situation. I consider this
4               situation to be a safety issue as it leaves me without a reliable car for travel due to the
                uncertainty of being able to start the car. The latest episode was today and it was 88 degrees
5               out and I had my 91 yr old father and my dog with me. Waiting for assistance in the heat
                was very hard on them. My father felt sick due to the long exposure to heat.”).
6

7           ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth

8    of the complaints allegedly filed with NHTSA referenced in this paragraph and therefore denies the

9    allegations. The contents of the complaints filed with NHTSA speak for themselves, and to the extent

10   the allegations in this paragraph vary therewith, AHM denies the allegations. AHM denies the

11   remaining allegations in this paragraph, including the existence of the alleged defect.

12          157. A list of representative complaints filed with NHTSA detailing the Parasitic Drain

13   Defect found in the 2017 Honda Accord Class Vehicles includes:

14             NHTSA ID No. 11098225 (dated May 2, 2018) (“car needed to be jumped started twice.
                ... First time, car would not start after waiting 20 mins. Second time, car in garage over
15              night would not start.”).
16             NHTSA ID No. 11174885 (dated February 6, 2019) (“Over the last several days the car
                would not start without requiring a jump for the battery. Then it would run, but once the
17              car was off and had to be restarted it would require another jump. ...It ran fine for the next
                few days, but currently its parked and won’t start. The only lights that displayed was the
18              EPS which turned off shortly after the car started.”).
19             NHTSA ID No. 11221967 (dated June 23, 2019) (“Car won’t start or turn over and the
                lights just flicker on and off. I’m currently waiting on a tow truck to get a jump my car is
20              parked in the garage and it won’t start. Very frustrated with Honda I had the car less than
                2 years and I have less than 50k miles.”).
21
               NHTSA ID No. 11266417 (dated October 4, 2019) (“Last night I had just gotten home
22              from worked and gone in the house to change for church. Less than 5 minutes later, I
                returned to my car and when trying to start it, it would start up. Lights flickered on dash,
23              but it wouldn’t turn over..... This is the third time this his happened this year, with in a
                few months. Car has less that 50k miles. ... [T]his could be very dangerous.”).
24
               NHTSA ID No. 11308018 (dated February 9, 2020) (“There are times the car will not start.
25              Have to get a jump to start.”).
26             NHTSA ID No. 11327379 (dated June 5, 2020) (“1/10/2020 car wouldn’t start 6/4/2020
                my car did the exact same thing.”).
27
               NHTSA ID No. 11329911 (dated June 21, 2020) (“After owning the car for 2.5 years, the
28              car would not start and required a jump. After several instances of this occurring, the
                                                        62
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                original oem battery was replaced. Within 2 months of installing the new battery, the car
1               wouldn’t start and required a jump. The car will start fine for a few weeks and then
                requires another jump (this repeats every several weeks).”).
2
               · NHTSA ID No. 11384868 (dated December 24, 2020) (“The car battery does not hold
3               charge. If the car is not used for three days to a week, the battery is completely dead.”).
4              · NHTSA ID No. 11390956 (dated February 1, 2021) (“Vehicle has been dead on 4+
                occasions. Stationary, in garage. Vehicle is driven as little as once per week at times but
5               the battery or electric draw has caused the car to fail in as little as a couple days or even
                trunk being open for 15-20min.... Dealer is brushing this off without responsibility...They
6               refuse to replace the battery[.]”).
7
            ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth
8
     of the complaints allegedly filed with NHTSA referenced in this paragraph and therefore denies the
9
     allegations. The contents of the complaints filed with NHTSA speak for themselves, and to the extent
10
     the allegations in this paragraph vary therewith, AHM denies the allegations. AHM denies the
11
     remaining allegations in this paragraph, including the existence of the alleged defect.
12
            158. A list of representative complaints filed with NHTSA detailing the Parasitic Drain
13
     Defect found in the 2018 Honda Accord Class Vehicles includes:
14
               NHTSA ID No. 11270292 (dated October 22, 2019) (“The problem we had with this 2018
15              Honda Accord, was it wouldn’t start. Without warning of low battery or faulty charging
                or any other indication displayed in the warning or advisory systems of the car previously
16              - it just wouldn’t start.... Now, if this were you, or your wife, or your daughter, or grand
                mother; or all of them in the car together going to an event like a wedding - and they were
17              suddenly and unexpectedly, without warning .... Stranded on the side of a road in the middle
                of nowhere, at night, in stormy weather, or worse... Evacuating the area from a tsunami.
18              Would you be concerned?”).
19             NHTSA ID No. 11374134 (dated November 11, 2020) (“I have changed two batteries since
                I bought it first battery that it came with completely died and couldn’t even get a jump.
20              Changed it and now I have to keep getting jump everyday.”).
21             NHTSA ID No. 11394473 (dated February 3, 2021) (“The vehicle has 8000 miles on it.
                The safety problem on this vehicle is that the electric system has shorted 5 batteries and
22              has left me stranded in various locations, lending to unsafe conditions. The Honda dealer
                has replaced 5 batteries on my vehicle and now my car has broken-down again making it
23              six shorted batteries on a vehicle that barely has 8k miles. When I talked to Kyle Lampe,
                Assistant Service Manager at Brandon
24
               Honda, he stated Honda Corp. knows about the electric problems and they are unwilling to
25              address it because of cost. Below are the dates of service repairs with included invoice
                numbers: 8/21/19 Service #514010 11/13/19 Service #531130 1/22/20 Service#544284
26              8/16/20 Service #578092 11/19/20 Service #594896.”).
27             · NHTSA ID No. 11482350 (dated September 1, 2022) (“software error causing
                intermittent disruptions in communication between the PCM. Car suddenly wouldn’t
28              start on multiple occasions have had vehicle checked many times not battery, not
                                                       63
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                 alternator, not starter it was deemed on 9/1 it’s the PCM board failing to properly
1                communicate[.]”).
2
             ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth
3
      of the complaints allegedly filed with NHTSA referenced in this paragraph and therefore denies the
4
      allegations. The contents of the complaints filed with NHTSA speak for themselves, and to the extent
5
      the allegations in this paragraph vary therewith, AHM denies the allegations. AHM denies the
6
      remaining allegations in this paragraph, including the existence of the alleged defect.
7
            E.      Honda Knew that the Class Vehicles Suffered from the Defect Prior to Its Sale of
8                   the Class Vehicles
9            159. Defendant, based on the facts alleged herein and on information and belief, had full

10    knowledge of the existence of the Defect and the risk it posed to Class Vehicle owners and lessees.

11    This knowledge is based upon, among other facts: (a) Honda’s pre-sale durability testing and part

12    sales; (b) records of customer complaints provided to Honda; (c) NHTSA complaints; (d) dealership

13    repair records; (e) consumer complaints posted on the internet; (f) warranty and post-warranty claims;

14    and (g) Honda’s post-sale defect investigations.

15           ANSWER: AHM denies the allegations in this paragraph, including the existence of the

16    alleged defect.

17                  1.      Honda Conducts Extensive Pre-Sale Testing of the Class Vehicles, Putting
                            Honda on Notice of the Defect
18

19           160. Honda is experienced in the design and manufacture of consumer vehicles. As an
20    experienced manufacturer, Honda conducts tests, including pre-sale durability testing, on incoming

21    components, including for parasitic draws, to verify the parts are free from defects and align with its

22    specifications.

23           ANSWER: AHM responds only as to itself and denies the allegations in this paragraph.

24           161. Honda emphasizes its Global Honda Quality Standard (“G-HQS”), which it claims

25    “continuously enhances quality at every stage, encompassing design, development, production, sales

26    and after-sales service in order to realize products offering a new level of outstanding quality.”50

27   50
        Honda Sustainability Report 2018 at       69.
28   https://global.honda/content/dam/site/global/about/cq_img/sustainability/report/pdf/2018/Honda-SR-
     2018-en-065-078.pdf_(2018).
                                                      64
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1     Honda adds: “This initiative aims to achieve the highest quality through the creation of drawings

2     designed to facilitate manufacturing, as well as develop manufacturing control techniques that limit

3     process variability, by applying and reflecting design and development expertise at the production

4     preparation and production (mass-production) stages.”51

5             ANSWER: AHM admits that Honda has established and uses a Global Honda Quality

6     Standard (“G-HQS”). AHM further admits that Plaintiffs purport to quote a website. The contents of

7     the website speak for themselves, and to the extent the allegations in this paragraph vary therewith,

8     AHM denies the allegations. AHM denies the remaining allegations in this paragraph.

9             162. As part of this initiative, Honda “Assur[es] Long-Term Reliability through Rigorous

10    Durability Testing”:52

11           Honda subjects new and redesigned models to a rigorous regimen of long-distance
             durability testing before beginning mass production to verify that there are no quality
12           issues.
13
             Honda also disassembles vehicles used in the test drives into every single part and
14           verifies that there are no quality issues through a process consisting of several thousand
             checks. By accumulating data on the issues discovered through these test drives and
15           detailed inspections as well as associated countermeasures, the Company is able to
             ensure a high level of quality and reliability.53
16

17            ANSWER: AHM admits that Plaintiffs purport to quote a website. The contents of the

18    website speak for themselves, and to the extent the allegations in this paragraph vary therewith, AHM

19    denies the allegations. AHM denies the remaining allegations in this paragraph.

20            163. “Honda’s production departments establish manufacturing control items and criteria

21    for each part, process and operation to prevent product quality issues[,]” conducts extensive on-site

22    audits of its suppliers for quality assurance, and “then works to improve part quality through activities

23    that emphasize communication with suppliers, for example, by sharing audit results and cooperating

24    to identify opportunities for quality improvement.”54

25

26
     51
27      Id. at 69.
     52
        Id. at 71.
     53
28      Id. at 71.
     54
       Id. at 70-71.
                                                        65
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1               ANSWER: AHM admits that Plaintiffs purport to quote a website. The contents of the

2     website speak for themselves, and to the extent the allegations in this paragraph vary therewith, AHM

3     denies the allegations. AHM denies the remaining allegations in this paragraph.

4               164. In addition to the “quality assurance system” put in place by the G-HQS related to the

5     production and manufacturing of the Class Vehicles, Honda has in place procedures to investigate

6     “issues after sales”; namely, through its dealerships.55 Honda has an interconnected network of

7     customer service departments worldwide which it relies upon to monitor quality control issues.

8               ANSWER: AHM admits that it receives market information from the field through

9     authorized Honda dealers and that it has a customer service department. AHM further admits that

10    Plaintiffs purport to quote a website. The contents of the website speak for themselves, and to the

11    extent the allegations in this paragraph vary therewith, AHM denies the allegations. AHM denies the

12    remaining allegations in this paragraph.

13              165. Honda’s California headquarters also maintains a Technical Information & Support

14    Group (“TIS”), formerly known as Technical Research & Support Group (“TRS”), responsible for,

15    inter alia, identifying and investigating potential defects in Honda vehicles.

16              ANSWER: AHM admits that it has a Technical Information & Support Group that has, and

17    formerly a Technical Research & Support Group that had, responsibilities related to, among other

18    things, gathering information in connection with investigations of potential issues with Honda

19    vehicles. AHM denies the remaining allegations in this paragraph.
20                         2.   Consumer Complaints Also Put Honda on Notice of the Defect

21              166. Honda also regularly monitors NHTSA databases for consumer complaints as part of

22    its ongoing obligation pursuant to the TREAD Act, 49 U.S.C. §30118, to identify potential defects in

23    its vehicles. As shown above, numerous complaints filed by Class Vehicle owners with NHTSA

24    establish that Honda knew, or should have known, of the Defect at least as early as March 2017

25    (NHTSA ID No. 11005067), based on publicly available information.

26              ANSWER: AHM admits that Plaintiffs reference the TREAD Act, 49 U.S.C. § 30118. The

27    contents of the Act speak for themselves, and to the extent the allegations in this paragraph vary

28   55
          Id. at 67, 69.
                                                        66
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1     therewith, AHM denies the allegations. AHM denies it regular monitors customer complaints made

2     to NHTSA in the regular course of business. AHM further denies the remaining allegations in this

3     paragraph, including the existence of the alleged defect.

4            167. Indeed, given Honda’s history of skirting its monitoring obligations under the TREAD

5     Act and subsequent fine, Honda was likely acutely aware of (or should have been) each NHTSA

6     customer complaint regarding the Parasitic Drain Defect. Specifically, in 2015, Honda was fined $70

7     million (the highest penalty allowed by Congress) by NHTSA “for failing to report deaths, injuries,

8     and certain warranty claims to the federal government in violation of the TREAD Act” from 2003

9     through 2014. As part of the Consent Order “Honda also agreed to increased NHTSA oversight and

10    third party audits to ensure that all required reporting is completed[.]”56

11           ANSWER: AHM admits that NHTSA fined it $70 million in 2015 for alleged violations

12    that have nothing to do with Plaintiffs’ claims in this action. AHM further admits that Plaintiffs

13    purport to quote a website. The contents of the website speak for themselves, and to the extent the

14    allegations in this paragraph vary therewith, AHM denies the allegations. AHM denies the remaining

15    allegations in this paragraph, including the existence of the alleged defect.

16           168. In addition to NHTSA complaints, customer complaints of the Parasitic Drain Defect

17    in Class Vehicles—namely, that their vehicles’ batteries were depleted overnight—can be found on

18    various consumer websites and message boards.

19           ANSWER: AHM denies the existence of the alleged defect. AHM lacks knowledge or
20    information sufficient to form a belief about the truth of the remaining allegations in this paragraph

21    and therefore denies the allegations.

22           169. for example, on March 9, 2017, a Class member started a thread on a message board

23    devoted to Honda CR-Vs, CRVOwnersClub.com, titled: “2017 cry battery going dead overnight.”

24          I own a 2017 CRV EXL-Nav it is 2 months old with 800 miles on it. Twice the battery
            went totally dead while sitting in my garage. First at about 500 miles and again at 800
25
            miles. I put it on a charger and drove it to the dealer and both times they could find no
26

27   56
        Press Release, NHTSA, U.S. Department of Transportation Fines Honda $70 million for Failing to
28   Comply        with     Laws    That    Safeguard      the      Public    (Jan.     8,     2015),
     https://one.nhtsa.gov/About+NHTSA/Press+Releases/2015/DOT-fines-Honda-$70-million.
                                                   67
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            problem. The car was in the garage and doors locked there were no lights or anything
1           else left on.
2
             ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth
3
      of the complaint allegedly posted on a website referenced in this paragraph and therefore denies the
4
      allegations. The contents of the website speak for themselves, and to the extent the allegations in this
5
      paragraph vary therewith, AHM denies the allegations. AHM denies the remaining allegations in this
6
      paragraph, including that the issues discussed in this post were due to the alleged defect.
7
             170. That same day some responded: “There have been several posts about battery problems
8
      on 2017’s. Starting it every day is nuts. Horrible advice.”57 On March 13, 2017, a consumer suggested
9
      that the dead battery may be due to “a parasitic draw on the system.” On March 28, 2017, someone
10
      else commented “I had this exact problem. It seems like Honda is now acknowledging a parasitic
11
      draw to their service reps.”
12
             ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth
13
      of the complaints, responses, and comments allegedly posted on a website referenced in this
14
      paragraph and therefore denies the allegations. The contents of the website speak for themselves, and
15
      to the extent the allegations in this paragraph vary therewith, AHM denies the allegations. AHM
16
      denies the remaining allegations in this paragraph, including the existence of the alleged defect.
17
             171. On July 17, 2018, the owner of a 2017 CR-V noted that he found an excessive parasitic
18
      drain in his vehicle that caused multiple no- start conditions:58
19
20          2017 CR-V Touring AWD problems AFTER the TSB update I’ve been watching
            the forum with interest and I was excited to find the TSB update after my 2017 Touring
21          was dead after sitting for a week in the airport parking lot. I had it jumped and went to
            the dealer where they of course told me that “nothing is wrong.”
22
            It happened again and then I insisted on the TSB update and the car has been fine for
23          months, but I hadn’t let it sit during that time!
24
            So, two weeks ago, we let it sit while we were away and when I got home, it was dead
25          again! Jumped it and took it to the dealer and they found “nothing wrong.” So when I
            got it home, I decided to hook it up to my amp meter myself, and there is a 0.7 amp
26

27   57
         ‘ CR-V OWNERS CLUB (Mar. 9, 2017), https://www.crvownersclub.comithreads/2017-crv-
28   battery-going-dead-overnight.135193/.
     58
        Id. at 14, comment #268.
                                           68
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            parasitic draw when the car is off and the fob is in the house. That means it will be dead
1           again in a week or so.
2
            So, this time, I’m not going to jump the car and have Honda tow it in for me for yet
3           another attempt. I’ll bring along my amp meter and show them the clear evidence.
            Maybe in the meantime I’ll see if I can figure out which circuit has the draw on it.
4
            This is quite frustrating and I’m amazed how many posters have the same experience
5           I have had.
6
             ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth
7
     of the complaint allegedly posted on a website referenced in this paragraph and therefore denies the
8
     allegations. The contents of the website speak for themselves, and to the extent the allegations in this
9
     paragraph vary therewith, AHM denies the allegations. AHM denies the remaining allegations in this
10
     paragraph, including the existence of the alleged defect.
11
             172. On February 2, 2019, a class member replied that they “had the [sic] exactly the same
12
     battery issues as reported here, classic parasitic draw!”59
13
             ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth
14
     of the reply allegedly posted on a website referenced in this paragraph and therefore denies the
15
     allegations. The contents of the website speak for themselves, and to the extent the allegations in this
16
     paragraph vary therewith, AHM denies the allegations. AHM denies the remaining allegations in this
17
     paragraph, including the existence of the alleged defect.
18
             173. On January 22, 2019, the owner of a 2019 CR-V stated, “Dead Battery. Called Honda
19
     Roadside Assist and they said `I left the lights on.’ I didn’t think I had, but hey, I’m human and it
20
     could have happened.”60 Six days later, the same owner provided an update: “Again dead battery after
21
     not driving the car for a couple of days. This time, towed to dealership. They couldn’t find any
22
     problem. Basically, I had to wait for the problem again.”61
23
             ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth
24
     of the complaints allegedly posted on a website referenced in this paragraph and therefore denies the
25

26   59
        Id. at 17, comment #323.
     60
27       CARCOMPLAINTS.COM, “2019 Honda CR-V Dead Battery,” at p. 2, comment #2;
     https://m.carcomplaints.com/Honda/CR-V/2019/electrical/dead_battery-2. shtml (last accessed Sept.
28   21, 2021).
     61
        Id. at p. 2, #3.
                                                 69
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1    allegations. The contents of the website speak for themselves, and to the extent the allegations in this

2    paragraph vary therewith, AHM denies the allegations. AHM denies the remaining allegations in this

3    paragraph, including the existence of the alleged defect.

4            174. On March 11, 2019, another owner of a 2019 Honda CR-V bemoaned the need for

5    three replacement batteries in a new vehicle:

6            Battery was dead on two occasions within the first 800 miles of ownership. Dealer
             replaced the battery under warranty and about 5 weeks later the same problem is back.
7
             Battery discharges after sitting unused for two days. Will be calling the dealer for an
8            appointment once the battery is charged and I can start the SUV.

9            Three dead batteries within the first 2 2/2 months of ownership. Have purchased a new
             battery charger and now carry a LI-ION battery starter in the vehicle. So much for
10           Honda reliability; never again.62
11
             ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth
12
     of the complaint allegedly posted on a website referenced in this paragraph and therefore denies the
13
     allegations. The contents of the website speak for themselves, and to the extent the allegations in this
14
     paragraph vary therewith, AHM denies the allegations. AHM denies the remaining allegations in this
15
     paragraph, including the existence of the alleged defect.
16
             175. Another owner recounted the extreme difficulties he encountered after purchasing a
17
     new 2019 Honda CR-V on February 14, 2019, as well as the health and safety risk it posed to him.63
18
     The owner complained that the Parasitic Drain Defect resulted in the depletion of his battery which
19
     “caused [him] to miss an out of town Dr.’s appointment.”64 Over the course of the next two weeks,
20
     the owner experienced multiple incidents of failed batteries and brought his vehicle to a Honda
21
     dealership. Despite the dealership purporting to fix the issue, the vehicle was no more reliable. The
22
     owner lamented that he was unable to rely on his new vehicle to drive to other medical appointments
23
     and was forced to borrow other vehicles to get to his scheduled medical tests.65
24
             ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth
25
     of the complaints allegedly posted on a website referenced in this paragraph and therefore denies the
26
     62
27      Id., at p. 2, #5.
     63
        Id., at p. 1, #6; https://m.carcomplaints.com/Honda/CR-V/2019/electrical/dead_battery.shtml
     64
28      Id.
     65
       Id.
                                                       70
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1     allegations. The contents of the website speak for themselves, and to the extent the allegations in this

2     paragraph vary therewith, AHM denies the allegations. AHM denies the remaining allegations in this

3     paragraph, including the existence of the alleged defect.

4            176. Similar complaints of the Defect were posted on CARCOMPLAINTS.COM for other

5     Class Vehicles. On October 1, 2018, a 2018 Honda CR-V owner complained of having to replace the

6     battery in his vehicle six times since purchasing the car in April of the same year. The owner noted

7     that “[t]he mechanics at [his] local Honda dealership say they know it is a problem; however, there

8     is nothing they can do about it except keep replacing our battery.”66

9            ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth

10    of the complaints allegedly posted on a website referenced in this paragraph and therefore denies the

11    allegations. The contents of the website speak for themselves, and to the extent the allegations in this

12    paragraph vary therewith, AHM denies the allegations. AHM denies the remaining allegations in this

13    paragraph, including the existence of the alleged defect.

14           177. A separate forum on CARCOMPLAINTS.COM has several other complaints related

15    to the Defect in Class Vehicles:

16              “My 2019 Honda CRV `s battery continues to go dead. Only had the car
                 2weeks. Purchased the car Feb 5th, 2019,problem started Feb 20 and then again
17               on the 28th of Feb. Dealer said it is a software problem that when car sits
                 overnight the car automatically does a diagnostic and drain the battery. No fix
18               yet and dealer does no know when there will be a fix. Dealer said they are
                 working on a software update. In the meantime dealer said I need to keep the
19               gas tank full and drive he [sic] car 20 minutes everyday. REALLY!!!! Dealer
                 want me to use a trickle charger everyday to keep battery charged. I contacted
20               American Honda and received a case number. I paid 30,000 for this car and am
                 afraid to dive it. I am still waiting for Honda to fix this problem.” In an update
21               from March 21, 2019, the driver continued: “Just received a call from my car
                 dealer they have a software update. Bringing my car in tomorrow the 22nd. for
22               the computer update on my car. This is supposed to be the fix for the battery
                 constantly going dead. I will keep you posted.” An additional update posted on
23               Mar 28, 2019 states “Had software update on March 22. Not sure I it has worked
                 yet. I am lettting [sic] it sit for at least 5 to six days to see if it starts . My concern
24               is that other owners of the 2019 CRV had the software update and found that
                 while driving on the highway their car lost power. In am also on CarGuru site
25               where there are multiple owners with the same problem. I will keep you
                 updated.”
26

27
     66
28       CARCOMPLAINTS.COM, at comment #1 https://www.carcomplaints.com/Honda/CR-
     V/2018/electrical/battery_drain.shtml (last accessed Sept. 21, 2021).
                                                       71
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1           ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth

2    of the complaints allegedly posted on a website referenced in this paragraph and therefore denies the

3    allegations. The contents of the website speak for themselves, and to the extent the allegations in this

4    paragraph vary therewith, AHM denies the allegations. AHM denies the remaining allegations in this

5    paragraph, including the existence of the alleged defect.

6           178. Another popular forum for complaints regarding cars, CARGURUS.COM, contains a

7    post in which the driver asks “after sitting in my garage for 2 days why is the battery dead in my

8    Honda 2019 cry?” The post has 280 responses, many of which are made by drivers complaining of

9    similar issues related to the Defect found in Class Vehicles:

10             “My battery went dead after two days on Tuesday ...went to dealer , I am the 4th one
                reporting the problem...dealer told me that engineers are working on the problem[.]”
11
               “have the same problem with my cry 2019I have it 3 weeks and two times went completely
12              dead. Dealer replaced battery the first time , the second time that said it’s something with
                the software. They said software needs updating should have the problem fixed in two
13              months. I want them to take the care back. I am not paying for something I can’t drive
                unless I jump it.”
14
               “My dealer would not give me a new battery unless I paid him $165 for one. I had 127
15              miles on it, they charged it up and said the battery was ok and the next morning it was dead,
                so I bought a jump starter, hope they get something going on it soon be cause a new $35K
16              cry should start. This is my 3rd Honda cry and the LAST.”
17             “This is my problem too, bought it January 7 and in a few days it will be two months. Still
                not fixed. It has been dead 8 times to date. It goes dead in 3 days or less in the garage,
18              nothing is left turned on. It has been to the dealer for several days a couple times, and sent
                back cause “nothing was found wrong with it”. Finally they got the battery to go dead for
19              them and put in a larger battery. That worked well for a few days and now it also goes
                dead. So we have to drive it every day to put some charge back in. I also bought a Jumpit
20              pack which is helpful. But why should I have to do all this? Mine is a 2019 Honda CRV -
                EX. Honda I am asking politely “Will you fix my car very soon or replace it without
21              charging me $3000” as I was told it would take to get into another car? I already paid cash
                for this one so better treatment to this guest would be a big plus.”
22
               “I’m having the same issue with my battery drainage!!! I’m so upset! It will be 30 days
23              tomorrow since I’ve had the car! I’m not sure if I should return it or what???”
24             “Same thing happened to me about 2 weeks after I bought mine. Jumped it and made an
                appointment with the dealership because odd things were happening after that such as heat
25              not working well, etc. They determined the battery was low and also told me the same thing
                someone else here said-it’s a problem with one of the systems running a scan. A software
26              fix should be out in a month - in the meantime, after turning the car off turn it on again
                immediately and then back off. That should prevent the scan from running. That was 4
27              days ago and so far it has started but I’m in agreement that we shouldn’t be having to do
                this for a brand new Honda product.”
28
                                                       72
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1           ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth

2    of the complaints, responses, and comments allegedly posted on a website referenced in this

3    paragraph and therefore denies the allegations. The contents of the website speak for themselves, and

4    to the extent the allegations in this paragraph vary therewith, AHM denies the allegations. AHM

5    denies the remaining allegations in this paragraph, including the existence of the alleged defect.

6           179. A separate forum on CARGURUS.COM also has numerous forums dedicated to issues

7    relating to the Parasitic Drain Defect contained in Class Vehicles with several posts from drivers

8    complaining that Honda has inspected their vehicles but failed to provide a remedy:

9              “Bought a 2019 new CRV honda in Jan 2019, from Burns Honda Marlton NJ twice I’ve
                had battery replaced despite the new software update. Battery replaced May 27 and July
10              10, 2019. They said it was a dead cell. Was told the first time it would be okay and now
                they are saying that the same. I don’t think that they care. The problem still persists. It
11              should be some legal action taken ie class action suit or lemon law. Replacing battery and
                software update did not help. Winter is not here yet[.]”
12
               “My 2019 cry battery has died twice, even after the recall update. It cannot sit more than
13              3 days. They suggested I get a Jump Start kit or make arrangements for someone to come
                and start it when I’m out of town really!! UNACCEPTABLE. It is new and I’m not
14              standing for this. I will get a lawyer or whatever I have to do, up to includiing [sic] a new
                car! ! !! Right now I hate this vehicle and would not recommend a Honda to anyone.”
15
               “My 2019 CRV was not started for 1 week due to the corona virus issue. When I tried to
16              start it, 3/26/2020, the battery was dead, measured 5 volts. The 19-039 software update
                meant to solve this problem had been installed the previous September. I contacted Honda
17              support via email. Their brilliant suggestion was to wait until it happens again and have the
                car towed to the dealer for diagnosis of the problem. The same thing happened to my
18              brother who also owns a 2019 CRV. He DID have his towed to the dealer, they could find
                no cause. There is obviously a discharge problem that 19-039 did not solve and Honda
19              will not admit to it. I now keep my CRV on a battery charger if I do not expect to drive it
                for more than two days. Sort of disappointing to have to do this with a car a little over 1
20              year old that I paid almost 30k for.”
21          ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth

22   of the complaints, responses, and comments allegedly posted on a website referenced in this

23   paragraph and therefore denies the allegations. The contents of the website speak for themselves, and

24   to the extent the allegations in this paragraph vary therewith, AHM denies the allegations. AHM

25   denies the remaining allegations in this paragraph, including the existence of the alleged defect.

26

27

28
                                                       73
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1             180. On July 11, 2017, one consumer posted on the CRVOwnersClub.com message board

2     about “battery issues” and how Honda installs “smaller batteries.” 67 That same day, another

3     consumer noted that the parasitic drain is the issue, not the battery size in of itself: “The battery issues

4     have nothing to do with the size of the battery. No matter how big a battery you put in, if you leave

5     the car sit long enough with a draw on the battery it will go dead without the software update.”68

6             ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth

7     of the complaints, responses, and comments allegedly posted on a website referenced in this

8     paragraph and therefore denies the allegations. The contents of the website speak for themselves, and

9     to the extent the allegations in this paragraph vary therewith, AHM denies the allegations. AHM

10    denies the remaining allegations in this paragraph, including the existence of the alleged defect.

11            181. Other complaints posted online of the Parasitic Drain Defect causing dead batteries in

12    Class Vehicles reference Honda’s acknowledgment and attempts to rectify the Defect through various

13    components within the F-CAN.

14            ANSWER: AHM denies the allegations in this paragraph, including the existence of the

15    alleged defect.

16            182. For instance, on October 31, 2021, the owner of a 2018 CR-V stated that they woke up

17    to their vehicle “dead in the water.”69 On November 2, 2021, someone responded that “[s]everal

18    people with the same issue including a CRV and an Odyssey. Sounds like the fix is to replace the

19    BCM.” Notably, someone responded and recounted a story similar to what Smart Honda admitted to
20    Plaintiff Jones:

21           The general theme of that thread is 1) head scrathing by the dealer (which clearly
             indicates it is not a widespread problem) and 2) indicates that the dealer had to call in
22
             Honda Customer Support Engineering to isolate the cause, and they eventually
23           settled on the BCM as the cause. That is exactly what the dealer should do.

24

25   67
         CR-VOwNERsCLuB, p. 1, comment #2; https://www.crvownersclub.com/threads/battery-
26   upgrade.149010/#post-1071602
     68
        Id.
     69
27         “(2022) CR-V BCM Issues [Merged Master Thread], discussion starter #1;
     https://www.crvownersclub.com/threads/2022-cr-v-bcm-issues-merged-master-thread.222835/         in
28   Honda Customer Support Engineering to isolate the cause, and they eventually settled on the BCM as
     the cause. That is exactly what the dealer should do.
                                                       74
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1            ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth

2     of the complaints, responses, and comments allegedly posted on a website referenced in this

3     paragraph and therefore denies the allegations. The contents of the website speak for themselves, and

4     to the extent the allegations in this paragraph vary therewith, AHM denies the allegations. AHM

5     denies the remaining allegations in this paragraph, including the existence of the alleged defect.

6            183. Years prior, on October 20, 2019, the owner of a 2019 CR-V reported on

7     CARCOMPLAINTS.COM that their vehicle’s battery died after four months of ownership.70 The

8     owner then towed the vehicle to a dealership, which replaced his battery. But because a battery

9     replacement does not address the F-CAN’s failure to enter sleep mode, the F-CAN continued to

10    parasitically draw excessive amounts of power from the battery. As a result, the owner experienced

11    the same problem six months after installing the new battery. The owner again towed the vehicle to

12    the Honda dealership. This time, Honda did not install a new battery. Rather Honda did a “hard reset”

13    of the PCM, a key ECU within the F-CAN.

14           ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth

15    of the complaints, responses, and comments allegedly posted on a website referenced in this

16    paragraph and therefore denies the allegations. The contents of the website speak for themselves, and

17    to the extent the allegations in this paragraph vary therewith, AHM denies the allegations. AHM

18    denies the remaining allegations in this paragraph, including the existence of the alleged defect.

19           184. On information and belief, Honda reviews and provides feedback to consumer
20    complaints on these message boards.71 It is also routine for retailers such as Honda to have a customer

21    relations division that receives and responds to customer calls concerning, inter alia, product defects.

22    Plaintiffs allege that these sources also put Honda on notice of the Defect and its danger.

23

24

25
     70
26      2019 Honda CR-V Dead Battery: (carcomplaints.com), https://www.carcomplaints.com/Honda/CR-
     V/2019/electrical/dead_battery.shtml.
     71
27      See CR-V OWNERS CLUB. “2017 cry battery going dead overnight,” at comment 10 , (May 15,
     2017 post by “Honda Automobile Customer Service[,] American Honda Motor Co., Inc.” in response
28   to a customer complaint concerning the Defect), https://www.crvownersclub.com/threads/2017-crv-
     battery-going-dead-overnight.135193/ (last accessed Sept. 21, 2021).
                                                     75
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1            ANSWER: AHM admits that it has a customer service department that receives and

2     responds to customer calls. AHM denies the remaining allegations in this paragraph, including the

3     existence of the alleged defect.

4            185. And, as detailed herein, several of the posts in this forum reference reporting the issues

5     directly to Honda’s customer service division, providing Honda with direct knowledge of the Defect

6     and the hazards associated with the Defect.

7            ANSWER: AHM denies the allegations in this paragraph, including the existence of the

8     alleged defect.

9                   3.      Honda has Acknowledged to Its Dealerships that the F-CAN ECUs
                            Within the Class Vehicles Cause Excessive Parasitic Draining
10

11           186. Honda’s first acknowledgement of the Parasitic Drain Defect in a Class Vehicle F-

12    CAN came on March 10, 2017, when Honda issued a “Tech Line Summary Article,” wherein it

13    discloses that the F-CAN may fail to enter sleep mode under certain conditions.72 Specifically, Honda

14    informed its dealerships that it had conducted an “investigation” into 2017 CR-Vs being brought in

15    for weak or dead batteries, yet the vehicles and batteries “check out OK[.]” Honda stated that it “found

16    that a software bug in the VSA system may be keeping it awake when the ignition is turned to OFF.

17    This can cause a 350 mA parasitic draw that may result in a weak or dead battery.” Honda noted that

18    it “found that this issue appears to happen only when a certain shut down procedure is done, and it’s

19    rare when it does.” Although it acknowledged the issue, Honda did not have a “fix” and instead
20    warned that “this parasitic draw can be avoided by setting the electric parking brake before turning

21    the ignition to OFF.”73

22           ANSWER: AHM admits that it issued the Tech Line Summary Article referenced in this

23    paragraph in March 2017. The contents of the Tech Line Summary Article speak for themselves, and

24    to the extent the allegations in this paragraph vary therewith, AHM denies the allegations. AHM

25    denies the remaining allegations in this paragraph, including the existence of the alleged defect.

26

27   72
         NHTSA ID No. 10108281, Manufacturer Communication No. ATS 170301 (Mar. 2017),
28   https://static.nhtsa.gov/odi/tsbs/2017/MC-10108281-9340.pdf.
     73
        Id.
                                                     76
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1            187. Honda issued Service Bulletin 17-032 (titled: Parasitic battery draw from VSA

2     modulator (Vehicle will not start)) on June 14, 2017, in which it warned dealerships that 2017 CR-

3     Vs “may have an intermittent 350mA current draw after the vehicle is shut off[d] in which case “[t]he

4     vehicle does not start due to a low battery.” Honda stated that the “possible causes” for the failure of

5     the F-CAN ECUs to shut down was the vehicle’s VSA modulator-control unit: “The VSA software

6     logic may not allow the VSA modulator-control unit to shut down correctly and go into sleep mode

7     after the vehicle is shut off. This can happen if the electronic parking brake (EPB) is applied within

8     3 to 4 seconds of the vehicle being shut off or if the EPB switch is held for a 3 to 4 second duration

9     when the vehicle is off” Honda’s proposed “corrective action” was to “[u]pdate the VSA modulator-

10    control unit, do the VSA sensor neutral position memorization (ALL SENSOR), set the tire pressures

11    to the driver’s door jamb label cold inflation values, and do the TPMS calibration procedure.”74

12           ANSWER: AHM admits that it issued the Service Bulletin referenced in this paragraph on

13    June 14, 2017. The contents of the Service Bulletin speak for themselves, and to the extent the

14    allegations in this paragraph vary therewith, AHM denies the allegations. AHM denies the remaining

15    allegations in this paragraph.

16           188. Honda next identified the F-CAN ECUs as a source of parasitic draining on March 29,

17    2019, when it issued Service Bulletin 19-039 for 2019 CR-V vehicles, concerning the PCM failing

18    to enter sleep mode. Specifically, Honda warned that “[a]fter the vehicle is parked for an extended

19    period, the PCM begins an evaporative system leak check after meeting certain criteria. Under certain
20    conditions, it may not return to sleep mode, causing the battery to discharge.”75 Honda stated that a

21    “symptom” of the F-CAN’s PCM not entering sleep mode was that “[t]he vehicle fails to start after

22    being parked for an extended period.” In order to address this issue, Honda proposed “[u]pdat[ing]

23    the PCM with the latest [Programmed Fuel Injection] PGM-FI software.”76

24

25   74
        Honda Service Bulletin, 17-032, NHTSA          ID     No.    10108868   (June   14, 2017),
26   https://static.nhtsa.gov/odi/tsbs/2017/MC-10108868-9999.pdf.
     75
        Honda Service Bulleting, 19-039, NHTSA ID No. 10156620, Manufacturer Communication No.
27   A19-039 (Mar. 29, 2019), https://static.nhtsa.gov/odi/tsbs/2019/MC-10156620-0001.pdf.
     76
          Id. According to Honda, “the heart of PGM-FI is a computer called the PCM.”
28   https://www.hondainfocenter.com/Shared-Technologies/Engines/Programmed-Fuel-Injection-PGM-
     FI/.
                                                      77
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1            ANSWER: AHM admits that it issued the Service Bulletin referenced in this paragraph on

2     March 29, 2019. The contents of the Service Bulletin speak for themselves, and to the extent the

3     allegations in this paragraph vary therewith, AHM denies the allegations. AHM denies the remaining

4     allegations in this paragraph.

5            189. Also on March 29, 2019, a Honda “Manager of Auto Campaigns and Recalls” issued a

6     communication to dealers and “All Honda Sales, Service, & Parts Managers, and Personnel[,]”

7     concerning Service Bulletin 19-039. In the communication, Brad Ortloff, Honda’s Manager of Auto

8     Campaigns and Recalls, stated that there was “a concern [with 2019 CR-V vehicles] related to a

9     possible low battery state of charge and/or no start after the vehicle has been parked.” Honda stated

10    that the issue was related to “[t]he FI-ECU[, which] checks for EVAP leaks 5 hours after vehicle

11    shutdown. Due to a programming error, this system may not go back into sleep mode afterwards. As

12    a result, the battery may drain if this condition exists for an extended period of time.” To “repair” this

13    error, Honda told its agents to “[u]pdate the FI-ECU with improved software[,] [t]est the battery using

14    your GR8 Diagnostic tester[, and] [d]epending on the test result, battery replacement may be

15    necessary.”77 On information and belief, the FI-ECU is synonymous with PCM.

16           ANSWER: AHM admits that it issued the dealer communication referenced in this

17    paragraph on March 29, 2019. The contents of the dealer communication speak for themselves, and

18    to the extent the allegations in this paragraph vary therewith, AHM denies the allegations. AHM

19    denies the remaining allegations in this paragraph.
20           190. On August 30, 2019, Honda issued an Owner Notification Letter for 2019 CR-Vs,

21    warning: “After the vehicle is parked for an extended period, the powertrain control module (PCM)

22    begins an evaporative system leak check after meeting certain criteria. Under certain conditions, the

23    PCM will not return to sleep mode, and may ultimately result in a dead battery. This is not an

24    indication of a leak in the evaporative system.”78

25

26
     77
27      NHTSA ID No. 10156621, Manufacturer Communication No. ABOM03292019 (Mar. 29, 2019),
     https://static.nhtsa.gov/odi/tsbs/2019/MC-10156621-0001.pdf.
     78
28      NHTSA ID No. 10164478, Manufacturer Communication No. ONLO4G08302019 (Aug. 2019),
     https://static.nhtsa.gov/odi/tsbs/2019/MC-10164478-0002.pdf.
                                                     78
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1            ANSWER: AHM admits that it issued the owner notification letter referenced in this

2     paragraph in August 2019. The contents of the letter speak for themselves, and to the extent the

3     allegations in this paragraph vary therewith, AHM denies the allegations. AHM denies the remaining

4     allegations in this paragraph.

5            191. On December 17, 2019, Honda issued an update for Service Bulletin 19-039 which

6     expanded the number of 2019 CR-Vs subject to the bulletin.79

7            ANSWER: AHM admits that it issued the Service Bulletin referenced in this paragraph on

8     December 17, 2019. The contents of the Service Bulletin speak for themselves, and to the extent the

9     allegations in this paragraph vary therewith, AHM denies the allegations. AHM denies the remaining

10    allegations in this paragraph.

11           192. Notably, Honda is aware that the software updates provided in the Service Bulletins

12    are equally defective as the original software and fail to correct the Parasitic Drain Defect found in

13    the Class Vehicles—in other words, the ECUs within the F-CAN system continue to fail to enter

14    sleep mode even after the software updates were implemented. Drivers, including Plaintiff Jones,

15    continued to report incidents of parasitic draining. For example, on June 9, 2018, the owner of a 2017

16    CR-V reported on CRVOwNERsCLuB.coM that his battery “kept going dead” so his local dealer

17    “applies the TSB for the Vehicle Stability problem,” but the “battery still went dead.”80 Similar

18    reports were filed with NHTSA.81

19           ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth
20    of the alleged reports referenced in this paragraph and therefore denies the allegations. The contents

21    of those alleged reports posted to the referenced website or filed with NHTSA speak for themselves,

22    and to the extent the allegations in this paragraph vary therewith, AHM denies the allegations. AHM

23    denies the remaining allegations in this paragraph, including the existence of the alleged defect.

24   79
         NHTSA ID No. 10169977, Manufacturer Communication No. A19-039 (Dec. 17, 2019)„
25   https://static.nhtsa.gov/odi/tsbs/2019/MC-10169977-0001.pdf.
     80
        CVROwnersClub, “Battery Upgrade,”                   at              comment                 #5,
26   https://www.crvownersclub.com/threads/battery-upgrade.149010/#post-1463874.
     81
         See, e.g., NHTSA ID Nos. 11187354, 11089119, 11191314, 11089119. http s ://www.
27   aboutautomobile.       c    om/Consumer-C     omplaint/2017/Honda/CR-V/Electrical-System      that
     “[e]verything did pass during our second,” however “[t]he engineer mentioned an issue of some CR-
28   V 2017-2019 having a problem with the BCM (body control module) staying on after the vehicle was
     shut down.”
                                                     79
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1           193. In addition to its admissions in the Service Bulletins that the F-CAN’s PCM and VSA

2    modulator-control units cause the system to stay awake, on information, Honda has identified another

3    component within the F-CAN, the BCM, as causing and/or contributing to the Parasitic Drain Defect,

4    which leads to so many dead batteries in the Class Vehicle.

5           ANSWER: AHM denies the allegations in this paragraph, including the existence of the

6    alleged defect.

7           194. On February 24, 2021, a representative from Smart Honda emailed Plaintiff Jones

8    concerning his repeated no-start condition experiences and the purported work done by the dealership

9    to remedy the Defect. Therein, the Smart Honda representative stated that on “February 2nd we had

10   to contact Honda technical line. Our technician worked with a on the phone engineer testing numerous

11   items involving the electrical system.” The Smart Honda representative noted that “[e]verything did

12   pass during our second,” however “[t]he engineer mentioned an issue of some CR-V 2017-2019

13   having a problem with the BCM (body control module) staying on after the vehicle was shut down.”

14          ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth

15   of the remaining allegations in this paragraph and therefore denies the allegations, including the

16   existence of the alleged defect.

17                 4.      Honda Has Been Aware of and Investigating Parasitic Draining
                           Complaints in Class Vehicles Since 2017
18

19          195. The existence of the Defect and Honda’s knowledge thereof is also revealed through
20   its investigations and communications sent to Honda dealerships relating to complaints by its

21   customers that they were unable to start their Class Vehicles—the most obvious symptom of a CAN

22   failing to enter sleep mode and causing excessive parasitic draining.

23          ANSWER: AHM denies the allegations in this paragraph, including the existence of the

24   alleged defect.

25          196. On February 22, 2017, Honda filed an “Engineering Request for Investigation”

26   (“Engineering Request”) with NHTSA. In the Engineering Request, Honda stated that it “is

27   investigating certain 2016-2017 Accord V6s with a customer complaint of a no-start condition that

28   requires the 12V battery to be replaced. To fully understand the cause of this condition, [Honda]
                                                      80
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1     would like to collect specific parts from the vehicle prior to you attempting a repair of any kind.”82

2     Instructions were provided to have dealers contact Honda’s TRS Group for further information.

3            ANSWER: AHM admits that it issued the Engineering Request for Investigation referenced

4     in this paragraph. The contents of the document speak for themselves, and to the extent the allegations

5     in this paragraph vary therewith, AHM denies the allegations.

6            197. Given that the Engineering Request was only issued after a significant number of

7     complaints were received that related to “a no-start condition that requires the 12V battery to be

8     replaced,” Honda was aware of the Defect and its symptoms well before February 2017.

9            ANSWER: AHM denies the allegations in this paragraph, including the existence of the

10    alleged defect.

11           198. On February 23, 2017, Honda issued a “Dealer Message” with similar information.83

12    Neither document identified the basis for Honda’s decision to collect the vehicle batteries other than

13    an unidentified number of customer complaints. Honda did not notify Class Vehicle owners in its

14    February 23, 2017 Dealer Message of its investigation concerning this “no-start condition.” In fact,

15    Honda specifically warned its personnel that “[the] message is solely directed to Honda dealership

16    personnel; please handle accordingly.”

17           ANSWER: AHM admits that it issued the dealer message referenced in this paragraph on

18    February 23, 2017. The contents of the dealer message speak for themselves, and to the extent the

19    allegations in this paragraph vary therewith, AHM denies the allegations. AHM denies the remaining
20    allegations in this paragraph, including the existence of the alleged defect.

21           199. Over the course of the next three months (on dates including March 6, 16, and 27, 2017

22    and June 30, 2017), Honda issued additional “Dealer Message[s]” concerning “customer complaint[s]

23    of a no-start condition that requires the 12V battery to be replaced” in 2016-2017 Accords.84 Each

24   82
          NHTSA ID No. 10108050, Manufacturer Communication No. AER17020B,
25   https://static.nhtsa.gov/odi/tsbs/2017/MC-10108050-9340.pdf (last accessed Sept. 21, 2021).
     83
        NHTSA ID No. 10108052, Manufacturer Communication No. APAS02232017901 (Feb. 23, 2017),
26   https://static.nhtsa.gov/odi/tsbs/2017/MC-10108052-9340.pdf.
     84
        NHTSA ID No. 10108266, Manufacturer Communication Number: APAS03062017901 (Mar. 6,
27   2017), https://static.nhtsa.gov/odi/tsbs/2017/MC-10108266-9340.pdf. NHTSA ID No. 10108293,
     Manufacturer        Communication       No.    APAS031     62017901        (Mar.      16,   2017),
28   https://static.nhtsa.gov/odi/tsbs/2017/MC-10108293-9340.pdf; NHTSA ID No. 10108331,
     Manufacturer         Communication        No.    APAS03272017901         (Mar.       27,    2017),
                                                     81
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1    message contained a similar admonition that the contents of the message was “solely directed to

2    Honda dealership personnel; please handle accordingly.”

3           ANSWER: AHM admits that it issued the dealer messages referenced in this paragraph on

4    March 6, 16, 22, and 27, 2017. The contents of the dealer messages speak for themselves, and to the

5    extent the allegations in this paragraph vary therewith, AHM denies the allegations. AHM denies the

6    remaining allegations in this paragraph, including the existence of the alleged defect.

7           200. On October 24, 2018, Honda announced that it had launched a battery collection

8    program for 2017-2018 CR-Vs. Honda’s “Service Engineering” group sent a message to “Honda

9    Dealers” instructing the dealers to ship the batteries to Honda and to contact Honda’s TRS Group for

10   more information if the dealership “replaced an OEM battery on a qualified vehicle.”85

11          ANSWER: AHM admits that it issued the dealer message referenced in this paragraph on

12   October 24, 2018. The contents of the dealer message speak for themselves, and to the extent the

13   allegations in this paragraph vary therewith, AHM denies the allegations. AHM denies the remaining

14   allegations in this paragraph, including the existence of the alleged defect.

15          201. Honda issued a communication to Honda Service Managers on April 16, 2019, that

16   “[Honda] has been collecting batteries from [2018-2019 Accords and 2017-2018 CR-Vs] under

17   certain conditions. If you have replaced an OEM battery on a qualified vehicle, please follow the

18   procedure below. Service Managers were instructed to ship the batteries to Honda and to contact

19   Honda’s TRS Group for more information if the dealership “replaced an OEM battery on a qualified
20   vehicle.”86

21          ANSWER: AHM admits that it issued the dealer message referenced in this paragraph on

22   April 16, 2019. The contents of the dealer message speak for themselves, and to the extent the

23   allegations in this paragraph vary therewith, AHM denies the allegations. AHM denies the remaining

24   allegations in this paragraph, including the existence of the alleged defect.

25
     https://static.nhtsa.gov/odi/tsbs/2017/MC-10108331-9340.pdf; NHTSA ID No. 10108299,
26   Manufacturer          Communication       No.    APAS03222017901  (Mar.    22,      2017),
     https://static.nhtsa.gov/odi/tsbs/2017/MC-10108299-9340.pdf.
     85
27      NHTSA ID No. 10147183, Manufacturer Communication No. APaS 10242018901 (Oct, 24, 2018),
     https ://static. nhtsa.gov/odi/tsbs/2018/MC-10147183-9999.pdf
     86
28      NHTSA ID No. 10159033, Manufacturer Communication No. APaS04162019903 (Apr. 16, 2019),
     https://static.nhtsa.gov/odi/tsbs/2019/MC-10159033-0001.pdf.
                                                      82
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1                  5.      Honda Monitors Repairs and Services Under Warranty

2           202. On information and belief, Honda’s customer relations department, which interacts

3    with authorized service technicians in order to identify potentially widespread vehicle problems and

4    assist in the diagnosis of vehicle issues, has received numerous reports of the Parasitic Drain Defect

5    and premature wear on Class Vehicle batteries. Customer relations also collects and analyzes field

6    data, including, but not limited to, repair requests made at dealerships and service centers, technical

7    reports prepared by engineers that have reviewed vehicles for which warranty coverage is requested,

8    parts sales reports, and warranty claims data.

9           ANSWER: AHM denies the allegations in this paragraph, including the existence of the

10   alleged defect.

11          203. Honda’s warranty department similarly reviews and analyzes warranty data submitted

12   by its dealerships and authorized technicians in order to identify defect trends in its vehicles.

13          ANSWER: AHM admits that its warranty department collects warranty data submitted by

14   authorized dealers. AHM denies the remaining allegations in this paragraph.

15          204. Honda dictates that when a repair is made under warranty (or warranty coverage is

16   requested), service centers must provide Defendant with detailed documentation of the problem and

17   the fix that describes the complaint, cause, and correction, and also save the broken part in case Honda

18   later determines to audit the dealership or otherwise verify the warranty repair.

19          ANSWER: AHM admits that it requests that authorized service centers provide it with
20   information concerning repairs made under warranty, including a description of the issue, any

21   identified cause, and the repair. AHM denies the remaining allegations in this paragraph.

22          205. For their part, service centers are meticulous about providing this detailed information

23   about in-warranty repairs to Honda because Honda will not pay the service centers for the repair if

24   the complaint, cause, and correction are not sufficiently described.

25          ANSWER: AHM admits that there are circumstances under which it may not pay a dealer

26   for services performed. AHM denies the remaining allegations in this paragraph.

27          206. Honda knew or should have known about the Defect and risk of premature battery wear

28   because of the high number of replacement parts and batteries it is reasonable to infer were ordered
                                                       83
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1     from Honda. All of Honda’s service centers are required to order replacement parts, including

2     batteries directly from Honda. Other independent vehicle repair shops that service Class Vehicles

3     also order replacement parts directly from Honda.

4            ANSWER: AHM admits that independent vehicle repair shops may order replacement parts

5     directly from Honda. AHM denies the remaining allegations in this paragraph, including the existence

6     of the alleged defect.

7            207. Honda routinely monitors part sales reports and are responsible for shipping parts

8     requested by dealerships and technicians. Thus, Honda has detailed, accurate, and real-time data

9     regarding the number and frequency of replacement part orders. The increase in orders of batteries

10    and other auto-parts necessary to fix damage caused by the Parasitic Drain Defect the Class Vehicles

11    was known to Defendant and should have alerted it to the scope and severity of the Defect.

12           ANSWER: AHM admits that it ships replacement parts requested by dealers. It further

13    admits that it generally has information about replacement part orders that it fulfills. AHM denies the

14    remaining allegations in this paragraph, including the existence of the alleged defect.

15           208. Furthermore, the existence of the Defect within the Class Vehicles’ F-CAN can hardly

16    come as a surprise to Honda given it has stated that the CAN “is a major contributor” to parasitic

17    draining issues.87

18           ANSWER: AHM admits that Plaintiffs purport to quote from a Service News Article. The

19    contents of the article speak for themselves, and to the extent the allegations in this paragraph vary
20    therewith, AHM denies the allegations. AHM denies the remaining allegations in this paragraph,

21    including the existence of the alleged defect.

22                  6.         Complaints Made Directly to Honda’s Customer Service Division

23           209. In addition to the numerous complaints submitted to NHTSA and posted on various

24    consumer and car forums, Honda also learned of the Parasitic Drain Defect directly from complaints

25    received by Honda’s customer relations division.

26

27   87
       HONDA, SERVICENEWS ARTICLE, “Excessive Parasitic Draw? Check If the B-CAN System Is
28   Awake”      (July       2008), https://fDl.justanswer.com/clmcr8/93f5f360-831e-426e-af57-
     958994d562ad_parasiticdraw.pdf
                                              84
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1           ANSWER: AHM denies the allegations in this paragraph, including the existence of the

2    alleged defect.

3           210. As part of its G-HQS, Honda had procedures in place to deal with “quality issues after

4    sales” in which dealerships “collect quality information from customers in a timely manner.”

5           ANSWER: AHM admits that Plaintiffs purport to quote from some unidentified document.

6    The contents of that unidentified document speak for themselves, and to the extent the allegations in

7    this paragraph vary therewith, AHM denies the allegations. AHM denies any remaining allegations

8    in this paragraph.

9           211. Honda utilizes a customer relations center which “receives feedback in the form of

10   customer questions, suggestions, requests and complaints 365 days a year.” And to “ensure that this

11   valuable information is put to good use in Honda’s operations, the facility shares it in a timely manner

12   with the company’s R&D, manufacturing, service and sales departments.”

13          ANSWER: AHM admits that Plaintiffs purport to quote from some unidentified document.

14   The contents of that unidentified document speak for themselves, and to the extent the allegations in

15   this paragraph vary therewith, AHM denies the allegations. AHM denies any remaining allegations

16   in this paragraph.

17          212. “Honda has established a Quality Center to bring together the various components of

18   our organization concerned with product market quality information to enhance the functions of

19   `preventing quality issues’ and `quickly detecting and resolving quality issues when they occur’ on a
20   global scale.”

21          ANSWER: AHM admits that Plaintiffs purport to quote from some unidentified document.

22   The contents of that unidentified document speak for themselves, and to the extent the allegations in

23   this paragraph vary therewith, AHM denies the allegations. AHM denies any remaining allegations

24   in this paragraph.

25          213. Honda also maintains a TRS Group at its California headquarters which is responsible

26   for, among other things, identifying and investigating potential defects in Honda vehicles.

27          ANSWER: AHM admits that it had a Technical Research & Support Group. AHM denies

28   the remaining allegations in this paragraph.
                                                       85
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1           214. Upon information and belief, Honda’s customer relations division received numerous

2    reports of the Parasitic Drain Defect and the premature failure of Class Vehicle batteries.

3           ANSWER: AHM denies the allegations in this paragraph, including the existence of the

4    alleged defect.

5           215. In fact, drivers referenced reports made directly to Honda’s customer service division

6    in posts made on many online forums in which they were discussing the Defect in Class Vehicles,

7    providing Honda with direct knowledge of the Defect and the hazards associated with the Defect:

8              “Everyone having this battery drainage problem please call Honda and report it at 1-809-
                999-1008 x155. This is to Consumer Services, I believe. They took all of the dates the story
9               etc. They gave me a case number and the report will go to Case Management. I was told
                they would call me in 1¬2 days. I was on the phone with them for about an hour. I have no
10              idea what they will do for me, if anything, but they need to know how widespread this
                problem is. Don’t count on the dealership to report it. My car has been towed 5 times all
11              through Honda Roadside assistance but only 2 of the 5 dates had a service report filed from
                the dealership. Write down the dates your car was dead and what the outcome was. Like
12              was it towed to dealership, what did they say, was it jumped and you drove it. All of it.
                Write it out on paper or keep a running document on your computer or on your phone
13              calendar. You will need all of this in case you decide to pursue something through the
                lemon law in your state. I refuse to be stuck with this car! It’s been a very very productive
14              morning.”
15             “I also called HONDA CUSTOMER SERVICE AND ASK THEM TO FIND OUT WHY
                THE BATTERY WOULD DIE AFTER SITTIG IN MY GARAGE FOE 2 DAYS AND
16              SHE SAID THEY WERE AWARE OF THE DEAD BATTERY PROBLEM, BUT HAD
                NO ANSWER FOR IT. SHE SAID TO TALK TO THE DEALER AND I TOLD HER I
17              did 3 times and they had no answer for it, I got a case Number. Big Deal.”
18             “We purchased our CRV on 2/21. On the morning of 3/3 it would not start due to a dead
                battery. I jump started it and let it run to charge the battery back up. On the morning of 3/4
19              it would not start again. Jumped it and drove to the dealership. They tested the battery and
                said it was OK. They stated this was a known design problem due to the evaporative
20              emissions system trying to test the gas tank overnight. They said to keep the gas tank more
                than 3/4 filled and it would be OK. This means filling the tank every night. Filled the tank.
21              On the morning of 3/5, no start again. We brought it to the dealership and got a loaner Civic
                to drive for the rest of the month. The evap test should not run with more than 3/4 tank of
22              gas. The evap test should not run when the ambient temperature is below freezing.
                Overnight temperatures currently are in the single digits and teens. It should not be running
23              this test. There is no current fix for this condition. We have about 600 miles on our new
                car that we cannot use. I have called Honda and started a case, we will see what happens
24              next. If you have a car with this problem, call Honda, let them know about it and get a case
                number. Keep a log of all events involving your car and the people/companies you
25              contact.”
26
            ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth
27
     of the complaints, responses, and comments allegedly posted on websites referenced in this paragraph
28
                                                       86
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1    and therefore denies the allegations. The contents of the websites speak for themselves, and to the

2    extent the allegations in this paragraph vary therewith, AHM denies the allegations. AHM denies the

3    remaining allegations in this paragraph, including the existence of the alleged defect.

4           F.      Honda Breached the Express Warranties Covering the Class Vehicles

5            216. The Class Vehicles sold and leased by Honda included a written express warranty,

6    which provides: “All new Honda vehicles are covered by a 3-Year/36,000-Mile New Vehicle Limited

7    Warranty [.]”88

8            ANSWER: AHM admits that new vehicles within the alleged Class Vehicles were sold or

9    leased with a written warranty. The contents of the written warranties speak for themselves, and to

10   the extent the allegations in this paragraph vary therewith, AHM denies the allegations.

11           217. Under the terms of the New Vehicle Limited Warranty, Honda is required to “repair or

12   replace any part that is defective in material or workmanship under normal use.”89

13           ANSWER: AHM admits that it issued the New Vehicle Limited Warranty referenced in

14   this paragraph. The contents of the written warranty speak for themselves, and to the extent the

15   allegations in this paragraph vary therewith, AHM denies the allegations.

16           218. Each Class Vehicle’s original battery is included in the New Vehicle Limited

17   Warranty.”90

18           ANSWER: AHM admits that it issued the New Vehicle Limited Warranty referenced in

19   this paragraph. The contents of the written warranty speak for themselves, and to the extent the
20   allegations in this paragraph vary therewith, AHM denies the allegations.

21           219. The New Vehicle Limited Warranty period begins once “[t]he vehicle is delivered to

22   the first purchaser by a Honda automobile dealer” or “[t]he vehicle is leased.”91

23           ANSWER: AHM admits that it issued the New Vehicle Limited Warranty referenced in

24   this paragraph. The contents of the written warranty speak for themselves, and to the extent the

25   allegations in this paragraph vary therewith, AHM denies the allegations.

26   88
        Honda, https://automobiles.honda.com/cr-v/warranty (last accessed Sept, 21, 2021)
     89
27         Honda, https://owners.honda.com/documentum/Warranty/Handbooks/AWL47382.pdf              (last
     accessed Sept. 21, 2021), at. 10.
     90
28      Id., at 6.
     91
        Id., at 9.
                                                 87
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1                220. Honda also includes a 100-month Replacement Battery Limited Warranty for batteries

2     purchased from a Honda automobile dealer.92 Under the Replacement Battery Limited Warranty,

3     defective replacement batteries are to be replaced at no cost for the battery, labor, or installation

4     during the first 36 months of service. For the remaining 64 months, the warranty provides for a

5     sliding-scale credit towards the purchase of a replacement battery.

6                ANSWER: AHM admits that it issued the Replacement Battery Limited Warranty

7     referenced in this paragraph. The contents of the written warranty speak for themselves, and to the

8     extent the allegations in this paragraph vary therewith, AHM denies the allegations.

9                221. Buyers and lessees have no pre-sale/lease knowledge or ability to bargain as to the

10    terms of the warranties.

11               ANSWER: AHM denies the allegations in this paragraph.

12               222. Honda breached these warranties by, inter alia, failing to repair or remedy the Parasitic

13    Drain Defect in the Class Vehicles. Class members complained to authorized Honda dealerships and

14    technicians about the Parasitic Drain Defect, but did not receive an adequate repair, breaching the

15    express and implied warranties provided by Honda.

16               ANSWER: AHM denies the allegations in this paragraph, including the existence of the

17    alleged defect.

18   VI.       FRAUDULENT OMISSION/CONCEALMENT ALLEGATIONS
19               223. Absent discovery, Plaintiffs were unaware of, and unable through reasonable
20    investigation to obtain, the true names and identities of those individuals at Honda responsible for

21    making false and misleading statements regarding the Class Vehicles. Honda necessarily is in

22    possession of all of this information. Plaintiffs’ claims arise out of Defendant’s fraudulent

23    omission/concealment of the Defect, despite their representations about the quality, reliability, and

24    safety of the Class Vehicles.

25               ANSWER: AHM denies the allegations in this paragraph, including the existence of the

26    alleged defect and any alleged fraudulent conduct by AHM.

27

28   92
          Id., at 33.
                                                          88
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1              224. Plaintiffs allege that, at all relevant times, including specifically at the time they and

2    Class members purchased their Class Vehicles, Honda knew, or was reckless in not knowing, of the

3    Defect; Defendant had a duty to disclose the Defect based upon its superior and exclusive knowledge;

4    and Defendant never disclosed the Defect to Plaintiffs or the public at any time or place in any manner

5    other than inadequate Service Bulletins relating to the Class Vehicles.

6              ANSWER: AHM denies the allegations in this paragraph, including the existence of the

7    alleged defect and any alleged fraudulent conduct by AHM.

8              225. Honda actively concealed and omitted the Defect from Plaintiffs and Class members

9    while simultaneously touting the safety and dependability of the Class Vehicles, as alleged herein.

10   Plaintiffs were unaware of, and therefore unable to identify, the true names and identities of those

11   specific individuals at Honda responsible for such decisions.

12             ANSWER: AHM denies the allegations in this paragraph, including the existence of the

13   alleged defect and any alleged fraudulent conduct by AHM.

14             226. Honda knew, or was reckless or negligent in not knowing, that the Class Vehicles

15   contain the Defect, as alleged herein. Defendant concealed and omitted the Defect while making

16   representations about the safety, dependability, and other attributes of the Class Vehicles, as alleged

17   herein.

18             ANSWER: AHM denies the allegations in this paragraph, including the existence of the

19   alleged defect and any alleged fraudulent conduct by AHM.
20             227. Honda concealed and omitted material information regarding the Defect at all times

21   while making representations about the safety and dependability of the Class Vehicles on an ongoing

22   basis, and continuing to this day, as alleged herein. Honda still has not disclosed the truth about the

23   full scope of the Defect in the Class Vehicles. Honda has never taken any action to inform consumers

24   about the true nature of the Defect in Class Vehicles. And when consumers brought their vehicles to

25   Honda complaining of the Defect, Honda denied any knowledge of, or an adequate repair for, the

26   Defect

27             ANSWER: AHM denies the allegations in this paragraph, including the existence of the

28   alleged defect and any alleged fraudulent conduct by AHM.
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1           228. Honda concealed and omitted material information regarding the true nature of the

2    Defect in every communication it had with Plaintiffs and Class members and made representations

3    about the quality, reliability, and safety of the Class Vehicles. Plaintiffs are not aware of any

4    document, communication, or other place or thing in which Defendant disclosed the truth about the

5    full scope of the Defect in the Class Vehicles. Such information is not adequately disclosed in any

6    sales documents, displays, advertisements, warranties, owner’s manuals, or on Honda’s website.

7    There are channels through which Honda could have disclosed the Defect, including, but not limited

8    to: (a) point of sale communications; (b) the owner’s manual; and/or c) direct communication to Class

9    members through means such as state vehicle registry lists and e-mail notifications.

10          ANSWER: AHM denies the allegations in this paragraph, including the existence of the

11   alleged defect and any alleged fraudulent conduct by AHM.

12          229. Honda concealed and omitted the Defect from Plaintiffs and Class members and made

13   representations about the quality, safety, dependability, and comfort of the Class Vehicles. Honda

14   actively concealed and omitted the truth about the existence, scope, and nature of the Defect from

15   Plaintiffs and Class members at all times, even though it knew about the Defect and knew that

16   information about the Defect would be important to a reasonable consumer, and Honda promised in

17   its marketing materials that Class Vehicles have qualities that they do not have.

18          ANSWER: AHM denies the allegations in this paragraph, including the existence of the

19   alleged defect and any alleged fraudulent conduct by AHM.
20          230. Honda actively concealed and omitted material information about the Defect in the

21   Class Vehicles for the purpose of inducing Plaintiffs and Class members to purchase and/or lease

22   Class Vehicles, rather than purchasing or leasing competitors’ vehicles, and made representations

23   about the quality, safety, durability, and comfort of the Class Vehicles. Had Honda disclosed the

24   truth, for example in its advertisements or other materials or communications, Plaintiffs and Class

25   members (all reasonable consumers) would have been aware of it, and would not have bought or

26   leased the Class Vehicles or would not have paid as much for them.

27          ANSWER: AHM denies the allegations in this paragraph, including the existence of the

28   alleged defect and any alleged fraudulent conduct by AHM.
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     VII.   TOLLING OF STATUTES OF LIMITATIONS
1
            231. Any applicable statute(s) of limitations have been tolled by Defendant’s knowing and
2
     active concealment and denial of the facts alleged herein. Plaintiffs and the members of the Class
3
     could not have reasonably discovered the true, latent nature of the Defect until shortly before this
4
     class action litigation was commenced. Plaintiffs’ claims were thus tolled pursuant to the discovery
5
     rule and for fraudulent concealment.
6
            ANSWER: AHM denies the allegations in this paragraph, including the existence of the
7
     alleged defect and any alleged fraudulent conduct by AHM.
8
            A.     Discovery Rule
9
            232. As shown by Plaintiffs’ experiences alleged above, Class members had no way of
10
     knowing about the Parasitic Drain Defect in their Class Vehicles. Defendant concealed its knowledge
11
     of the Defect (as evidenced by the Service Bulletins, detailed above) while continuing to market and
12
     sell the Class Vehicles as safe, high-quality, and reliable vehicles.
13
            ANSWER: AHM denies the allegations in this paragraph, including the existence of the
14
     alleged defect and any alleged fraudulent conduct by AHM.
15
            233. Within any applicable statutes of limitation, Class members could not have discovered
16
     through the exercise of reasonable diligence that Honda was concealing the conduct complained of
17
     herein and misrepresenting the true qualities of the Class Vehicles. As detailed above, Class members
18
     acted reasonably and diligently in attempting to find the source of their electrical and battery-related
19
     vehicle issues.
20
            ANSWER: AHM denies the allegations in this paragraph, including the existence of the
21
     alleged defect and any alleged fraudulent conduct by AHM.
22
            234. Class members did not know facts that would have caused a reasonable person to
23
     suspect that there was a Parasitic Drain Defect affecting their F-CAN and draining their vehicle’s
24
     battery. An ordinary person would be unable to appreciate that the vehicle was defective.
25
            ANSWER: AHM denies the allegations in this paragraph, including the existence of the
26
     alleged defect.
27

28
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1           235. For these reasons, all applicable statutes of limitation have been tolled by operation of

2    the discovery rule with respect to the claims in this litigation.

3           ANSWER: AHM denies the allegations in this paragraph.

4           B.     Fraudulent Concealment

5           236. Defendant was under a continuous duty to disclose to Class members the existence of

6    the Parasitic Drain Defect found in the Class Vehicles’s F-CAN.

7           ANSWER: AHM denies the allegations in this paragraph, including the existence of the

8    alleged defect.

9           237. Defendant recklessly disregarded the true nature, quality, and character of the Class

10   Vehicles by failing to disclose the existence of the Parasitic Drain Defect in the Class Vehicles’ F-

11   CAN.

12          ANSWER: AHM denies the allegations in this paragraph, including the existence of the

13   alleged defect and any alleged fraudulent conduct by AHM.

14          238. The statute of limitations on any counts alleged in this action are tolled during the

15   relevant period alleged herein due to Defendant’s concealment of the adverse facts concerning the

16   Parasitic Drain Defect.

17          ANSWER: AHM denies the allegations in this paragraph, including the existence of the

18   alleged defect and any alleged fraudulent conduct by AHM.

19          239. Defendant actively concealed from Class members the truth about the battery failures
20   and related electrical issues as described herein.

21          ANSWER: AHM denies the allegations in this paragraph, including the existence of the

22   alleged defect and any alleged fraudulent conduct by AHM.

23          240. As shown by Plaintiffs’ experiences alleged above, Class members were not at fault for

24   failing to discover the relationship between the Parasitic Drain Defect in the Class Vehicles’ F-CAN

25   and their electrical and battery-related vehicle issues. Plaintiffs had no actual or presumptive

26   knowledge of facts sufficient to put them on inquiry notice of such a relationship. This ignorance of

27   the true cause of the electrical and battery-related vehicle issues is common across Plaintiffs and each

28   Class member
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1           ANSWER: AHM denies the allegations in this paragraph, including the existence of the

2    alleged defect.

3    VIII. CLASS ALLEGATIONS
4            241. Plaintiffs bring this action pursuant to Rules 23(a), 23(b)(2), and 23(b)(3) of the

5    FEDERAL RULES OF CIVIL PROCEDURE on behalf of themselves and all others similarly

6    situated.

7           ANSWER: AHM admits that Plaintiffs purport to bring this action pursuant to Federal Rule

8    of Civil Procedure 23, but denies that their claims are amenable to class treatment.

9            242. Plaintiffs seek to represent a class (“Nationwide Class”) defined as:

10          All persons in the United States and its territories who are current or former owners
            and/or lessees of a Honda CR-V (model years 2017-2019) or Honda Accord (model
11
            years 2016-2019).
12
            ANSWER: AHM admits that Plaintiffs seek to represent a nationwide class, but denies that
13
     their claims are amenable to class treatment.
14
             243. In addition, and in the alternative to the above, Plaintiff Raynaldo seeks to represent a
15
     class (“California Class”) defined as:
16

17          All persons in the State of California who are current or former owners and/or lessees
            of a Honda CR-V (model years 2017-2019) or Honda Accord (model years 2016-2019).
18

19          ANSWER: AHM admits that Raynaldo seeks to represent a California class, but denies that

20   his claims are amenable to class treatment.

21           244. In addition, and in the alternative to the above, Plaintiffs Pazanki, Tessinari, Ferreira,

22   and Woods seek to represent a class (“Florida Class”) defined as:

23          All persons in the State of Florida who are current or former owners and/or lessees of
            a Honda CR-V (model years 2017-2019) or Honda Accord (model years 2016-2019).
24

25          ANSWER: AHM admits that Pazanki, Tessinari, Ferreira, and Woods seek to represent a
26   Florida class, but denies that their claims are amenable to class treatment.
27           245. In addition, and in the alternative to the above, Plaintiff Rapp seeks to represent a class
28   (“Arizona Class”) defined as:
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           All persons in the State of Arizona who are current or former owners and/or lessees of
1          a Honda CR-V (model years 2017-2019) or Honda Accord (model years 2016-2019).
2
            ANSWER: AHM admits that Rapp seeks to represent an Arizona class, but denies that his
3
     claims are amenable to class treatment.
4
            246. In addition, and in the alternative to the above, Plaintiff Rapp seeks to represent a class
5
     (“Nevada Class”) defined as:
6

7          All persons in the State of Nevada who are current or former owners and/or lessees of
           a Honda CR-V (model years 2017-2019) or Honda Accord (model years 2016-2019).
8

9           ANSWER: AHM admits that Rapp seeks to represent a Nevada class, but denies that his

10   claims are amenable to class treatment.

11          247. In addition, and in the alternative to the above, Plaintiff Jones seeks to represent a class

12   (“Iowa Class”) defined as:

13         All persons in the State of Iowa who are current or former owners and/or lessees of a
           Honda CR-V (model years 2017-2019) or Honda Accord (model years 2016-2019).
14

15          ANSWER: AHM admits that Jones seeks to represent an Iowa class, but denies that his

16   claims are amenable to class treatment.

17          248. In addition, and in the alternative to the above, Plaintiff Lizzul seeks to represent a class

18   (“New York Class”) defined as:

19         All persons in the State of New York who are current or former owners and/or lessees
           of a Honda CR-V (model years 2017-2019) or Honda Accord (model years 2016-2019).
20

21          ANSWER: AHM admits that Lizzul seeks to represent a New York class, but denies that
22   his claims are amenable to class treatment.
23          249. In addition, and in the alternative to the above, Plaintiff Casey seeks to represent a class
24   (“Massachusetts Class”) defined as:
25
           All persons in the State of Massachusetts who are current or former owners and/or
26         lessees of a Honda CR/V (model years 2017-2019) or Honda Accord (model years
           2016-2019).
27

28
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1           ANSWER: AHM admits that Casey seeks to represent a Massachusetts class, but denies

2    that his claims are amenable to class treatment.

3           250. In addition, and in the alternative to the above, Plaintiff Sanger seeks to represent a

4    class (“Michigan Class”) defined as:

5          All persons in the State of Michigan who are current or former owners and/or lessees
           of a Honda CR/V (model years 2017-2019) or Honda Accord (model years 2016-2019).
6

7           ANSWER: AHM admits that Sanger seeks to represent a Michigan class, but denies that
8    his claims are amenable to class treatment.
9           251. Excluded from the Nationwide Class, the California Class, the Florida Class, the
10   Arizona Class, the Nevada Class, the Iowa Class, the New York Class, the Massachusetts Class, and
11   the Michigan Class (collectively, “Classes”) are Honda, its affiliates, employees, officers, and
12   directors, persons or entities that purchased the Class Vehicles for resale, and the Judge(s) assigned
13   to this action. Plaintiffs reserve the right to modify, change, or expand the Class definitions based on
14   discovery and further investigation.
15          ANSWER: AHM admits that Plaintiffs seek to exclude certain categories of persons from
16   the alleged classes, but denies that Plaintiffs claims are amenable to class treatment.
17          252. Numerosity: The Classes are so numerous that joinder of all members is impracticable.
18   While the exact number and identities of individual members of the Classes are unknown at this time,
19   such information being in the sole possession of Defendant, Plaintiffs believe, and on that basis allege,
20   that approximately two million Class Vehicles have been sold and/or leased in the United States.
21          ANSWER: AHM admits that AHM sold over two million of the alleged Class Vehicles.
22   AHM denies the remaining allegations in this paragraph, including that Plaintiffs’ claims are
23   amenable to class treatment.
24          253. Existence and Predominance of Common Questions of Law and Fact: Common
25   questions of law and fact exist as to all members of the Classes. These questions predominate over
26   the questions affecting individual Class members. These common legal and factual questions include,
27   but are not limited to:
28         (a)     whether the Class Vehicles were sold with the Defect;
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1          (b)     whether Defendant engaged in the conduct alleged herein;

2          (c)     whether Defendant advertised, marketed, distributed, leased, sold, or otherwise placed

3                  the Class Vehicles into the stream of commerce in the United States;

4          (d)     whether Defendant knew of the Parasitic Drain Defect but failed to disclose the

5                  problem and its consequences to its customers;

6          (e)     whether a reasonable consumer would consider the Parasitic Drain Defect or its

7                  consequences to be material;

8          (f)     when Defendant discovered the Parasitic Drain Defect in the Class Vehicles, and what,

9                  if anything, it did in response;

10         (g)     whether Defendant should be required to fully disclose the existence of the Parasitic

11                 Drain Defect;

12         (h)     whether Defendant breached its express and/or implied warranties with respect to the

13                 Class Vehicles;

14         (i)     whether Defendant’s conduct violates the California Consumers Legal Remedies Act

15                 (“CLRA”), CAL. CIV. CODE §§1750, et seq.; California’s Unfair Competition Law

16                 (“UCL”), CAL. BUS. & PROF. CODE §17200; California’s False Advertising Law,

17                 CAL. Bus. & PROF. CODE §§17500, et seq. and the other statutes asserted herein;

18         (j)     whether Plaintiffs and Class members overpaid for their Class Vehicles;

19         (k)     whether Defendant was unjustly enriched; and
20         (1)     whether Plaintiffs and Class members experienced out-of-pocket losses as a result of

21                 the Defect, and if so, how much.

22          ANSWER: AHM denies the allegations in this paragraph, including the existence of the

23   alleged defect and that Plaintiffs’ claims are amenable to class treatment.

24          254. Typicality: Plaintiffs’ claims are typical of the claims of the Classes because Plaintiffs

25   purchased Class Vehicles with the same Defect as did each member of the Classes. Furthermore,

26   Plaintiffs and all members of the Classes sustained monetary and economic injuries, including, but

27   not limited to, ascertainable losses arising out of Defendant’s wrongful conduct. Plaintiffs are

28   advancing the same claims and legal theories on behalf of themselves and all absent Class members.
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1           ANSWER: AHM denies the allegations in this paragraph, including the existence of the

2    alleged defect and that Plaintiffs’ claims are amenable to class treatment.

3           255. Adequacy: Plaintiffs are adequate representatives because their interests do not conflict

4    with the interests of the Classes that they seek to represent, they have retained counsel competent and

5    highly experienced in complex class action litigation, and they intend to prosecute this action

6    vigorously. The interests of the Classes will be fairly and adequately protected by Plaintiffs and their

7    counsel.

8           ANSWER: AHM denies the allegations in this paragraph, including that Plaintiffs’ claims

9    are amenable to class treatment.

10          256. Superiority: A class action is superior to all other available means of fair and efficient

11   adjudication of the claims of Plaintiffs and members of the Classes. The injury suffered by each

12   individual Class member is relatively small in comparison to the burden and expense of individual

13   prosecution of the complex and extensive litigation necessitated by Defendant’s conduct. It would be

14   virtually impossible for members of the Classes individually to redress effectively the wrongs done

15   to them. Even if the members of the Classes could afford such individual litigation, the court system

16   could not. Individualized litigation presents a potential for inconsistent or contradictory judgments.

17   Individualized litigation increases the delay and expense to all parties, and to the Court system,

18   presented by the complex legal and factual issues of the case. By contrast, the class action device

19   presents far fewer management difficulties, and provides the benefits of single adjudication, an
20   economy of scale, and comprehensive supervision by a single court. Upon information and belief,

21   members of the Classes can be readily identified and notified based on, inter alia, Defendant’s vehicle

22   identification numbers, warranty claims, registration records, and database of complaints.

23          ANSWER: AHM denies the allegations in this paragraph, including that Plaintiffs’ claims

24   are amenable to class treatment.

25          257. Declaratory and Injunctive Relief: Defendant has acted or refused to act on grounds

26   generally applicable to Plaintiffs and the other members of the Classes, thereby making appropriate

27   final injunctive relief and declaratory relief, as described below, with respect to the members of the

28   Classes as a whole.
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1             ANSWER: AHM denies the allegations in this paragraph, including that Plaintiffs’ claims

2    are amenable to class treatment and that they or any putative member of the alleged classes is entitled

3    to any relief.

4             258. Defendant has acted, and refused to act, on grounds generally applicable to the Classes,

5    thereby making appropriate final equitable relief with respect to the Classes as a whole.

6             ANSWER: AHM denies the allegations in this paragraph, including that Plaintiffs’ claims

7    are amenable to class treatment and that they or any putative member of the alleged classes is entitled

8    to any relief.

9    IX.     CAUSES OF ACTION
10                                        COUNT ONE:
              VIOLATION OF THE CALIFORNIA CONSUMER LEGAL REMEDIES ACT
11                               (Cal. Civ. Code §§ 1750, et seq.)
                             (On Behalf of the Nationwide Class or,
12                       Alternatively, on Behalf of the California Class)
13            259. Plaintiffs reallege and incorporate by reference all preceding allegations as though fully

14   set forth herein.

15            ANSWER: AHM reasserts and incorporates by reference its answers to all preceding

16   allegations as though fully set forth herein.

17            260. Plaintiffs bring this claim individually and on behalf of the other members of the

18   Nationwide Class.

19            ANSWER: AHM admits that Plaintiffs purport to bring this claim individually and on
20   behalf of other putative members of an alleged class, but denies that the claim is amenable to class

21   treatment. AHM denies the remaining allegations in this paragraph.

22            261. Plaintiffs allege, on information and belief that: (a) the decisions of Honda concerning

23   the advertising, marketing, and warranty policies and procedures emanate from Honda’s headquarters

24   in Torrance, California; (b) Honda’s decisions on how to present Class Vehicles in advertising in the

25   United States emanate from its headquarters in Torrance, California; (c) decisions as to recalls,

26   services bulletins, and whether to make warranty repairs all emanate from Honda’s headquarters in

27   Torrance, California; and (d) the relevant personnel from Honda work in Honda’s headquarters in

28   Torrance, California or coordinate and make decisions concerning the above through facilities and
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1    other personnel in Torrance, California. For these reasons, Plaintiffs and the Class’ claims emanate

2    from Honda’s actions in California and it is appropriate for Honda to be held to comply with

3    California law on a nationwide basis.

4           ANSWER: AHM admits that Plaintiffs purport to believe (a)-(d) to be true. AHM further

5    admits that it has some involvement in advertising, marketing, warranty policies and procedures, and

6    decisions to implement recalls, service bulletins, and warranty repairs, but denies Plaintiffs’

7    characterization of AHM’s involvement. The last sentence of this paragraph does not contain factual

8    allegations requiring a response. To the extent a response is required, AHM denies the allegations in

9    that sentence, including that the claim is amenable to class treatment. AHM denies the remaining

10   allegations in this paragraph.

11          262. Defendant is a “person” as that term is defined in CAL. CIV. CODE §1761(c).

12          ANSWER: This paragraph does not contain factual allegations requiring a response. To the

13   extent a response is required, Cal. Civ. Code § 1761(c) speaks for itself and AHM denies the

14   remaining allegations in this paragraph.

15          263. Plaintiffs and the Class members are “consumers” as that term is defined in CAL. CIV.

16   CODE §1761(d).

17          ANSWER: This paragraph does not contain factual allegations requiring a response. To the

18   extent a response is required, Cal. Civ. Code § 1761(d) speaks for itself and AHM denies the

19   remaining allegations in this paragraph.
20          264. Honda engaged in unfair and deceptive acts in violation of the CLRA, by the practices

21   described above, and by knowingly and intentionally concealing from Plaintiffs and Class members

22   that the Class Vehicles suffer from a defect(s) (and the costs, risks, and diminished value of the

23   vehicles as a result of this problem). These acts and practices violate, at a minimum, the following

24   sections of the CLRA:

25         (a)(2) Misrepresenting the source, sponsorship, approval or certification of goods or services;

26         (a)(5) Representing that goods or services have sponsorships, approval, characteristics,

27                 ingredients, uses, benefits or quantities which they do not have or that a person has a

28                 sponsorship, approval, status, affiliation, or connection which he or she does not have;
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1           (a)(7) Representing that goods or services are of a particular standard, quality, or grade, or that

2                   goods are of a particular style or model, if they are of another; and

3           (a)(9) Advertising goods and services with intent not to sell them as advertised.

4            ANSWER: AHM denies the allegations in this paragraph, including the existence of the

5    alleged defect and any conduct that violated this statute.

6            265. Honda’s unfair or deceptive acts or practices occurred repeatedly in Honda’s trade or

7    business, were capable of deceiving a substantial portion of the purchasing public, and imposed a

8    serious safety risk on the public.

9            ANSWER: AHM denies the allegations in this paragraph, including any conduct that

10   violated this statute.

11           266. Honda knew that the Class Vehicles were defectively designed or manufactured, would

12   prematurely fail to perform their essential function, and were not suitable for their intended use.

13           ANSWER: AHM denies the allegations in this paragraph, including the existence of the

14   alleged defect and any conduct that violated this statute.

15           267. Honda was under a duty to Plaintiffs and the Class members to disclose the defective

16   nature of the Class Vehicles and the existence of the Parasitic Drain Defect because:

17          (a)     Defendant was in a superior position to know the true state of facts about the Parasitic

18   Drain Defect and associated repair costs in the Class Vehicles;

19          (b)     Plaintiffs and the Class members could not reasonably have been expected to learn or
20   discover that the Class Vehicles had a Parasitic Drain Defect until manifestation of the Defect;

21          (c)     Defendant knew that Plaintiffs and the Class members could not reasonably have been

22   expected to learn or discover the Parasitic Drain Defect and the associated repair costs that it causes

23   until the manifestation of the Defect; and

24          (d)     Defendant actively concealed the Parasitic Drain Defect and the associated repair costs

25   by knowingly failing to recall Class Vehicles.

26           ANSWER: AHM denies the allegations in this paragraph, including the existence of the

27   alleged defect and any conduct that violated this statute.

28
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1           268. In failing to disclose the Defect and the associated safety risks and repair costs that

2    result from it, Defendant has knowingly and intentionally concealed material facts and breached its

3    duty to disclose.

4           ANSWER: AHM denies the allegations in this paragraph, including the existence of the

5    alleged defect and any conduct that violated this statute.

6           269. The facts concealed or not disclosed by Honda to Plaintiffs and the Class members are

7    material in that a reasonable consumer would have considered them to be important in deciding

8    whether to purchase Defendant’s Class Vehicles or pay a lesser price. Had Plaintiffs and the Class

9    known about the defective nature of the Class Vehicles, they would not have purchased or leased the

10   Class Vehicles or would have paid less for them.

11          ANSWER: AHM denies the allegations in this paragraph, including the existence of the

12   alleged defect and any conduct that violated this statute.

13          270. On July 31, 2021, Plaintiff Raynaldo served a demand, dated July 29, 2021, on

14   Defendant pursuant to CAL. CIV. CODE §1782. Honda responded by e-mail on September 1, 2021.

15          ANSWER: AHM admits that Raynaldo sent a demand letter dated July 29, 2021 to it

16   asserting that it is in violation of Cal. Civ. Code § 1782, but denies that the letter satisfied the

17   requirements of Cal. Civ. Code § 1782. AHM further admits that it responded to the letter. AHM

18   denies the remaining allegations in this paragraph.

19          271. Plaintiffs and Class members’ injuries were proximately caused by Honda’s fraudulent
20   and deceptive business practices.

21          ANSWER: AHM denies the allegations in this paragraph, including any conduct that

22   violated this statute and that Plaintiffs or any putative member of the alleged classes was injured by

23   AHM.

24          272. Plaintiffs and the Class members seek equitable relief and damages.

25          ANSWER: AHM admits that Plaintiffs seek damages and other relief, but denies that they

26   or any putative member of the alleged classes is entitled to any relief. AHM denies any remaining

27   allegations in this paragraph.

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                                         COUNT TWO:
1                VIOLATION OF THE CALIFORNIA UNFAIR COMPETITION LAW
                            (Cal. Bus. & Prof. Code §§ 17200, et seq.)
2                            (On Behalf of the Nationwide Class or,
                         Alternatively, on Behalf of the California Class)
3
             273. Plaintiffs reallege and incorporate by reference all preceding allegations as though fully
4
     set forth herein.
5
             ANSWER: AHM reasserts and incorporates by reference its answers to all preceding
6
     allegations as though fully set forth herein.
7
             274. Plaintiffs bring this claim individually and on behalf of the other members of the
8
     Nationwide Class.
9
             ANSWER: AHM admits that Plaintiffs purport to bring this claim individually and on
10
     behalf of other putative members of an alleged class, but denies that the claim is amenable to class
11
     treatment. AHM denies the remaining allegations in this paragraph.
12
             275. The UCL defines unfair competition to include any “unlawful, unfair or fraudulent
13
     business act or practice and unfair, deceptive, untrue or misleading advertising and any act prohibited
14
     by Chapter 1 (commencing with Section 17500) of Part 3 of Division 7 of the Business and
15
     Professions Code.” CAL. BUS. & PROF. CODE §17200.
16
             ANSWER: This paragraph does not contain factual allegations requiring a response. To the
17
     extent a response is required, the California Unfair Competition Law (“UCL”) speaks for itself and
18
     AHM denies the remaining allegations in this paragraph.
19
             276. Defendant violated the UCL by engaging in unlawful, unfair, and deceptive business
20
     acts and practices.
21
             ANSWER: AHM denies the allegations in this paragraph, including any conduct that
22
     violated this statute.
23
             277. Defendant is a “person” as defined by CAL. BUS. & PROF. CODE §17201.
24
             ANSWER: This paragraph does not contain factual allegations requiring a response. To the
25
     extent a response is required, Cal. Bus. & Prof. Code § 17201 speaks for itself and AHM denies the
26
     remaining allegations in this paragraph.
27

28
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1           278. Pursuant to CAL. BUS. & PROF. CODE §17204, each of the Plaintiffs named herein,

2    and the members of the proposed Class, have suffered injury-in-fact and have lost money or property

3    because of the unfair competition set forth herein.

4           ANSWER: AHM denies the allegations in this paragraph, including any conduct that

5    violated this statute and that Plaintiffs or any putative member of the alleged classes was injured or

6    lost money or property because of AHM.

7           279. Plaintiffs allege, on information and belief, that: (a) the decisions of Honda concerning

8    the advertising, marketing, and warranty policies and procedures emanate from Honda’s Torrance,

9    California headquarters; (b) Honda’s advertising decisions on how to present and/or market Class

10   Vehicles in the United States emanate from its headquarters in Torrance, California; (c) decisions as

11   to recalls, services bulletins, and whether to make warranty repairs all emanate from Honda’s

12   headquarters in Torrance, California; and (d) the relevant personnel from Honda operate from

13   Honda’s headquarters in Torrance, California or coordinate and make decisions concerning the above

14   through facilities and other personnel in Torrance, California. For these reasons, Plaintiffs and the

15   Class’ claims emanate from Honda’s actions in California and it is appropriate for Honda to be held

16   to comply with California law on a nationwide basis.

17          ANSWER: AHM admits that Plaintiffs purport to believe (a)-(d) to be true. AHM further

18   admits that it has some involvement in advertising, marketing, warranty policies and procedures, and

19   decisions to implement recalls, service bulletins, and warranty repairs, but denies Plaintiffs’
20   characterization of AHM’s involvement. The last sentence of this paragraph does not contain factual

21   allegations requiring a response. To the extent a response is required, AHM denies the allegations in

22   that sentence, including that the claim is amenable to class treatment. AHM denies the remaining

23   allegations in this paragraph.

24          280. Honda’s conduct, as described herein, was and is in violation of the UCL. Honda’s

25   conduct violates the UCL by, among other things: (a) failing to disclose the existence of the Parasitic

26   Draining Defect in the Class Vehicles; (b) marketing and promoting the Class Vehicles as being free

27   from defect, including the Parasitic Draining Defect which causes the Class Vehicles to fail to

28   perform their essential function and creates safety risks; (c) knowingly and intentionally concealing
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1    the existence of the Defect in the Class Vehicles; (d) violating California laws, including the CLRA;

2    and (e) breaching its express and implied warranties.

3            ANSWER: AHM denies the allegations in this paragraph, including the existence of the

4    alleged defect and any conduct that violated this statute.

5            281. Honda intentionally and knowingly misrepresented and omitted material facts

6    regarding the Class Vehicles with intent to mislead Plaintiffs and other Class members.

7            ANSWER: AHM denies the allegations in this paragraph, including any conduct that

8    violated this statute.

9            282. In purchasing or leasing the Class Vehicles, Plaintiffs and other Class members were

10   deceived by Honda’s failure to disclose the Parasitic Drain Defect found in the Class Vehicles.

11           ANSWER: AHM denies the allegations in this paragraph, including the existence of the

12   alleged defect and any conduct that violated this statute.

13           283. Plaintiffs and other Class members reasonably relied upon Honda’s false

14   misrepresentations and omissions. They had no way of knowing that Defendant’s representations

15   were false, misleading, and incomplete. As alleged herein, Defendant engaged in a pattern of

16   deception and public silence in the face of a known Parasitic Drain Defect in the Class Vehicles.

17   Plaintiffs and other Class members did not, and could not, discover Defendant’s deception on their

18   own.

19           ANSWER: AHM denies the allegations in this paragraph, including the existence of the
20   alleged defect and any conduct that violated this statute.

21           284. Defendant knew or should have known that its conduct violated the UCL.

22           ANSWER: AHM denies the allegations in this paragraph, including any conduct that

23   violated this statute.

24           285. Defendant owed Plaintiffs and other Class members a duty to disclose the truth about

25   the Parasitic Drain Defect because the Defect created a safety hazard and Defendant: (a) possessed

26   exclusive knowledge of the Defect; (b) intentionally concealed the Defect from Plaintiffs and the

27   Class; and/or (c) made incomplete representations by failing to warn the public or to recall the Class

28   Vehicles due to the Defect.
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1           ANSWER: AHM denies the allegations in this paragraph, including the existence of the

2    alleged defect and any alleged fraudulent conduct by AHM.

3           286. Defendant had a duty to disclose the existence of the Defect in the Class Vehicles,

4    because Plaintiffs and other Class members relied on Defendant’s material misrepresentations and

5    omissions.

6           ANSWER: AHM denies the allegations in this paragraph, including the existence of the

7    alleged defect and any conduct that violated this statute.

8           287. Defendant’s conduct proximately caused injuries to Plaintiffs and other Class members

9    that purchased or leased the Class Vehicles and suffered harm as alleged herein.

10          ANSWER: AHM denies the allegations in this paragraph, including any conduct that

11   violated this statute and that Plaintiffs or any putative member of the alleged classes was injured by

12   AHM.

13          288. Plaintiffs and other Class members were injured and suffered ascertainable loss, injury-

14   in-fact, and/or actual damage as a proximate result of Defendant’s conduct in that Plaintiffs and other

15   Class members incurred costs related to the parasitic drain caused by the Defect, including

16   replacement of electrical components and service costs, and overpaid for their Class Vehicles that

17   have suffered a diminution in value.

18          ANSWER: AHM denies the allegations in this paragraph, including the existence of the

19   alleged defect, any conduct that violated this statute, and that Plaintiffs or any putative member of
20   the alleged classes was injured or lost money or property because of AHM.

21          289. Plaintiffs and the Class members are suffering from continuing injuries because Honda

22   has failed to issue an adequate remedy for the Defect found in each Class Vehicle. Defendant’s

23   unlawful acts and practices complained of herein affect the public interest.

24          ANSWER: AHM denies the allegations in this paragraph, including any conduct that

25   violated this statute and that Plaintiffs or any putative member of the alleged classes was injured by

26   AHM.

27          290. Defendant’s misrepresentations and omissions alleged herein caused Plaintiffs and

28   other Class members to make their purchases or leases of their Class Vehicles. Absent those
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1    misrepresentations and omissions, Plaintiffs and other Class members would not have purchased or

2    leased these vehicles, would not have purchased or leased these Class Vehicles at the prices they paid,

3    and/or would have purchased or leased less expensive alternative vehicles that did not suffer from the

4    Parasitic Drain Defect and lived up to industry standards.

5            ANSWER: AHM denies the allegations in this paragraph, including the existence of the

6    alleged defect and any conduct that violated this statute.

7            291. Accordingly, Plaintiffs and other Class members have suffered injury-in-fact, including

8    lost money or property, as a result of Defendant’s misrepresentations and omissions.

9            ANSWER: AHM denies the allegations in this paragraph, including any conduct that

10   violated this statute and that Plaintiffs or any putative member of the alleged classes was injured or

11   lost money or property because of AHM.

12           292. Plaintiffs request that this Court enjoin further unlawful, unfair, and/or fraudulent acts

13   or practices by Defendant, and order restitutionary disgorgement of all monies and revenues

14   generated as a result of such practices, and all other relief allowed under CAL. Bus. & PROF. CODE

15   §17200, including reasonable attorneys’ fees and costs under CAL. CIV. PROC. CODE §1021.5.

16           ANSWER: AHM admits that Plaintiffs seek equitable and other relief, but denies that they

17   or any putative member of the alleged classes is entitled to any relief. AHM denies any remaining

18   allegations in this paragraph.

19                                       COUNT THREE:
                  VIOLATION OF THE CALIFORNIA FALSE ADVERTISING LAW
20                           (Cal. Bus. & Prof. Code §§ 17500, et seq.)
                              (On Behalf of the Nationwide Class or,
21                        Alternatively, on Behalf of the California Class)
22           293. Plaintiffs reallege and incorporate by reference all preceding allegations as though fully

23   set forth herein.

24           ANSWER: AHM reasserts and incorporates by reference its answers to all preceding

25   allegations as though fully set forth herein.

26           294. Plaintiffs bring this claim individually and on behalf of the other members of the

27   Nationwide Class.

28
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1            ANSWER: AHM admits that Plaintiffs purport to bring this claim individually and on

2    behalf of other putative members of an alleged class, but denies that the claim is amenable to class

3    treatment. AHM denies the remaining allegations in this paragraph.

4            295. CAL. Bus. & PROF. CODE § 17500 states:

5           It is unlawful for any . . . corporation . . . with intent directly or indirectly to dispose of
            real or personal property . . . to induce the public to enter into any obligation relating
6
            thereto, to make or disseminate or cause to be made or disseminated . . . from this state
7           before the public in any state, in any newspaper or other publication, or any advertising
            device, . . . or in any other manner or means whatever, including over the Internet, any
8           statement . . . which is untrue or misleading, and which is known, or which by the
            exercise of reasonable care should be known, to be untrue or misleading ....
9

10           ANSWER: This paragraph does not contain factual allegations requiring a response. To the
11   extent a response is required, Cal. Bus. & Prof. Code § 17500 speaks for itself and AHM denies the
12   remaining allegations in this paragraph.
13           296. Honda caused to be made or disseminated through California and the United States,
14   through advertising, marketing, and other publications, statements that were untrue or misleading,
15   and which were known, or which by the exercise of reasonable care should have been known, to
16   Honda to be untrue and misleading to consumers, including Plaintiffs and Class members.
17           ANSWER: AHM denies the allegations in this paragraph, including any conduct that
18   violated this statute.
19           297. Honda has violated CAL. BUS. & PROF. CODE §17500 because the
20   misrepresentations and omissions regarding the quality, safety, and reliability of the Class Vehicles
21   and the Defect contained in Class Vehicles as well as the associated safety risks and repair costs that
22   result from it as set forth in this Complaint were material and likely to deceive a reasonable consumer.
23           ANSWER: AHM denies the allegations in this paragraph, including the existence of the
24   alleged defect and any conduct that violated this statute.
25           298. Honda has also violated CAL. BUS. & PROF. CODE §17500 because the
26   misrepresentations and omissions regarding the existence of a repair for the Defect and Defendant’s
27   ability and intention to render such a repair as set forth in this Complaint were material and likely to
28   deceive a reasonable consumer.
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1           ANSWER: AHM denies the allegations in this paragraph, including the existence of the

2    alleged defect and any conduct that violated this statute.

3           299. Plaintiffs and Class members have suffered an injury-in-fact, including the loss of

4    money or property, as a result of Honda’s unfair, unlawful, and/or deceptive practices. In purchasing

5    or leasing their Class Vehicles, Plaintiffs and Class members relied on the misrepresentations and/or

6    omissions of Honda with respect to the quality, safety, and reliability of the Class Vehicles as well as

7    the existence of a repair for the Defect. Honda’s representations turned out to be false because as a

8    result of the Defect that could result in battery failure, stalling while operating the vehicle under

9    normal driving conditions, and the failure of essential safety features, the Class Vehicles are unsafe,

10   unreliable, and not of high quality. Additionally, no permanent and reliable repair exists for the

11   Defect. Had Plaintiffs and Class members known this, they would not have purchased or leased their

12   Class Vehicles and/or paid as much for them.

13          ANSWER: AHM denies the allegations in this paragraph, including the existence of the

14   alleged defect, any conduct that violated this statute, and that Plaintiffs or any putative member of

15   the alleged classes was injured or lost money or property because of AHM.

16          300. Accordingly, Plaintiffs and Class members overpaid for their Class Vehicles and did

17   not receive the benefit of their bargain.

18          ANSWER: AHM denies the allegations in this paragraph, including that Plaintiffs or any

19   putative member of the alleged classes was injured by AHM.
20          301. All of the wrongful conduct alleged herein occurred, and continues to occur, in the

21   conduct of Honda’s business. Honda’s wrongful conduct is part of a pattern or generalized course of

22   conduct that is still perpetuated and repeated, both in the state of California and nationwide.

23          ANSWER: AHM denies the allegations in this paragraph.

24          302. Plaintiffs, individually and on behalf of the Class, request that this Court enter such

25   Orders or judgments as may be necessary to restore to Plaintiffs and Class members any money

26   Honda acquired by unfair competition, including restitution and/or restitutionary disgorgement and

27   all other relief allowed under CAL. BUS. & PROF. CODE §17500, including reasonable attorneys’

28   fees and costs under California CAL. CIV. PROC. CODE §1021.5.
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1            ANSWER: AHM admits that Plaintiffs seek equitable and other relief, but denies that they

2    or any putative member of the alleged classes is entitled to any relief. AHM denies any remaining

3    allegations in this paragraph.

4                                            COUNT FOUR:
                                   BREACH OF EXPRESS WARRANTY
5                                    (Cal. Com. Code §§ 2313, 10210)
                                    (On Behalf of the Nationwide Class)
6

7            303. Plaintiffs reallege and incorporate by reference all preceding allegations as though fully

8    set forth herein.

9            ANSWER: AHM reasserts and incorporates by reference its answers to all preceding

10   allegations as though fully set forth herein.

11           304. Plaintiff Jones brings this claim individually and on behalf of the other members of the

12   Nationwide Class.

13           ANSWER: AHM admits that Jones purports to bring this claim individually and on behalf

14   of other putative members of an alleged class, but denies that the claim is amenable to class treatment.

15   AHM denies the remaining allegations in this paragraph.

16           305. Defendant is a “merchant” (as defined by CAL. COM. CODE §2104(1)), a “seller” (as

17   defined by CAL. COM. CODE §2103(d)), and “lessor” of motor vehicles (as defined by CAL. Cry.

18   CODE §2985.7(b)).

19           ANSWER: This paragraph does not contain factual allegations requiring a response. To the
20   extent a response is required, Cal. Com. Code § 2103(d) and Cal. Civ. Code § 2985.7(b) speak for

21   themselves and AHM denies the remaining allegations in this paragraph.

22           306. Plaintiff Jones’s and the Class’ claims emanate from Honda’s actions in California, and

23   thus, the application of California extraterritorially to the claims of the Class in this action is proper.

24   As alleged herein, Honda’s advertising, marketing, and warranty policies and procedures emanate

25   from Honda’s headquarters in Torrance, California. In addition, upon information and belief,

26   Defendant’s advertising decisions emanated from its headquarters in Torrance, California, as well as

27   its decisions as to recalls, services bulletins, and whether to make warranty repairs. Further,

28   Defendant’s relevant personnel are located at facilities in Torrance, California.
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1           ANSWER: AHM admits that it has some involvement in advertising, marketing, warranty

2    policies and procedures, and decisions to implement recalls, service bulletins, and warranty repairs,

3    but denies Plaintiffs’ characterization of AHM’s involvement. The first sentence of this paragraph

4    does not contain factual allegations requiring a response. To the extent a response is required, AHM

5    denies the allegations in that sentence, including that the claim is amenable to class treatment. AHM

6    denies the remaining allegations in this paragraph.

7           307. Pursuant to CAL. COM. CODE §2313 (a)(1), “[a]ny affirmation of fact or promise

8    made by the seller to the buyer which relates to the goods and becomes part of the basis of the bargain

9    creates an express warranty that the goods shall conform to the affirmation or promise.”

10          ANSWER: This paragraph does not contain factual allegations requiring a response. To the

11   extent a response is required, Cal. Com. Code § 2313(a)(1) speaks for itself and AHM denies the

12   remaining allegations in this paragraph.

13          308. Pursuant to CAL. COM. CODE §10210(a)(1), “[a]ny affirmation of fact or promise

14   made by the lessor to the lessee which relates to the goods and becomes part of the basis of the bargain

15   creates an express warranty that the goods will conform to the affirmation or promise.”

16          ANSWER: This paragraph does not contain factual allegations requiring a response. To the

17   extent a response is required, Cal. Com. Code § 10210(a)(1)) speaks for itself and AHM denies the

18   remaining allegations in this paragraph.

19          309. The Class Vehicles are “goods” within the meaning of the UNIFORM COMMERCIAL
20   CODE and relevant state law, including CAL. COM. CODE §2105(1).

21          ANSWER: This paragraph does not contain factual allegations requiring a response. To the

22   extent a response is required, Cal. Com. Code § 2105(1) speaks for itself and AHM denies the

23   remaining allegations in this paragraph.

24          310. Defendant provided all purchasers and lessees of the Class Vehicles with the express

25   warranties described herein. In its written express warranties, Defendant expressly warranted that it

26   would repair or replace defective parts free of charge if the defects became apparent during the

27   warranty period.

28
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1             ANSWER: AHM admits that new vehicles within the alleged Class Vehicles were sold or

2    leased with a written warranty. The contents of the written warranties speak for themselves, and to

3    the extent the allegations in this paragraph vary therewith, AHM denies the allegations. AHM denies

4    the remaining allegations in this paragraph.

5             311. Defendant’s written express warranties formed the basis of the bargain that was reached

6    when Plaintiffs and other Class members purchased or leased their Class Vehicles.

7             ANSWER: AHM denies the allegations in this paragraph.

8             312. Defendant breached the express warranties through the acts and omissions described

9    above.

10            ANSWER: AHM denies the allegations in this paragraph.

11            313. Plaintiff Jones and other Class members have had sufficient direct dealings with either

12   Defendant or its agents (e.g., dealerships, consumer affairs departments, and technical support) to

13   establish privity of contract between Defendant on one hand, and Plaintiffs and each of the other

14   Class members on the other hand. Nonetheless, privity is not required here because Plaintiffs and

15   each of the other Class members are intended third-party beneficiaries of contracts between

16   Defendant and their dealers, and specifically, of Defendant’s express warranties. The dealers were

17   not intended to be the ultimate consumers of the Class Vehicles and have no rights under the warranty

18   agreements provided with the Class Vehicles; the warranty agreements were designed for and

19   intended to benefit the consumers only. Additionally, privity is excused here because Plaintiff Jones
20   and each of the other Class members relied on statements made by Defendant itself in choosing to

21   purchase or lease a Class Vehicle. As alleged herein, the marketing of the Class Vehicles was uniform

22   and was controlled and disseminated directly by Defendant.

23            ANSWER: This paragraph does not contain factual allegations requiring a response. To the

24   extent a response is required, AHM denies the allegations in this paragraph.

25            314. Defendant knew that it was unable to provide adequate remedy under the warranty.

26   Defendant was also provided notice of the Parasitic Drain Defect through numerous complaints filed

27   against it directly and through its dealers, as well as its own internal engineering knowledge. Honda

28   has not remedied its breach.
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1           ANSWER: AHM denies the allegations in this paragraph, including the existence of the

2    alleged defect.

3           315. Further, Defendant has refused to provide an adequate warranty repair for the Parasitic

4    Drain Defect, thus rendering the satisfaction of any notice requirement futile. As stated above,

5    customers that have presented their vehicles for warranty repair, as Plaintiff Jones has, due to the

6    Parasitic Drain Defect have been denied adequate repairs.

7           ANSWER: AHM denies the allegations in this paragraph, including the existence of the

8    alleged defect.

9           316. The written express warranties fail in their essential purpose because the contractual

10   remedy is insufficient to make Plaintiff Jones and other Class members whole and because Defendant

11   has failed and/or has refused to adequately provide effective remedies within a reasonable time.

12          ANSWER: AHM denies the allegations in this paragraph.

13          317. Accordingly, recovery by Plaintiff Jones and other Class members is not limited to the

14   limited remedy of repair, and Plaintiffs, individually and on behalf of the other Class members, seek

15   all remedies as allowed by law.

16          ANSWER: This paragraph does not contain factual allegations requiring a response. To the

17   extent a response is required, AHM denies the allegations in this paragraph.

18          318. Also, as alleged in more detail herein, at the time that Honda warranted and sold or

19   leased the Class Vehicles, it knew that the Class Vehicles did not conform to the warranty and were
20   inherently defective, and Defendant improperly concealed material facts regarding its Class Vehicles.

21   Plaintiff Jones and other Class members were therefore induced to purchase or lease the Class

22   Vehicles under false pretenses.

23          ANSWER: AHM denies the allegations in this paragraph, including the existence of the

24   alleged defect and any alleged fraudulent conduct by AHM.

25          319. Defendant had notice of its breach of its express warranty as alleged herein.

26          ANSWER: AHM denies the allegations in this paragraph.

27          320. As a direct and proximate result of Defendant’s breach of its express warranty, Plaintiff

28   Jones and other Class members have been damaged in an amount to be determined at trial.
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1            ANSWER: AHM denies the allegations in this paragraph, including that Plaintiffs or any

2    putative member of the alleged classes was damaged by AHM.

3            321. Plaintiff Jones, on behalf of himself and the Class, seeks monetary damages, treble

4    damages, costs, attorneys’ fees, and such other and further relief provided by law and equity.

5            ANSWER: AHM admits that Plaintiffs seek damages and other relief, but denies that they

6    or any putative member of the alleged classes is entitled to any relief. AHM denies any remaining

7    allegations in this paragraph.

8                                         COUNT FIVE:
                   BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
9                               (Cal. Com. Code §§ 2314, 10212)
                             (On Behalf of the Nationwide Class or,
10                       Alternatively, on Behalf of the California Class)
11           322. Plaintiffs reallege and incorporate by reference all preceding allegations as though fully

12   set forth herein.

13           ANSWER: This paragraph does not require a response because the Court dismissed the

14   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

15   follows: AHM reasserts and incorporates by reference its answers to all preceding allegations as

16   though fully set forth herein.

17           323. Plaintiffs bring this claim individually and on behalf of the other members of the

18   Nationwide Class.

19           ANSWER: This paragraph does not require a response because the Court dismissed the
20   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

21   follows: AHM admits that Plaintiffs purport to bring this claim individually and on behalf of other

22   putative members of an alleged class, but denies that the claim is amenable to class treatment. AHM

23   denies the remaining allegations in this paragraph.

24           324. Defendant is a “merchant” (as defined by CAL. COM. CODE §2104(1)), a “seller” (as

25   defined by CAL. COM. CODE §2103(d)), and “lessor” of motor vehicles (as defined by CAL. CIV.

26   CODE §2985.7(b)).

27           ANSWER: This paragraph does not require a response because the Court dismissed the

28   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as
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1    follows: This paragraph does not contain factual allegations requiring a response. To the extent a

2    response is required, Cal. Com. Code §§ 2103(d) and 2104(1) and Cal. Civ. Code § 2985.7(b) speak

3    for themselves and AHM denies the remaining allegations in this paragraph.

4           325. The Class Vehicles are “goods” within the meaning of the UNIFORM COMMERCIAL

5    CODE and relevant state law, including CAL. COM. CODE §2105(1).

6           ANSWER: This paragraph does not require a response because the Court dismissed the

7    claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

8    follows: This paragraph does not contain factual allegations requiring a response. To the extent a

9    response is required, Cal. Com. Code § 2105(1) speaks for itself and AHM denies the remaining

10   allegations in this paragraph.

11          326. Plaintiffs and the Class’ claims emanate from Honda’s actions in California, and thus,

12   the application of California extraterritorially to the claims of the Class in this action is proper. As

13   alleged herein, Honda’s advertising, marketing, and warranty policies and procedures emanate from

14   Honda’s headquarters in Torrance, California. In addition, upon information and belief, Defendant’s

15   advertising decisions emanated from its headquarters in Torrance, California, as well as its decisions

16   as to recalls, services bulletins, and whether to make warranty repairs. Further, Defendant’s relevant

17   personnel are located at facilities in Torrance, California.

18          ANSWER: This paragraph does not require a response because the Court dismissed the

19   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as
20   follows: AHM admits that it has some involvement in advertising, marketing, warranty policies and

21   procedures, and decisions to implement recalls, service bulletins, and warranty repairs, but denies

22   Plaintiffs’ characterization of AHM’s involvement. The first sentence of this paragraph does not

23   contain factual allegations requiring a response. To the extent a response is required, AHM denies

24   the allegations in that sentence, including that the claim is amenable to class treatment. AHM denies

25   the remaining allegations in this paragraph.

26          327. Defendant was, at all relevant times, the manufacturer, distributor, warrantor, seller

27   and/or lessor of the Class Vehicles. Defendant knew or had reason to know of the specific use for

28   which the Class Vehicles were purchased or leased.
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1           ANSWER: This paragraph does not require a response because the Court dismissed the

2    claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

3    follows: AHM denies the allegations in this paragraph.

4           328. Pursuant to CAL. COM. CODE §2314(1) “a warranty that the goods shall be

5    merchantable is implied in a contract for their sale if the seller is a merchant with respect to goods of

6    that kind.” Goods are merchantable if they are “fit for the ordinary purposes for which such goods

7    are used” and “[c]onform to the promises or affirmations of fact made on the container or label if

8    any.” CAL. COM. CODE §2314(2)(c),(f).

9           ANSWER: This paragraph does not require a response because the Court dismissed the

10   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

11   follows: This paragraph does not contain factual allegations requiring a response. To the extent a

12   response is required, Cal. Com. Code § 2314(1) speaks for itself and AHM denies the remaining

13   allegations in this paragraph.

14          329. Defendant provided Plaintiffs and other Class members with an implied warranty that

15   the Class Vehicles and any parts thereof are merchantable and fit for the ordinary purposes for which

16   they were sold. However, the Class Vehicles are not fit for their ordinary purpose of providing

17   reasonably reliable and safe transportation at the time of sale or thereafter because, inter alia, the

18   Class Vehicles suffered from the Parasitic Drain Defect at the time of sale that causes various safety

19   features to fail without warning, creates the undue risk of the engine stalling while driving, and results
20   in the premature depletion of batteries and alternators. Therefore, the Class Vehicles are not fit for

21   their particular purpose of providing safe and reliable transportation.

22          ANSWER: This paragraph does not require a response because the Court dismissed the

23   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

24   follows: AHM denies the allegations in this paragraph, including the existence of the alleged defect.

25          330. Defendant impliedly warranted that the Class Vehicles were of merchantable quality

26   and fit for such use. This implied warranty included, among other things, a warranty that the Class

27   Vehicles were manufactured, supplied, distributed, and/or sold by Defendant, were safe and reliable

28   for providing transportation, and would not result in the premature failure of its batteries.
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1              ANSWER: This paragraph does not require a response because the Court dismissed the

2    claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

3    follows: AHM denies the allegations in this paragraph.

4              331. Contrary to the applicable implied warranties, the Class Vehicles at the time of sale and

5    thereafter were not fit for their ordinary and intended purpose of providing Plaintiffs and other Class

6    members with reliable, durable, and safe transportation. Instead, the Class Vehicles suffer from a

7    defective design(s) and/or manufacturing defect(s).

8              ANSWER: This paragraph does not require a response because the Court dismissed the

9    claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

10   follows: AHM denies the allegations in this paragraph, including the existence of the alleged defect.

11             332. Defendant knew or had reason to know of these material facts, and wrongfully and

12   fraudulently concealed these material facts from Plaintiffs and the Class. Defendant was provided

13   notice of these issues by complaints lodged by consumers with NHTSA—which Defendant routinely

14   monitors—before or within a reasonable amount of time after the allegations of the Defect became

15   public.

16             ANSWER: This paragraph does not require a response because the Court dismissed the

17   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

18   follows: AHM denies the allegations in this paragraph, including the existence of the alleged defect

19   and any alleged fraudulent conduct by AHM.
20             333. Defendant’s actions, as complained of herein, breached the implied warranty that the

21   Class Vehicles were of merchantable quality and fit for such use.

22             ANSWER: This paragraph does not require a response because the Court dismissed the

23   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

24   follows: AHM denies the allegations in this paragraph.

25             334. Plaintiffs and other Class members have had sufficient direct dealings with either

26   Defendant or its agents—such as its dealerships, consumer affairs departments, and technical

27   support—to establish privity of contract between Defendant on one hand, and Plaintiffs and each of

28   the other Class members on the other hand. Nonetheless, privity is not required here because Plaintiffs
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1    and each of the other Class members are intended third-party beneficiaries of contracts between

2    Defendant and their dealers, and specifically, of Defendant’s implied warranties. The dealers were

3    not intended to be the ultimate consumers of the Class Vehicles and have no rights under the warranty

4    agreements provided with the Class Vehicles; the warranty agreements were designed for and

5    intended to benefit the consumers only. Additionally, privity is excused here because Plaintiffs and

6    each of the other Class members relied on statements made by Defendant itself in choosing to

7    purchase or lease a Class Vehicle. As alleged herein, the marketing of the Class Vehicles was

8    uniform, and was controlled and disseminated directly by Defendant.

9            ANSWER: This paragraph does not require a response because the Court dismissed the

10   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

11   follows: This paragraph does not contain factual allegations requiring a response. To the extent a

12   response is required, AHM denies the allegations in this paragraph.

13           335. Plaintiffs, on behalf of themselves and the Class, seek monetary damages, treble

14   damages, costs, attorneys’ fees, and such other and further relief provided by law and equity.

15           ANSWER: This paragraph does not require a response because the Court dismissed the

16   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

17   follows: AHM admits that Plaintiffs seek damages and other relief, but denies that they or any putative

18   member of the alleged classes is entitled to any relief. AHM denies any remaining allegations in this

19   paragraph.
20                                              COUNT SIX:
                                         UNJUST ENRICHMENT
21                                 (On Behalf of the Nationwide Class or,
                               Alternatively, on Behalf of each of the Classes)
22

23           336. Plaintiffs reallege and incorporate by reference all preceding allegations as though fully

24   set forth herein.

25           ANSWER: This paragraph does not require a response because the Court dismissed the

26   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

27   follows: AHM reasserts and incorporates by reference its answers to all preceding allegations as

28   though fully set forth herein.
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1           337. Plaintiffs bring this claim on behalf of themselves and the Nationwide Class under the

2    common law of unjust enrichment, which is materially uniform in all states. In the alternative,

3    Plaintiffs bring this claim on behalf of each of the Classes under the laws of each state in which

4    Plaintiffs and Class members purchased or leased the Class Vehicles.

5           ANSWER: This paragraph does not require a response because the Court dismissed the

6    claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

7    follows: AHM admits that Plaintiffs purport to bring this claim individually and on behalf of other

8    putative members of an alleged class, but denies that the claim is amenable to class treatment. AHM

9    denies the remaining allegations in this paragraph.

10          338. Defendant designed, manufactured, produced, distributed, marketed, and/or sold the

11   Class Vehicles during the relevant period herein.

12          ANSWER: This paragraph does not require a response because the Court dismissed the

13   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

14   follows: AHM admits that it marketed and distributed to authorized Honda dealers the alleged Class

15   Vehicles in the United States. AHM denies the remaining allegations in this paragraph.

16          339. Plaintiffs and members of the Class conferred non-gratuitous benefits upon Defendant,

17   without knowledge that the Class Vehicles contained the Defect.

18          ANSWER: This paragraph does not require a response because the Court dismissed the

19   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as
20   follows: AHM denies the allegations in this paragraph, including the existence of the alleged defect.

21          340. Defendant appreciated, or had knowledge of, the non-gratuitous benefits conferred

22   upon them by Plaintiffs and members of the Class.

23          ANSWER: This paragraph does not require a response because the Court dismissed the

24   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

25   follows: AHM denies the allegations in this paragraph.

26          341. Defendant accepted or retained the non-gratuitous benefits conferred by Plaintiffs and

27   members of the Class, with full knowledge and awareness that, as a result of Defendant’s

28   unconscionable wrongdoing, Plaintiffs and members of the Class were not receiving products of high
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1    quality, nature, fitness, or value that had been represented by Defendant and reasonable consumers

2    would have expected.

3            ANSWER: This paragraph does not require a response because the Court dismissed the

4    claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

5    follows: AHM denies the allegations in this paragraph.

6            342. Retaining the non-gratuitous benefits conferred upon Defendant by Plaintiffs and

7    members of the Class under these circumstances made Defendant’s retention of the non-gratuitous

8    benefits unjust and inequitable.

9            ANSWER: This paragraph does not require a response because the Court dismissed the

10   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

11   follows: AHM denies the allegations in this paragraph.

12           343. Because Defendant’s retention of the non-gratuitous benefits conferred by Plaintiffs

13   and members of the Class is unjust and inequitable, Plaintiffs and members of the Class are entitled

14   to, and hereby seek, disgorgement and restitution of Defendant’s wrongful profits, revenue, and

15   benefits in a manner established by the Court.

16           ANSWER: This paragraph does not require a response because the Court dismissed the

17   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

18   follows: AHM admits that Plaintiffs seek equitable and other relief, but denies that they or any

19   putative member of the alleged classes is entitled to any relief. AHM denies any remaining allegations
20   in this paragraph.

21                                           COUNT SEVEN:
                                   FRAUDULENT CONCEALMENT
22                                (On Behalf of the Nationwide Class or,
                              Alternatively, on Behalf of each of the Classes)
23

24           344. Plaintiffs reallege and incorporate by reference all preceding allegations as though fully

25   set forth herein.

26           ANSWER: This paragraph does not require a response because the Court dismissed the

27   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

28
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1    follows: AHM reasserts and incorporates by reference its answers to all preceding allegations as

2    though fully set forth herein.

3           345. Plaintiffs bring this claim on behalf of themselves and the Nationwide Class under the

4    common law of fraudulent concealment, which is materially uniform in all states. In the alternative,

5    Plaintiffs bring this claim on behalf of each of the Classes under the laws of each state in which

6    Plaintiffs and Class members purchased or leased the Class Vehicles.

7           ANSWER: This paragraph does not require a response because the Court dismissed the

8    claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

9    follows: AHM admits that Plaintiffs purport to bring this claim individually and on behalf of other

10   putative members of an alleged class, but denies that the claim is amenable to class treatment. AHM

11   denies the remaining allegations in this paragraph.

12          346. Honda fraudulently concealed and suppressed material facts concerning the quality of

13   the Class Vehicles and the existence of the Defect.

14          ANSWER: This paragraph does not require a response because the Court dismissed the

15   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

16   follows: AHM denies the allegations in this paragraph, including the existence of the alleged defect

17   and any alleged fraudulent conduct by AHM.

18          347. Despite advertising the Class Vehicles as safe, reliable, and being of high quality,

19   Honda knew when it manufactured, marketed, and sold or leased the Class Vehicles that the Class
20   Vehicles suffered from a design and/or manufacturing defect that reduced the Class Vehicles’ value

21   and subjected the Class Vehicles to parasitic draining and that rendered the Class Vehicles unreliable

22   and posed significant safety hazards to drivers.

23          ANSWER: This paragraph does not require a response because the Court dismissed the

24   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

25   follows: AHM denies the allegations in this paragraph, including the existence of the alleged defect

26   and any alleged fraudulent conduct by AHM.

27          348. Honda failed to disclose these facts to consumers at the time it manufactured, marketed,

28   and sold or leased the Class Vehicles, and Honda knowingly and intentionally engaged in this
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1    concealment in order to boost sales and revenue, maintain its competitive edge in the automobile

2    market, and obtain windfall profit. Through its active concealment and/or suppression of these

3    material facts, Honda sought to increase consumer confidence in the Class Vehicles, and to falsely

4    assure purchasers and lessors of the same that the Vehicles were of sound quality and that Honda was

5    a reputable manufacturer that stands behind the automobiles it manufactures. Honda engaged in this

6    behavior to protect its profits, avoid warranty replacements, avoid recalls that would impair the

7    brand’s image, cost it money, and undermine its competitiveness in the automobile industry.

8            ANSWER: This paragraph does not require a response because the Court dismissed the

9    claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

10   follows: AHM denies the allegations in this paragraph, including the existence of the alleged defect

11   and any alleged fraudulent conduct by AHM.

12           349. Plaintiffs and Class members were unaware, and could not reasonably discover on their

13   own, that Honda’s representations were false and misleading, or that it had omitted material facts

14   relating to the Class Vehicles.

15           ANSWER: This paragraph does not require a response because the Court dismissed the

16   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

17   follows: AHM denies the allegations in this paragraph, including any alleged fraudulent conduct by

18   AHM.

19           350. Honda had a duty to disclose, rather than conceal and suppress, the full scope and extent
20   of the Defect because:

21          (a)       Honda had exclusive or far superior knowledge of the Defect and concealment thereof;

22          (b)       the facts regarding the Defect and concealment thereof were known and/or accessible

23   only to Honda;

24          (c)       Honda knew that Plaintiffs and Class members did not know about, or could not

25   reasonably discover, the Defect and concealment thereof; and

26          (d)       Honda made representations and assurances about the qualities of the Class Vehicles,

27   and about the existence of a repair for the Defect that were misleading, deceptive, and incomplete

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1    without the disclosure of the fact that the Class Vehicles suffered from a latent and inherent design

2    and/or manufacturing defect.

3            ANSWER: This paragraph does not require a response because the Court dismissed the

4    claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

5    follows: AHM denies the allegations in this paragraph, including the existence of the alleged defect

6    and any alleged fraudulent conduct by AHM.

7            351. These omitted and concealed facts were material because a reasonable consumer would

8    rely on them in deciding to purchase or lease the Class Vehicles, and because they substantially

9    reduced the value of the Class Vehicles purchased or leased by Plaintiffs and Class members. Whether

10   the Class Vehicles were defective, of sound quality, safe, reliable, and whether Honda stood behind

11   such vehicles would have been an important factor in Plaintiffs’ and the Class members’ decisions to

12   purchase or lease the vehicles. Plaintiffs and Class members trusted Honda not to sell them vehicles

13   that were defective and significantly overpriced.

14           ANSWER: This paragraph does not require a response because the Court dismissed the

15   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

16   follows: AHM denies the allegations in this paragraph, including the existence of the alleged defect

17   and any alleged fraudulent conduct by AHM.

18           352. Honda intentionally and actively concealed and suppressed these material facts to

19   falsely assure consumers that their Class Vehicles were free from known defects, as represented by
20   Honda and reasonably expected by consumers.

21           ANSWER: This paragraph does not require a response because the Court dismissed the

22   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

23   follows: AHM denies the allegations in this paragraph, including the existence of the alleged defect

24   and any alleged fraudulent conduct by AHM.

25           353. Plaintiffs and Class members were unaware of these omitted material facts and would

26   have paid less for the Class Vehicles, or would not have purchased/leased them at all, if they had

27   known of the concealed and suppressed facts. Plaintiffs and Class members did not receive the benefit

28   of their bargain due to Honda’s fraudulent concealment. Plaintiffs’ and Class members’ actions in
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1    purchasing the Class Vehicles were justified. Honda was in exclusive control of the material facts,

2    and such facts were not known or reasonably knowable to the public, Plaintiffs, or Class members.

3           ANSWER: This paragraph does not require a response because the Court dismissed the

4    claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

5    follows: AHM denies the allegations in this paragraph, including any alleged fraudulent conduct by

6    AHM.

7           354. Plaintiffs and Class members relied to their detriment upon Honda’s reputation,

8    fraudulent misrepresentations, and material omissions regarding the quality, safety, and reliability of

9    the Class Vehicles.

10          ANSWER: This paragraph does not require a response because the Court dismissed the

11   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

12   follows: AHM denies the allegations in this paragraph, including any alleged fraudulent conduct by

13   AHM.

14          355. As a direct and proximate result of Honda’s deceit and fraudulent concealment,

15   including its intentional suppression of true facts, Plaintiffs and Class members suffered injury. They

16   purchased and leased Class Vehicles that had a diminished value by reason of Honda’s concealment

17   of, and failure to disclose, the Defect. Plaintiffs and Class members also paid substantial money to

18   (unsuccessfully) repair the Defect.

19          ANSWER: This paragraph does not require a response because the Court dismissed the
20   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

21   follows: AHM denies the allegations in this paragraph, including the existence of the alleged defect,

22   any alleged fraudulent conduct by AHM, and that Plaintiffs or any putative member of the alleged

23   classes was injured by AHM.

24          356. Accordingly, Honda is liable to the Nationwide Class and/or Classes for their damages

25   in an amount to be proven at trial.

26          ANSWER: This paragraph does not require a response because the Court dismissed the

27   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

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1    follows: AHM denies the allegations in this paragraph, including that Plaintiffs or any putative

2    member of the alleged classes is entitled to any relief.

3            357. On information and belief, Honda has still not made full and adequate disclosure and

4    continues to defraud Plaintiffs and Class members. Honda also continues to conceal material

5    information regarding the Defect.

6            ANSWER: This paragraph does not require a response because the Court dismissed the

7    claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

8    follows: AHM denies the allegations in this paragraph, including the existence of the alleged defect

9    and any alleged fraudulent conduct by AHM.

10           358. Honda’s acts were done deliberately, with intent to defraud, and in reckless disregard

11   of the Plaintiffs’ and Class members’ rights. Honda’s conduct warrants an assessment of punitive

12   damages in an amount sufficient to deter such conduct in the future, which amount is to be determined

13   according to proof.

14           ANSWER: This paragraph does not require a response because the Court dismissed the

15   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

16   follows: AHM denies the allegations in this paragraph, including that Plaintiffs or any putative

17   member of the alleged classes is entitled to any relief.

18                                          COUNT EIGHT:
                                   BREACH OF EXPRESS WARRANTY
19                                  (Iowa Code §§ 554.2313, 554.13210)
                                       (On Behalf of the Iowa Class)
20

21           359. Plaintiffs reallege and incorporate by reference all preceding allegations as though fully

22   set forth herein.

23           ANSWER: AHM reasserts and incorporates by reference its answers to all preceding

24   allegations as though fully set forth herein.

25           360. Plaintiff Jones brings this claim individually and on behalf of the other members of the

26   Iowa Class.

27

28
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1           ANSWER: AHM admits that Jones purports to bring this claim individually and on behalf

2    of other putative members of an alleged class, but denies that the claim is amenable to class treatment.

3    AHM denies the remaining allegations in this paragraph.

4           361. Honda is a “merchant” (as defined by IOWA CODE §554.2104(1)), a “seller” (as

5    defined by IOWA CODE §554.2103(1)(d)), and a “lessor” (as defined by IOWA CODE

6    §554.13103(p)) of Class Vehicles.

7           ANSWER: This paragraph does not contain factual allegations requiring a response. To the

8    extent a response is required, Iowa Code §§ 554.2103(1)(d), 554.2104(1), and 554.13103(p) speak

9    for themselves and AHM denies the remaining allegations in this paragraph.

10          362. The Class Vehicles are “goods” (as defined by IOWA CODE §§554.2105(1) and

11   554.13103(1)(h)).

12          ANSWER: This paragraph does not contain factual allegations requiring a response. To the

13   extent a response is required, Iowa Code §§ 554.2105(1) and 554.13103(1)(h) speak for themselves

14   and AHM denies the remaining allegations in this paragraph.

15          363. Pursuant to IOWA CODE §554.2313(1)(a), “[a]ny affirmation of fact or promise made

16   by the seller to the buyer which relates to the goods and becomes part of the basis of the bargain

17   creates an express warranty that the goods shall conform to the affirmation or promise.”

18          ANSWER: This paragraph does not contain factual allegations requiring a response. To the

19   extent a response is required, Iowa Code § 554.2313(1)(a) speaks for itself and AHM denies the
20   remaining allegations in this paragraph.

21          364. Pursuant to IOWA CODE §554.13210(1)(a), “[a]ny affirmation of fact or promise

22   made by the lessor to the lessee which relates to the goods and becomes part of the basis of the bargain

23   creates an express warranty that the goods will conform to the affirmation or promise.”

24          ANSWER: This paragraph does not contain factual allegations requiring a response. To the

25   extent a response is required, Iowa Code § 554.2313(1)(a) speaks for itself and AHM denies the

26   remaining allegations in this paragraph.

27          365. In its written express warranties, Honda expressly warranted that it would repair or

28   replace defective parts free of charge if the defects became apparent during the warranty period.
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1           ANSWER: AHM admits that the contents of the written warranties speak for themselves,

2    and to the extent the allegations in this paragraph vary therewith, AHM denies the allegations. AHM

3    denies the remaining allegations in this paragraph.

4           366. Honda’s written express warranties formed the basis of the bargain that was reached

5    when Plaintiffs and other Class members purchased or leased their Class Vehicles.

6           ANSWER: AHM denies the allegations in this paragraph.

7           367. Honda breached its express warranty to repair defective parts in the Class Vehicles.

8    Honda admittedly has not repaired the Class Vehicles’ Parasitic Drain Defect.

9           ANSWER: AHM denies the allegations in this paragraph, including the existence of the

10   alleged defect.

11          368. Plaintiff Jones notified Honda of the Parasitic Drain Defect in the Class Vehicles when

12   he brought it in to a dealer after his Class Vehicle failed due to the Parasitic Drain Defect. Honda

13   knew that it was unable to provide adequate remedy under the warranty. Honda was also provided

14   notice of the Parasitic Drain Defect through numerous complaints filed against it directly and through

15   its dealers, as well as its own internal engineering knowledge. Honda has not remedied its breach of

16   express warranty.

17          ANSWER: AHM denies the allegations in this paragraph, including the existence of the

18   alleged defect.

19          369. Further, Honda has refused to provide an adequate warranty repair for the Parasitic
20   Drain Defect, thus rendering the satisfaction of any notice requirement futile. As stated above,

21   customers that have presented their vehicles for warranty repair, as Plaintiffs have, due to the Parasitic

22   Drain Defect have been denied adequate repairs.

23          ANSWER: AHM denies the allegations in this paragraph, including the existence of the

24   alleged defect.

25          370. The written express warranties fail in their essential purpose because the contractual

26   remedy is insufficient to make Plaintiffs and other Class members whole and because Honda has

27   failed and/or has refused to adequately provide effective remedies within a reasonable time.

28          ANSWER: AHM denies the allegations in this paragraph.
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1            371. Accordingly, recovery by Plaintiffs and other Class members is not limited to the

2    limited remedy of repair, and Plaintiffs, individually and on behalf of the other Class members, seek

3    all remedies as allowed by law.

4            ANSWER: This paragraph does not contain factual allegations requiring a response. To the

5    extent a response is required, AHM denies the allegations in this paragraph.

6            372. Also, as alleged in more detail herein, at the time that Honda warranted and sold or

7    leased the Class Vehicles, it knew that the Class Vehicles did not conform to the warranty and were

8    inherently defective, and Honda improperly concealed material facts regarding its Class Vehicles.

9    Plaintiffs and other Class members were therefore induced to purchase or lease the Class Vehicles

10   under false pretenses.

11           ANSWER: AHM denies the allegations in this paragraph, including the existence of the

12   alleged defect and any alleged fraudulent conduct by AHM.

13           373. Honda had notice of its breach of express warranty as alleged herein.

14           ANSWER: AHM denies the allegations in this paragraph.

15           374. As a direct and proximate result of Honda’s breach of its express warranty, Plaintiffs

16   and other Class members have been damaged in an amount to be determined at trial.

17           ANSWER: AHM denies the allegations in this paragraph, including that Plaintiffs or any

18   putative member of the alleged classes was damaged by AHM.

19           375. Plaintiffs, on behalf of themselves and the Class, seek monetary damages, costs,
20   attorneys’ fees, and such other and further relief provided by law and equity.

21           ANSWER: AHM admits that Plaintiffs seek damages and other relief, but denies that they

22   or any putative member of the alleged classes is entitled to any relief. AHM denies any remaining

23   allegations in this paragraph.

24                                      COUNT NINE:
                   BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
25                            (Iowa Code §§ 554.2314 & 554.13212)
                                  (On Behalf of the Iowa Class)
26

27           376. Plaintiffs reallege and incorporate by reference all preceding allegations as though fully

28   set forth herein.
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1           ANSWER: This paragraph does not require a response because the Court dismissed the

2    claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

3    follows: AHM reasserts and incorporates by reference its answers to all preceding allegations as

4    though fully set forth herein.

5           377. Plaintiff Jones brings this claim individually and on behalf of the other members of the

6    Iowa Class.

7           ANSWER: This paragraph does not require a response because the Court dismissed the

8    claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

9    follows: AHM admits that Plaintiffs purport to bring this claim individually and on behalf of other

10   putative members of an alleged class, but denies that the claim is amenable to class treatment. AHM

11   denies the remaining allegations in this paragraph.

12          378. Honda is a “merchant” (as defined by IOWA CODE §554.2104(1)), a “seller” (as

13   defined by IOWA CODE §554.2103(1)(d)), and a “lessor” (as defined by IOWA CODE

14   §554.13103(p)) of Class Vehicles.

15          ANSWER: This paragraph does not require a response because the Court dismissed the

16   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

17   follows: This paragraph does not contain factual allegations requiring a response. To the extent a

18   response is required, Iowa Code §§ 554.2103(1)(d), 554.2104(1), and 554.13103(p) speak for

19   themselves and AHM denies the remaining allegations in this paragraph.
20          379. The Class Vehicles are “goods” (as defined by IOWA CODE §§554.2105(1) and

21   554.13103(1)(h)).

22          ANSWER: This paragraph does not require a response because the Court dismissed the

23   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

24   follows: This paragraph does not contain factual allegations requiring a response. To the extent a

25   response is required, Iowa Code §§ 554.2105(1) and 554.13103(1)(h) speak for themselves and AHM

26   denies the remaining allegations in this paragraph.

27

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1           380. A warranty that the Class Vehicles were in merchantable condition and fit for the

2    ordinary purpose for which vehicles are used is implied by law pursuant to IOWA CODE §§554.2314

3    and 554.13212.

4           ANSWER: This paragraph does not require a response because the Court dismissed the

5    claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

6    follows: This paragraph does not contain factual allegations requiring a response. To the extent a

7    response is required, Iowa Code § 554.2314 and 554.13212 speak for themselves and AHM denies

8    the remaining allegations in this paragraph.

9           381. Honda was provided notice of the issues raised in this Count and this Complaint, as

10   detailed above.

11          ANSWER: This paragraph does not require a response because the Court dismissed the

12   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

13   follows: AHM denies the allegations in this paragraph.

14          382. As a direct and proximate result of Defendant’s breach of the implied warranty of

15   merchantability, Iowa Class members have been damaged in an amount to be proven at trial.

16          ANSWER: This paragraph does not require a response because the Court dismissed the

17   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

18   follows: AHM denies the allegations in this paragraph, including that Plaintiffs or any putative

19   member of the alleged class was damaged by AHM.
20          383. Plaintiffs, on behalf of themselves and the Class, seek monetary damages, costs,

21   attorneys’ fees, and such other and further relief provided by law and equity.

22          ANSWER: This paragraph does not require a response because the Court dismissed the

23   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

24   follows: AHM admits that Plaintiffs seek damages and other relief, but denies that they or any putative

25   member of the alleged class is entitled to any relief. AHM denies any remaining allegations in this

26   paragraph.

27

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                                          COUNT TEN:
1                      VIOLATIONS OF THE IOWA PRIVATE RIGHT OF ACTION
                                 FOR CONSUMER FRAUDS ACT
2                                      (Iowa Code § 714H)
                                   (On Behalf of the Iowa Class)
3
             384. Plaintiffs reallege and incorporate by reference all preceding allegations as though fully
4
     set forth herein.
5
             ANSWER: AHM reasserts and incorporates by reference its answers to all preceding
6
     allegations as though fully set forth herein.
7
             385. Plaintiff Jones brings this claim individually and on behalf of the other members of the
8
     Iowa Class.
9
             ANSWER: AHM admits that Jones purports to bring this claim individually and on behalf
10
     of other putative members of an alleged class, but denies that the claim is amenable to class treatment.
11
     AHM denies the remaining allegations in this paragraph.
12
             386. The Iowa “Private Right of Action for Consumer Frauds Act” (“Iowa CFA”), IOWA
13
     CODE §714H, prohibits unfair and deceptive trade practices in the sale, lease, or advertisement of a
14
     product or service, and in the solicitation of charitable contributions. The Iowa CFA’s purpose is to
15
     protect consumers against these unfair and deceptive business practices, and to provide efficient and
16
     economical procedures to secure such protection.
17
             ANSWER: This paragraph does not contain factual allegations requiring a response. To the
18
     extent a response is required, the Iowa Private Right of Action for Consumer Frauds Act (“Iowa
19
     CFA”) and Iowa Code § 714H speak for themselves and AHM denies the remaining allegations in
20
     this paragraph.
21
             387. Specifically, Plaintiffs allege that Honda has violated the Iowa CFA by engaging in the
22
     unfair and/or deceptive acts and practices set forth within the Iowa CFA. Honda knew prior to the
23
     sale or lease of the Class Vehicles that the Class Vehicles suffered from an inherent defect, were
24
     defectively designed or manufactured, would fail prematurely, and were not suitable for their
25
     intended use. Honda’s unfair and deceptive business practices in carrying out the marketing program
26
     described above were and are intended to, and did and do, result in the purchase of Honda’s products
27
     by consumers, including Plaintiffs, in violation of the Iowa CFA.
28
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1            ANSWER: AHM denies the allegations in this paragraph, including the existence of the

2    alleged defect and any conduct that violated this statute.

3            388. Plaintiffs’ rights as consumers to bring this action at law derives from the Iowa CFA.

4    The Iowa legislature enacted the Iowa CFA to allow Iowa consumers who have been victimized by

5    an unfair or deceptive trade business practice to obtain damages and other such equitable relief as the

6    Court deems necessary to protect the public from further violations.

7            ANSWER: This paragraph does not contain factual allegations requiring a response. To the

8    extent a response is required, Iowa CFA speaks for itself and AHM denies the remaining allegations

9    in this paragraph.

10           389. As a result of Honda’s unfair and/or deceptive business practices, Plaintiffs and all

11   purchasers of Honda’s products have lost money in that they paid for products that did not have the

12   benefit as represented. Plaintiffs seek and are entitled to an Order enjoining Honda from continuing

13   to engage in the unfair and deceptive business practices alleged herein.

14           ANSWER: AHM denies the allegations in this paragraph, including any conduct that

15   violated this statute, that Plaintiffs or any putative member of the alleged class was injured or lost

16   money because of AHM, and that Plaintiffs or any putative member of the alleged class is entitled to

17   any relief.

18           390. Plaintiff Jones and his counsel have sought and have obtained the approval to bring this

19   claim pursuant to IOWA CODE §714H.7.
20           ANSWER: AHM lacks knowledge or information sufficient to form a belief about the truth

21   of the allegations in this paragraph and therefore denies the allegations.

22                                COUNT ELEVEN:
         VIOLATION OF FLORIDA’S UNFAIR & DECEPTIVE TRADE PRACTICES ACT
23                           (Fla. Stat. §§ 501.201, et seq.)
                            (On Behalf of the Florida Class)
24

25           391. Plaintiffs reallege and incorporate by reference all preceding allegations as though fully

26   set forth herein.

27           ANSWER: AHM reasserts and incorporates by reference its answers to all preceding

28   allegations as though fully set forth herein.
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1           392. Plaintiffs Pazanki, Tessinari, and Ferreira bring this claim on behalf of themselves and

2    the Florida Class.

3           ANSWER: AHM admits that Pazanki, Tessinari, and Ferreira purport to bring this claim

4    individually and on behalf of other putative members of an alleged class, but denies that the claim is

5    amenable to class treatment. AHM denies the remaining allegations in this paragraph.

6           393. Plaintiffs and the Florida Class members are “consumers” within the meaning of FLA.

7    STAT. §501.203(7).

8           ANSWER: This paragraph does not contain factual allegations requiring a response. To the

9    extent a response is required, Fla. Stat. § 501.203(7) speaks for itself and AHM denies the remaining

10   allegations in this paragraph.

11          394. Honda is engaged in “trade” or “commerce” within the meaning of FLA. STAT.

12   §501.203(8).

13          ANSWER: This paragraph does not contain factual allegations requiring a response. To the

14   extent a response is required, Fla. Stat. § 501.203(8) speaks for itself and AHM denies the remaining

15   allegations in this paragraph.

16          395. The Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”) makes unlawful

17   “[u]nfair methods of competition, unconscionable acts or practices, and unfair or deceptive acts or

18   practices in the conduct of any trade or commerce.” FLA. STAT. §501.204(1).

19          ANSWER: This paragraph does not contain factual allegations requiring a response. To the
20   extent a response is required, Fla. Stat. § 501.204(1) speaks for itself and AHM denies the remaining

21   allegations in this paragraph.

22          396. In the course of its business, Honda violated the Florida FDUTPA by knowingly

23   misrepresenting and/or intentionally concealing material facts regarding the quality, safety, and

24   reliability of the Class Vehicles, including the existence of the Defect, and the existence of a

25   permanent and reliable repair for the Defect. Specifically, in marketing, offering for sale/lease, and

26   selling/leasing the defective Class Vehicles, Honda engaged in one or more of the following unfair

27   or deceptive acts or practices prohibited by FLA. STAT. §501.204(1):

28
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1            (a)      representing that the Class Vehicles have characteristics or benefits that they do not

2    have;

3            (b)      representing that the Class Vehicles are of a particular standard and quality when they

4    are not;

5            (c)      advertising the Class Vehicles with the intent not to sell them as advertised;

6            (d)      engaging in other conduct which created a likelihood of confusion or of

7    misunderstanding; and/or

8            (e)      using    or   employing   deception,    fraud,   false   pretense,   false   promise,   or

9    misrepresentation, or the concealment, suppression, or omission of a material fact with intent that

10   others rely upon such concealment, suppression, or omission, in connection with the advertisement

11   and sale or lease of the Class Vehicles.

12              ANSWER: AHM denies the allegations in this paragraph, including the existence of the

13   alleged defect and any conduct that violated this statute.

14              397. Honda’s scheme and concealment of the true characteristics of the Class Vehicles were

15    material to Plaintiffs and the Florida Class, and Honda misrepresented, concealed, or failed to disclose

16    the truth with the intention that Plaintiffs and the Florida Class would rely on the misrepresentations,

17    concealments, and omissions. Had they known the truth, Plaintiffs and the Florida Class would not

18    have purchased or leased the Class Vehicles, or would have paid significantly less for them.

19              ANSWER: AHM denies the allegations in this paragraph, including any conduct that
20   violated this statute.

21              398. Plaintiffs and the Florida Class members had no way of discerning that Honda’s

22    representations were false and misleading, or otherwise learning the facts that Honda had concealed

23    or failed to disclose.

24              ANSWER: AHM denies the allegations in this paragraph, including any conduct that

25   violated this statute.

26              399. Honda had an ongoing duty to Plaintiffs and the Florida Class members to refrain from

27    unfair and deceptive practices under the Florida FDUTPA in the course of its business. Specifically,

28    Honda owed Plaintiffs and the Florida Class members a duty to disclose all the material facts
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1    concerning the Class Vehicles because it possessed exclusive knowledge, it intentionally concealed

2    such material facts from Plaintiffs and the Florida Class members, and/or it made misrepresentations

3    that were rendered misleading because they were contradicted by withheld facts.

4            ANSWER: AHM denies the allegations in this paragraph, including any conduct that

5    violated this statute.

6            400. Plaintiffs and the Florida Class members suffered ascertainable loss and actual damages

7    as a direct and proximate result of Honda’s concealment, misrepresentations, and/or failure to

8    disclose material information.

9            ANSWER: AHM denies the allegations in this paragraph, including any conduct that

10   violated this statute and that Plaintiffs or any putative member of the alleged class was damaged by

11   AHM.

12           401. Plaintiffs, on behalf of themselves and the Class, seek monetary damages, costs,

13   attorneys’ fees, and such other and further relief provided by law and equity.

14           ANSWER: AHM admits that Plaintiffs seek damages and other relief, but denies that they

15   or any putative member of the alleged class is entitled to any relief. AHM denies any remaining

16   allegations in this paragraph.

17                                     COUNT TWELVE:
                   BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
18                             (Fla. Stat. §§ 672.314 and 680.212)
                                (On Behalf of the Florida Class)
19
20           402. Plaintiffs reallege and incorporate by reference all preceding allegations as though fully

21   set forth herein.

22           ANSWER: This paragraph does not require a response because the Court dismissed the

23   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

24   follows: AHM reasserts and incorporates by reference its answers to all preceding allegations as

25   though fully set forth herein.

26           403. Plaintiffs Pazanki, Tessinari, and Ferreira bring this claim on behalf of themselves and

27   the Florida Class.

28
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1           ANSWER: This paragraph does not require a response because the Court dismissed the

2    claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

3    follows: AHM admits that Pazanki, Tessinari, and Ferreira purport to bring this claim individually

4    and on behalf of other putative members of an alleged class, but denies that the claim is amenable to

5    class treatment. AHM denies the remaining allegations in this paragraph.

6           404. This cause of action is brought on behalf of the Florida Class against Defendant

7           ANSWER: This paragraph does not require a response because the Court dismissed the

8    claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

9    follows: AHM admits that Pazanki, Tessinari, and Ferreira purport to bring this claim individually

10   and on behalf of other putative members of an alleged class, but denies that the claim is amenable to

11   class treatment. AHM denies the remaining allegations in this paragraph.

12          405. Honda is and was, at all relevant times, a “merchant” with respect to the Class Vehicles

13   under FLA. STAT. §§672.104(1) and 680.1031(1)(t), and a “seller” of the Class Vehicles under FLA.

14   STAT. §672.103(1)(d).

15          ANSWER: This paragraph does not require a response because the Court dismissed the

16   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

17   follows: This paragraph does not contain factual allegations requiring a response. To the extent a

18   response is required, Fla. Stat. §§ 672.104(1) and 680.1031(1)(t) speak for themselves and AHM

19   denies the remaining allegations in this paragraph.
20          406. With respect to leases, Honda is and was, at all relevant times, a “lessor” of motor

21   vehicles under FLA. STAT. §680.1031(1)(p)

22          ANSWER: This paragraph does not require a response because the Court dismissed the

23   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

24   follows: This paragraph does not contain factual allegations requiring a response. To the extent a

25   response is required, Fla. Stat. § 680.1031(1)(p) speaks for itself and AHM denies the remaining

26   allegations in this paragraph.

27          407. The Class Vehicles are and were, at all relevant times, “goods” within the meaning of

28   FLA. STAT. §§672.105(1) and 680.1031(1)(h).
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1           ANSWER: This paragraph does not require a response because the Court dismissed the

2    claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

3    follows: This paragraph does not contain factual allegations requiring a response. To the extent a

4    response is required, Fla. Stat. §§ 672.105(1) and 680.1031(1)(h) speak for themselves and AHM

5    denies the remaining allegations in this paragraph.

6           408. A warranty that the Class Vehicles were in merchantable condition and fit for the

7    ordinary purpose for which vehicles are used is implied by law pursuant to FLA. STAT.

8    §§672.314(2)(c) and 680.212(2)(c).

9           ANSWER: This paragraph does not require a response because the Court dismissed the

10   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

11   follows: This paragraph does not contain factual allegations requiring a response. To the extent a

12   response is required, Fla. Stat. §§ 672.314(2)(c) and 680.212(2)(c) speak for themselves and AHM

13   denies the remaining allegations in this paragraph.

14          409. Honda was provided notice of the issues raised in this Count and this Complaint, as

15   detailed above.

16          ANSWER: This paragraph does not require a response because the Court dismissed the

17   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

18   follows: AHM denies the allegations in this paragraph.

19          410. As a direct and proximate result of Defendant’s breach of the implied warranty of
20   merchantability, Florida Class members have been damaged in an amount to be proven at trial.

21          ANSWER: This paragraph does not require a response because the Court dismissed the

22   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

23   follows: AHM denies the allegations in this paragraph, including that Plaintiffs or any putative

24   member of the alleged class was damaged by AHM.

25          411. Plaintiffs, on behalf of themselves and the Class, seek monetary damages, costs,

26   attorneys’ fees, and such other and further relief provided by law and equity.

27          ANSWER: This paragraph does not require a response because the Court dismissed the

28   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as
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1    follows: AHM admits that Plaintiffs seek damages and other relief, but denies that they or any putative

2    member of the alleged class is entitled to any relief. AHM denies any remaining allegations in this

3    paragraph.

4                                   COUNT THIRTEEN:
                  BREACH OF THE DECEPTIVE ACTS AND PRACTICES STATUTE
5                             (N.Y. Gen. Bus. Law §§ 349 et seq.)
                              (On Behalf of the New York Class)
6

7            412. Plaintiffs reallege and incorporate by reference all preceding allegations as though fully

8    set forth herein.

9            ANSWER: AHM reasserts and incorporates by reference its answers to all preceding

10   allegations as though fully set forth herein.

11           413. This Count is brought on behalf of the New York Class against Defendant.

12           ANSWER: AHM admits that Plaintiffs purport to bring this claim individually and on

13   behalf of other putative members of an alleged class, but denies that the claim is amenable to class

14   treatment. AHM denies the remaining allegations in this paragraph.

15           414. The New York Class members and Defendant are “persons” under N.Y. GEN. Bus.

16   LAW §349(h), the New York Consumer Protection From Deceptive Acts and Practices statute (“NY

17   DAP”).

18           ANSWER: This paragraph does not contain factual allegations requiring a response. To the

19   extent a response is required, N.Y. Gen. Bus. Law §349(h) speaks for itself and AHM denies the
20   remaining allegations in this paragraph.

21           415. Defendant’s actions as set forth herein occurred in the conduct of trade or commerce

22   under the NY DAP

23           ANSWER: This paragraph does not contain factual allegations requiring a response. To the

24   extent a response is required, the New York Consumer Protection from Deceptive Acts and Practices

25   statute (“NY DAP”) speaks for itself and AHM denies the remaining allegations in this paragraph.

26           416. The NY DAP makes unlawful “[d]eceptive acts or practices in the conduct of any

27   business, trade or commerce.” N.Y. GEN. Bus. LAW §349. Defendant’s conduct, as set forth herein,

28   constitutes deceptive acts or practices under this section. As alleged in more detail herein, at the time
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1    that Honda warranted and sold or leased the Class Vehicles, it knew that the Class Vehicles did not

2    conform to the warranty and were inherently defective, and Defendant improperly concealed material

3    facts regarding its Class Vehicles. Plaintiffs and other Class members were therefore induced to

4    purchase or lease the Class Vehicles under false pretenses.

5            ANSWER: The NY DAP speaks for itself, and to the extent the allegations in this paragraph

6    vary therewith, AHM denies the allegations. AHM denies the remaining allegations in this paragraph,

7    including the existence of the alleged defect and any conduct that violated this statute.

8            417. New York Class members had no way of knowing that Defendant’s representations

9    were false and misleading, and that the battery on their Class Vehicles suffered from the Defect.

10           ANSWER: AHM denies the allegations in this paragraph, including the existence of the

11   alleged defect and any alleged fraudulent conduct by AHM.

12           418. Defendant thus violated the NY DAP by, at minimum: (a) representing that Class

13   Vehicles have characteristics, uses, benefits, and qualities which they do not have; (b) representing

14   that Class Vehicles are of a particular standard, quality, and grade when they are not; (c) advertising

15   Class Vehicles with the intent not to sell or lease them as advertised; and (d) representing that the

16   subject of a transaction involving Class Vehicles has been supplied in accordance with a previous

17   representation when it has not.

18           ANSWER: AHM denies the allegations in this paragraph, including any conduct that

19   violated this statute.
20           419. Defendant intentionally and knowingly misrepresented material facts regarding the

21   Class Vehicles with intent to mislead the New York Class.

22           ANSWER: AHM denies the allegations in this paragraph, including any conduct that

23   violated this statute.

24           420. Defendant knew or should have known that their conduct violated the NY DAP.

25           ANSWER: AHM denies the allegations in this paragraph, including any conduct that

26   violated this statute.

27           421. Defendant owed the New York Class a duty to disclose the true nature of the Class

28   Vehicles, because Defendant:
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1           (a)      possessed exclusive knowledge that they were manufacturing, selling, and distributing

2    vehicles throughout the United States that did not perform as advertised;

3           (b)      intentionally concealed the foregoing from Plaintiffs, and/or Class members; and/or

4           (c)      made incomplete representations about the Class Vehicles generally, and the safety and

5    reliability of the Class Vehicles, in particular, while purposefully withholding material facts from

6    Plaintiffs and the Class that contradicted these representations.

7            ANSWER: AHM denies the allegations in this paragraph, including any conduct that

8    violated this statute.

9            422. Defendant’s false and misleading statements about the Class Vehicles were material to

10   Plaintiffs and to the New York Class

11           ANSWER: AHM denies the allegations in this paragraph, including any conduct that

12   violated this statute.

13           423. Defendant’s unfair or deceptive acts or practices were likely to and did, in fact, deceive

14   reasonable consumers, including the New York Class members, about the safety, quality, and

15   reliability of their Class Vehicles, and the true value of the Class Vehicles.

16           ANSWER: AHM denies the allegations in this paragraph, including any conduct that

17   violated this statute.

18           424. Defendant’s violations present a continuing risk to the New York Class, as well as to

19   the general public. Defendant’s unlawful acts and practices complained of herein affect the public
20   interest.

21           ANSWER: AHM denies the allegations in this paragraph, including any conduct that

22   violated this statute.

23           425. New York Class members suffered ascertainable loss and actual damages as a direct

24   and proximate result of Defendant’s misrepresentations and its concealment of and failure to disclose

25   material information. Defendant had an ongoing duty to all their customers to refrain from unfair and

26   deceptive practices under the NY DAP. All owners of Class Vehicles suffered ascertainable loss as a

27   result of Defendant’s deceptive and unfair acts and practices made in the course of Defendant’s

28   business.
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1            ANSWER: AHM denies the allegations in this paragraph, including that Plaintiffs or any

2    putative member of the alleged class was damaged by AHM.

3            426. As a direct and proximate result of Defendant’s violations of the NY DAP, New York

4    Class members have suffered injury-in-fact and/or actual damage.

5            ANSWER: AHM denies the allegations in this paragraph, including that Plaintiffs or any

6    putative member of the alleged class was injured by AHM.

7            427. As a result of the foregoing willful, knowing, and wrongful conduct of Defendant, New

8    York Class members have been damaged in an amount to be proven at trial, and seek all just and

9    proper remedies, including, but not limited to, actual damages or $50, whichever is greater, treble

10   damages up to $1,000, punitive damages to the extent available under the law, reasonable attorneys’

11   fees and costs, an Order enjoining Defendant’s deceptive and unfair conduct, and all other just and

12   appropriate relief available under the NY DAP.

13           ANSWER: AHM admits that Plaintiffs seek damages and other relief, but denies that they

14   or any putative member of the alleged class is entitled to any relief. AHM denies the remaining

15   allegations in this paragraph, including any conduct that violated this statute and that Plaintiffs or any

16   putative member of the alleged class was damaged by AHM.

17           428. Plaintiffs, on behalf of themselves and the Class, seek monetary damages, costs,

18   attorneys’ fees, and such other and further relief provided by law and equity.

19           ANSWER: AHM admits that Plaintiffs seek damages and other relief, but denies that they
20   or any putative member of the alleged class is entitled to any relief. AHM denies any remaining

21   allegations in this paragraph.

22                                  COUNT FOURTEEN:
                   BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
23                          (N.Y. U.C.C. Law §§ 2-314 and 2-A-212)
                               (On Behalf of the New York Class)
24

25           429. Plaintiffs reallege and incorporate by reference all preceding allegations as though fully

26   set forth herein.

27           ANSWER: This paragraph does not require a response because the Court dismissed the

28   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as
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1    follows: AHM reasserts and incorporates by reference its answers to all preceding allegations as

2    though fully set forth herein.

3           430. This Count is brought on behalf of the New York Class against Defendant

4           ANSWER: This paragraph does not require a response because the Court dismissed the

5    claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

6    follows: AHM admits that Plaintiffs purport to bring this claim individually and on behalf of other

7    putative members of an alleged class, but denies that the claim is amenable to class treatment. AHM

8    denies the remaining allegations in this paragraph.

9           431. Defendant is and was, at all relevant times, a “merchant” with respect to motor vehicles

10   under N.Y. U.C.C. LAW §2-104(1), and a “seller” of motor vehicles under N.Y. U.C.C. LAW §2-

11   103(1)(d).

12          ANSWER: This paragraph does not require a response because the Court dismissed the

13   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

14   follows: This paragraph does not contain factual allegations requiring a response. To the extent a

15   response is required, N.Y. U.C.C. Law §§ 2-103(1)(d) and 2-104(1) speak for themselves and AHM

16   denies the remaining allegations in this paragraph.

17          432. With respect to leases, Defendant is and was, at all relevant times, a “lessor” of motor

18   vehicles under N.Y. U.C.C. LAW §2-A-103(1)(p).

19          ANSWER: This paragraph does not require a response because the Court dismissed the
20   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

21   follows: This paragraph does not contain factual allegations requiring a response. To the extent a

22   response is required, N.Y. U.C.C. Law § 2-A-103(1)(p) speaks for itself and AHM denies the

23   remaining allegations in this paragraph.

24          433. The Class Vehicles are and were, at all relevant times, “goods” within the meaning of

25   N.Y. U.C.C. LAW §§2-105(1) and 2-A-103(1)(h).

26          ANSWER: This paragraph does not require a response because the Court dismissed the

27   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

28   follows: This paragraph does not contain factual allegations requiring a response. To the extent a
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1    response is required, N.Y. U.C.C. Law § 2-A-103(1)(h) speaks for itself and AHM denies the

2    remaining allegations in this paragraph.

3           434. A warranty that the Class Vehicles were in merchantable condition and fit for the

4    ordinary purpose for which vehicles are used is implied by law pursuant to N.Y. U.C.C. LAW

5    §§2¬314(2)(c) and 2-A-212(2)(c).

6           ANSWER: This paragraph does not require a response because the Court dismissed the

7    claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

8    follows: This paragraph does not contain factual allegations requiring a response. To the extent a

9    response is required, N.Y. U.C.C. Law §§ 2-103(2)(c) and 2-A-212(2)(c) speak for themselves and

10   AHM denies the remaining allegations in this paragraph.

11          435. These Class Vehicles, when sold or leased and at all times thereafter, were subject to

12   the Defect, and were therefore not fit for the ordinary purpose for which vehicles are used.

13          ANSWER: This paragraph does not require a response because the Court dismissed the

14   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

15   follows: AHM denies the allegations in this paragraph, including the existence of the alleged defect.

16          436. Defendant was provided notice of these issues by complaints filed with NHTSA, and

17   the instant Complaint, within a reasonable amount of time.

18          ANSWER: This paragraph does not require a response because the Court dismissed the

19   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as
20   follows: AHM denies the allegations in this paragraph.

21          437. As a direct and proximate result of Defendant’s breach of the implied warranty of

22   merchantability, New York Class members have been damaged in an amount to be proven at trial.

23          ANSWER: This paragraph does not require a response because the Court dismissed the

24   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

25   follows: This paragraph does not contain factual allegations requiring a response. To the extent a

26   response is required, AHM denies the allegations in this paragraph, including that Plaintiffs or any

27   putative member of the alleged class was damaged by AHM.

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1           438. Plaintiffs, on behalf of themselves and the Class, seek monetary damages, costs,

2    attorneys’ fees, and such other and further relief provided by law and equity.

3           ANSWER: This paragraph does not require a response because the Court dismissed the

4    claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

5    follows: AHM admits that Plaintiffs seek damages and other relief, but denies that they or any putative

6    member of the alleged class is entitled to any relief. AHM denies any remaining allegations in this

7    paragraph.

8                                     COUNT FIFTEEN:
                   BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
9                           (Ariz. Rev. Stat. §§ 47-2314 & 47-2A212)
                                (On Behalf of the Arizona Class)
10
            439. Plaintiff Rapp realleges and incorporates by reference all preceding allegations as
11
     though fully set forth herein.
12
            ANSWER: This paragraph does not require a response because the Court dismissed the
13
     claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as
14
     follows: AHM reasserts and incorporates by reference its answers to all preceding allegations as
15
     though fully set forth herein.
16
            440. Plaintiff Rapp brings this claim individually and on behalf of the other members of the
17
     Arizona Class.
18
            ANSWER: This paragraph does not require a response because the Court dismissed the
19
     claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as
20
     follows: AHM admits that Rapp purports to bring this claim individually and on behalf of other
21
     putative members of an alleged class, but denies that the claim is amenable to class treatment. AHM
22
     denies the remaining allegations in this paragraph.
23
            441. Honda is a “merchant” (as defined by ARIZ. REV. STAT. §47-2104(A)), a “seller” (as
24
     defined by ARIZ. REV. STAT. §47-2103(A)(4)), and a “lessor” (as defined by ARIZ. REV. STAT.
25
     §47-2A103(A)(16)) of Class Vehicles.
26
            ANSWER: This paragraph does not require a response because the Court dismissed the
27
     claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as
28
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1    follows: This paragraph does not contain factual allegations requiring a response. To the extent a

2    response is required, Ariz. Rev. Stat. §§ 47-2103(A)(4), 47-2A103(A)(16), and 47-2104(A) speak for

3    themselves and AHM denies the remaining allegations in this paragraph.

4           442. The Class Vehicles are “goods” (as defined by ARIZ. REV. STAT. §47-2105(A) and

5    ARIZ. REV. STAT. §47-2A103(A)(8)).

6           ANSWER: This paragraph does not require a response because the Court dismissed the

7    claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

8    follows: This paragraph does not contain factual allegations requiring a response. To the extent a

9    response is required, Ariz. Rev. Stat. §§ 47-2103(A)(8) and 47-2105(A) speak for themselves and

10   AHM denies the remaining allegations in this paragraph.

11          443. A warranty that the Class Vehicles were in merchantable condition and fit for the

12   ordinary purpose for which vehicles are used is implied by law pursuant to ARIZ. REV. STAT.

13   §47¬2314 and ARIZ. REV. STAT. 47-2A212.

14          ANSWER: This paragraph does not require a response because the Court dismissed the

15   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

16   follows: This paragraph does not contain factual allegations requiring a response. To the extent a

17   response is required, Ariz. Rev. Stat. §§ 47-2314 and 47-2A212 speak for themselves and AHM

18   denies the remaining allegations in this paragraph.

19          444. The Class Vehicles when sold or leased and all times thereafter, included the Honda
20   CR-V (model years 2017-2019) or Honda Accord (model years 2016-2019).

21          ANSWER: This paragraph does not require a response because the Court dismissed the

22   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

23   follows: AHM admits that Plaintiffs have defined the alleged Class Vehicles to include Honda CR-V

24   model years 2017–2019 and Honda Accord model years 2016–2019. AHM denies the remaining

25   allegations in this paragraph.

26          445. Defendant was, at all relevant times, the manufacturer, distributor, warrantor, and/or

27   seller of the Class Vehicles. Defendant knew or had reason to know of the specific use for which the

28   Class Vehicles were purchased.
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1           ANSWER: This paragraph does not require a response because the Court dismissed the

2    claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

3    follows: AHM admits that it distributed the alleged Class Vehicles to authorized Honda dealers in the

4    United States. AHM denies the remaining allegations in this paragraph.

5           446. Defendant provided Plaintiff Rapp and other Class members with an implied warranty

6    that the Class Vehicles and any parts thereof are merchantable and fit for the ordinary purposes for

7    which they were sold. However, the Class Vehicles are not fit for their ordinary purpose of providing

8    reasonably reliable and safe transportation at the time of sale or thereafter because, inter alia, the

9    Class Vehicles suffered from the Parasitic Drain Defect at the time of sale that causes various safety

10   features to fail without warning, creates the undue risk of the engine stalling while driving, and results

11   in the premature depletion of batteries and alternators. Therefore, the Class Vehicles are not fit for

12   their particular purpose of providing safe and reliable transportation.

13          ANSWER: This paragraph does not require a response because the Court dismissed the

14   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

15   follows: AHM denies the allegations in this paragraph, including the existence of the alleged defect.

16          447. Defendant impliedly warranted that the Class Vehicles were of merchantable quality

17   and fit for such use. This implied warranty included, among other things, a warranty that the Class

18   Vehicles were manufactured, supplied, distributed, and/or sold by Defendant, were safe and reliable

19   for providing transportation, and would not result in the premature failure of its batteries.
20          ANSWER: This paragraph does not require a response because the Court dismissed the

21   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

22   follows: AHM denies the allegations in this paragraph.

23          448. Contrary to the applicable implied warranties, the Class Vehicles at the time of sale and

24   thereafter were not fit for their ordinary and intended purpose of providing Plaintiff Rapp and other

25   Class members with reliable, durable, and safe transportation. Instead, the Class Vehicles suffer from

26   a defective design(s) and/or manufacturing defect(s).

27

28
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1           ANSWER: This paragraph does not require a response because the Court dismissed the

2    claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

3    follows: AHM denies the allegations in this paragraph, including the existence of the alleged defect.

4           449. Defendant knew or had reason to know of these material facts, and wrongfully and

5    fraudulently concealed these material facts from Plaintiff Rapp and the Class. Defendant was

6    provided notice of these issues by, inter alia, complaints lodged by consumers with NHTSA—which

7    Defendant routinely monitors—before or within a reasonable amount of time after the allegations of

8    the Defect became public.

9           ANSWER: This paragraph does not require a response because the Court dismissed the

10   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

11   follows: AHM denies the allegations in this paragraph, including the existence of the alleged defect

12   and any alleged fraudulent conduct by AHM.

13          450. Defendant’s actions, as complained of herein, breached the implied warranty that the

14   Class Vehicles were of merchantable quality and fit for such use.

15          ANSWER: This paragraph does not require a response because the Court dismissed the

16   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

17   follows: AHM denies the allegations in this paragraph.

18          451. Plaintiff Rapp and other Class members have had sufficient direct dealings with either

19   Defendant or its agents (e.g., dealerships, consumer affairs departments, and technical support) to
20   establish privity of contract between Defendant on one hand, and Plaintiff Rapp and each of the other

21   Class members on the other hand. Nonetheless, privity is not required here because Plaintiff Rapp

22   and each of the other Class members are intended third-party beneficiaries of contracts between

23   Defendant and their dealers, and specifically, of Defendant’s implied warranties. The dealers were

24   not intended to be the ultimate consumers of the Class Vehicles and have no rights under the warranty

25   agreements provided with the Class Vehicles; the warranty agreements were designed for and

26   intended to benefit the consumers only. Defendant was also aware that the ultimate consumers of the

27   Class Vehicles (i.e., the Class) required vehicles that would function safely, could be relied upon, and

28   otherwise meet minimum industry standards. Additionally, privity is excused here because Plaintiff
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1    Rapp and each of the other Class members relied on statements made by Defendant itself in choosing

2    to purchase or lease a Class Vehicle. As alleged herein, the marketing of the Class Vehicles was

3    uniform, and was controlled and disseminated directly by Defendant.

4           ANSWER: This paragraph does not require a response because the Court dismissed the

5    claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

6    follows: This paragraph does not contain factual allegations requiring a response. To the extent a

7    response is required, AHM denies the allegations in this paragraph.

8           452. Plaintiff Rapp, on behalf of himself and the Class, seeks monetary damages, treble

9    damages, costs, attorneys’ fees, and such other and further relief provided by law and equity.

10          ANSWER: This paragraph does not require a response because the Court dismissed the

11   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

12   follows: AHM admits that Plaintiffs seek damages and other relief, but denies that they or any putative

13   member of the alleged class is entitled to any relief. AHM denies any remaining allegations in this

14   paragraph.

15                                     COUNT SIXTEEN:
                       BREACH OF THE ARIZONA CONSUMER FRAUD ACT
16                             (Ariz. Rev. Stat. §§ 44-1521, et seq.)
                                (On Behalf of the Arizona Class)
17

18          453. Plaintiff Rapp realleges and incorporates by reference all preceding allegations as

19   though fully set forth herein.
20          ANSWER: AHM reasserts and incorporates by reference its answers to all preceding

21   allegations as though fully set forth herein.

22          454. Plaintiff Rapp brings this claim individually and on behalf of the other members of the

23   Arizona Class.

24          ANSWER: AHM admits that Rapp purports to bring this claim individually and on behalf

25   of other putative members of an alleged class, but denies that the claim is amenable to class treatment.

26   AHM denies the remaining allegations in this paragraph.

27

28
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1           455. Plaintiff Rapp, Class members, and Honda are each “persons” as defined by ARIZ.

2    REV. STAT. §44-1521(6). The Class Vehicles are “merchandise” as defined by ARIZ. REV. STAT.

3    §44-1521(5).

4           ANSWER: This paragraph does not contain factual allegations requiring a response. To the

5    extent a response is required, Ariz. Rev. Stat. §§ 44-1521(5) and (6) speak for themselves and AHM

6    denies the remaining allegations in this paragraph.

7           456. The Arizona Consumer Fraud Act (“Arizona CFA”) declares as an unlawful practice

8    “[t]he act, use or employment by any person of any deception, deceptive or unfair act or practice,

9    fraud, false pretense, false promise, misrepresentation, or concealment, suppression or omission of

10   any material fact with intent that others rely on such concealment, suppression or omission, in

11   connection with the sale or advertisement of any merchandise whether or not any person has in fact

12   been misled, deceived or damaged therebv1-.1” ARIZ. REV. STAT. ,44-1522(A).

13          ANSWER: This paragraph does not contain factual allegations requiring a response. To the

14   extent a response is required, the Arizona Consumer Fraud Act (“Arizona CFA”) and Ariz. Rev. Stat.

15   §§ 44-1522(A) speak for themselves and AHM denies the remaining allegations in this paragraph.

16          457. By failing to disclose and actively concealing the Parasitic Drain Defect in the Class

17   Vehicles, Honda engaged in unlawful deceptive business practices prohibited by the Arizona CFA,

18   ARIZ. REV. STAT. §44-1522(A), including engaging in acts or practices which are unfair,

19   misleading, false, or deceptive to the consumer.
20          ANSWER: This paragraph does not contain factual allegations requiring a response. To the

21   extent a response is required, the Arizona CFA and Ariz. Rev. Stat. §§ 44-1522(A) speak for

22   themselves and AHM denies the remaining allegations in this paragraph.

23          458. In purchasing or leasing the Class Vehicles, Plaintiff Rapp and Class members were

24   deceived by Honda’s failure to disclose its knowledge of the Defect, which caused a parasitic drain

25   even when the vehicle’s ignition switch is off. Defendant further concealed the hidden nature of the

26   Parasitic Drain Defect problem by, among other things, telling Class Vehicle drivers that the issue

27   was due to defective batteries. Each of these omissions contributed to the deceptive context of

28   Honda’s unlawful advertising and representations as a whole.
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1            ANSWER: AHM denies the allegations in this paragraph, including the existence of the

2    alleged defect and any conduct that violated this statute.

3            459. Plaintiff Rapp and Class members reasonably relied upon Honda’s false

4    misrepresentations and omissions. They had no way of knowing that Honda’s representations were

5    false, misleading, and incomplete. As alleged herein, Honda engaged in a pattern of deception and

6    public silence in the face of a known Parasitic Drain Defect in its vehicles. Plaintiff Rapp and Class

7    members did not, and could not, unravel Honda’s deception on their own.

8            ANSWER: AHM denies the allegations in this paragraph, including the existence of the

9    alleged defect and any conduct that violated this statute.

10           460. Honda’s actions as set forth above occurred in the conduct of trade or commerce.

11           ANSWER: AHM denies the allegations in this paragraph.

12           461. Honda’s unfair or deceptive acts or practices were likely to and did, in fact, deceive

13   reasonable consumers.

14           ANSWER: AHM denies the allegations in this paragraph, including any conduct that

15   violated this statute.

16           462. Honda knew that the Class Vehicles were defectively designed or manufactured, and

17   prone to create a parasitic electricity drain.

18           ANSWER: AHM denies the allegations in this paragraph, including the existence of the

19   alleged defect and any conduct that violated this statute.
20           463. Honda intentionally and knowingly misrepresented material facts regarding the Class

21   Vehicles with intent to mislead Plaintiff Rapp and Class members

22           ANSWER: AHM denies the allegations in this paragraph, including any conduct that

23   violated this statute.

24           464. Honda knew or should have known that its conduct violated ARIZ. REV. STAT. §44-

25   1521.

26           ANSWER: AHM denies the allegations in this paragraph.

27           465. Honda owed Plaintiff Rapp and Class members a duty to disclose the truth about the

28   Parasitic Drain Defect in the Class Vehicles because the Defect created a safety hazard and Honda:
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1    (a) possessed exclusive knowledge of the Defect in the Class Vehicles; (b) intentionally concealed

2    the foregoing from Plaintiff Rapp and the Class; and/or (c) made incomplete representations in

3    advertisements and on its website, failing to warn the public or to publicly admit that the Class

4    Vehicles contained the Parasitic Drain Defect.

5           ANSWER: AHM denies the allegations in this paragraph, including the existence of the

6    alleged defect and any conduct that violated this statute.

7           466. Honda had a duty to disclose that the Class Vehicles contained the Parasitic Drain

8    Defect, as described herein, because the Defect created a safety hazard, and Plaintiff Rapp and Class

9    members relied on Honda’s material misrepresentations and omissions regarding the reliability,

10   performance, and safety found in the Class Vehicles.

11          ANSWER: AHM denies the allegations in this paragraph, including the existence of the

12   alleged defect and any conduct that violated this statute.

13          467. Honda’s conduct proximately caused injuries to Plaintiff Rapp and Class members that

14   purchased the Class Vehicles and suffered harm as alleged herein.

15          ANSWER: AHM denies the allegations in this paragraph, including that Plaintiffs or any

16   putative member of the alleged class was injured by AHM.

17          468. Plaintiff Rapp and Class members were injured and suffered ascertainable loss, injury-

18   in-fact, and/or actual damage as a proximate result of Honda’s conduct in that Plaintiff Rapp and

19   Class members incurred costs related to the Parasitic Drain Defect, including replacement of electrical
20   components and service costs, and overpaid for their Class Vehicles that have suffered a diminution

21   in value.

22          ANSWER: AHM denies the allegations in this paragraph, including the existence of the

23   alleged defect and that Plaintiffs or any putative member of the alleged class was injured or lost

24   money because of AHM.

25          469. Plaintiff Rapp and Class members sustained damages as a result of Honda’s unlawful

26   acts and are, therefore, entitled to damages and other relief as provided under the Arizona CFA

27          ANSWER: AHM denies the allegations in this paragraph, including the existence of the

28   alleged defect, that Plaintiffs or any putative member of the alleged class was injured or lost money
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1    because of AHM, and that Plaintiffs or any putative member of the alleged class is entitled to any

2    relief.

3              470. Plaintiff Rapp and Class members also seek court costs and attorneys’ fees as a result

4    of Honda’s violation of the Arizona CFA, pursuant to ARIZ. REV. STAT. §12-341.01.

5              ANSWER: AHM admits that Plaintiffs seek certain relief, but denies that they or any

6    putative member of the alleged class is entitled to any relief. AHM denies any remaining allegations

7    in this paragraph.

8                                   COUNT SEVENTEEN:
               VIOLATIONS OF THE NEVADA DECEPTIVE TRADE PRACTICES ACT
9                           (Nev. Rev. Stat. Ann. §§ 598.0903, et seq.)
                                (On Behalf of the Nevada Class)
10
               471. Plaintiff Rapp realleges and incorporates by reference all preceding allegations as
11
     though fully set forth herein.
12
               ANSWER: AHM reasserts and incorporates by reference its answers to all preceding
13
     allegations as though fully set forth herein.
14
               472. Plaintiff Rapp brings this claim individually and on behalf of the other members of the
15
     Nevada Class.
16
               ANSWER: AHM admits that Rapp purports to bring this claim individually and on behalf
17
     of other putative members of an alleged class, but denies that the claim is amenable to class treatment.
18
     AHM denies the remaining allegations in this paragraph.
19
               473. Honda advertised, offered, or sold goods or services in Nevada and engaged in trade or
20
     commerce directly or indirectly affecting the people of Nevada.
21
               ANSWER: AHM admits that it advertised goods sold in Nevada. AHM denies the
22
     remaining allegations in this paragraph.
23
               474. Honda engaged in unfair and deceptive acts in violation of the Nevada Deceptive Trade
24
     Practices Act (“NDTPA”), NEV. REV. STAT. ANN. §§598.0903, et seq,. by the practices described
25
     above, and by knowingly and intentionally concealing from Plaintiffs and Class members that the
26
     Class Vehicles suffer from a defect(s) and the costs, risks, and diminished value of the vehicles as a
27

28
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1    result of this problem. These acts and practices violate, at a minimum, the following sections of the

2    NDTPA:

3           (a)     knowingly making a false representation as to the characteristics, uses, and benefits of

4    goods or services for sale (NEV. REV. STAT. ANN. §598.0915(5));

5           (b)     representing that goods or services for sale are of a particular standard, quality, or grade

6    when Honda knew or should have known that they are of another standard, quality, or grade (NEV.

7    REV. STAT. ANN. §598. 0915 (7));

8           (c)     advertising goods or services with intent not to sell them as advertised (NEV. REV.

9    STAT. ANN. §598.0915(9));

10          (d)     failing to disclose a material fact in connection with the sale of goods or services (NEV.

11   REV. STAT. ANN. §598.0923(2)); and

12          (e)     violating state and federal statutes or regulations relating to the sale of goods or services

13   (NEV. REV. STAT. ANN. §598.0923(3)).

14           ANSWER: AHM denies the allegations in this paragraph, including the existence of the

15   alleged defect and any conduct that violated this statute.

16           475. Honda’s unfair or deceptive acts or practices occurred repeatedly in Honda’s trade or

17   business, were capable of deceiving a substantial portion of the purchasing public, and imposed a

18   serious safety risk on the public.

19           ANSWER: AHM denies the allegations in this paragraph, including any conduct that
20   violated this statute.

21           476. Honda knew that the Class Vehicles were defectively designed or manufactured, would

22   prematurely fail to perform their essential function, and were not suitable for their intended use.

23           ANSWER: AHM denies the allegations in this paragraph, including the existence of the

24   alleged defect and any conduct that violated this statute.

25           477. Honda was under a duty to Plaintiff Rapp and the Class members to disclose the

26   defective nature of the Class Vehicles and the existence of the Parasitic Drain Defect because:

27          (a)     Defendant was in a superior position to know the true state of facts about the Parasitic

28   Drain Defect and associated repair costs in the Class Vehicles;
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1           (b)     Plaintiff Rapp and the Class members could not reasonably have been expected to learn

2    or discover that the Class Vehicles had a Parasitic Drain Defect until manifestation of the Defect;

3           (c)     Defendant knew that Plaintiff Rapp and the Class members could not reasonably have

4    been expected to learn or discover the Parasitic Drain Defect and the associated repair costs that it

5    causes until the manifestation of the Defect; and

6           (d)     Defendant actively concealed the Parasitic Drain Defect and the associated repair costs

7    by knowingly failing to recall Class Vehicles.

8            ANSWER: AHM denies the allegations in this paragraph, including the existence of the

9    alleged defect and any conduct that violated this statute.

10           478. In failing to disclose the Defect and the associated safety risks and repair costs that

11   result from it, Defendant has knowingly and intentionally concealed material facts and breached its

12   duty to disclose.

13           ANSWER: AHM denies the allegations in this paragraph, including the existence of the

14   alleged defect and any conduct that violated this statute.

15           479. The facts concealed or not disclosed by Honda to Plaintiff Rapp and the Class members

16   are material in that a reasonable consumer would have considered them to be important in deciding

17   whether to purchase Defendant’s Class Vehicles or pay a lesser price. Had Plaintiff Rapp and the

18   Class known about the defective nature of the Class Vehicles, they would not have purchased or

19   leased the Class Vehicles or would have paid less for them.
20           ANSWER: AHM denies the allegations in this paragraph, including any conduct that

21   violated this statute.

22           480. Plaintiff Rapp and Class members’ injuries were proximately caused by Honda’s

23   fraudulent and deceptive business practices.

24           ANSWER: AHM denies the allegations in this paragraph, including any conduct that

25   violated this statute and that Plaintiffs or any putative member of the alleged class was injured by

26   AHM.

27           481. Plaintiff Rapp and the Class members seek equitable relief and damages.

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1           ANSWER: AHM admits that Plaintiffs seek damages and other relief, but denies that they

2    or any putative member of the alleged class is entitled to any relief. AHM denies any remaining

3    allegations in this paragraph.

4                                     COUNT EIGHTEEN:
                   BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
5                         (Nev. Rev. Stat. Ann. §§ 104.2314, 104A.2212)
                                 (On Behalf of the Nevada Class)
6

7           482. Plaintiff Rapp realleges and incorporates by reference all preceding allegations as

8    though fully set forth herein.

9           ANSWER: This paragraph does not require a response because the Court dismissed the

10   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

11   follows: AHM reasserts and incorporates by reference its answers to all preceding allegations as

12   though fully set forth herein.

13          483. Plaintiff Rapp brings this claim individually and on behalf of the other members of the

14   Nevada Class.

15          ANSWER: This paragraph does not require a response because the Court dismissed the

16   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

17   follows: AHM admits that Rapp purports to bring this claim individually and on behalf of other

18   putative members of an alleged class, but denies that the claim is amenable to class treatment. AHM

19   denies the remaining allegations in this paragraph.
20          484. Honda is a “merchant” (as defined by NEV. REV. STAT. ANN. §104.2104(1)), a

21   “seller” (as defined by NEV. REV. STAT. ANN. §104.2103 (1)(c)), and a “lessor” (as defined by

22   NEV. REV. STAT. ANN. §104A.2103(1)(p)) of Class Vehicles.

23          ANSWER: This paragraph does not require a response because the Court dismissed the

24   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

25   follows: This paragraph does not contain factual allegations requiring a response. To the extent a

26   response is required, Nev. Rev. Stat. Ann. §§ 104.2103(1)(c), 104.2104(1), and 104A.2103(1)(p)

27   speak for themselves and AHM denies the remaining allegations in this paragraph.

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1             485. The Class Vehicles are “goods” (as defined by NEV. REV. STAT. ANN. §104.2105(1)

2    and NEV. REV. STAT. ANN. §104A.2103(1)(h)).

3             ANSWER: This paragraph does not require a response because the Court dismissed the

4    claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

5    follows: This paragraph does not contain factual allegations requiring a response. To the extent a

6    response is required, Nev. Rev. Stat. Ann. §§ 104.2105(1) and 104A.2103(1)(h) speak for themselves

7    and AHM denies the remaining allegations in this paragraph.

8             486. Pursuant to NEV. REV. STAT. ANN. §104.2314(1), “a warranty that the goods shall

9    be merchantable is implied in a contract for their sale if the seller is a merchant with respect to goods

10   of that kind.”

11            ANSWER: This paragraph does not require a response because the Court dismissed the

12   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

13   follows: This paragraph does not contain factual allegations requiring a response. To the extent a

14   response is required, Nev. Rev. Stat. Ann. § 104.2314(1) speaks for itself and AHM denies the

15   remaining allegations in this paragraph.

16            487. Pursuant to NEV. REV. STAT. ANN. §104A.2212(1), “a warranty that the goods will

17   be merchantable is implied in a lease contract if the lessor is a merchant with respect to goods of that

18   kind.”

19            ANSWER: This paragraph does not require a response because the Court dismissed the
20   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

21   follows: This paragraph does not contain factual allegations requiring a response. To the extent a

22   response is required, Nev. Rev. Stat. Ann. § 104.A2212(1) speaks for itself and AHM denies the

23   remaining allegations in this paragraph.

24            488. Goods are merchantable if they are “fit for the ordinary purposes for which such goods

25   are used” and “[c]onform to the promises or affirmations of fact made on the container or label if

26   any.” NEV. REV. STAT. ANN. §104.2314(2)(c), (f); NEV. REV. STAT. ANN. §104A.2212(2)(c),

27   (f).

28
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1           ANSWER: This paragraph does not require a response because the Court dismissed the

2    claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

3    follows: This paragraph does not contain factual allegations requiring a response. To the extent a

4    response is required, Nev. Rev. Stat. Ann. §§ 104.2314(2)(c), 104.2314(2)(f), 104A.2212(2)(c), and

5    104A.2212(2)(f) speak for themselves and AHM denies the remaining allegations in this paragraph.

6           489. Defendant was, at all relevant times, the manufacturer, distributor, warrantor, and/or

7    seller of the Class Vehicles. Defendant knew or had reason to know of the specific use for which the

8    Class Vehicles were purchased.

9           ANSWER: This paragraph does not require a response because the Court dismissed the

10   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

11   follows: AHM admits that it marketed and distributed the Class Vehicles to authorized Honda dealers

12   in the United States. AHM denies the remaining allegations in this paragraph.

13          490. Defendant provided Plaintiff Rapp and other Class members with an implied warranty

14   that the Class Vehicles and any parts thereof are merchantable and fit for the ordinary purposes for

15   which they were sold. However, the Class Vehicles are not fit for their ordinary purpose of providing

16   reasonably reliable and safe transportation at the time of sale or thereafter because, inter alia, the

17   Class Vehicles suffered from the Parasitic Drain Defect at the time of sale that causes various safety

18   features to fail without warning, creates the undue risk of the engine stalling while driving, and results

19   in the premature depletion of batteries and alternators. Therefore, the Class Vehicles are not fit for
20   their particular purpose of providing safe and reliable transportation.

21          ANSWER: This paragraph does not require a response because the Court dismissed the

22   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

23   follows: AHM denies the allegations in this paragraph, including the existence of the alleged defect.

24          491. Defendant impliedly warranted that the Class Vehicles were of merchantable quality

25   and fit for such use. This implied warranty included, among other things, a warranty that the Class

26   Vehicles were manufactured, supplied, distributed, and/or sold by Defendant, were safe and reliable

27   for providing transportation, and would not result in the premature failure of its batteries.

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1           ANSWER: This paragraph does not require a response because the Court dismissed the

2    claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

3    follows: AHM denies the allegations in this paragraph.

4           492. Contrary to the applicable implied warranties, the Class Vehicles at the time of sale and

5    thereafter were not fit for their ordinary and intended purpose of providing Plaintiff Rapp and other

6    Class members with reliable, durable, and safe transportation. Instead, the Class Vehicles suffer from

7    a defective design(s) and/or manufacturing defect(s).

8           ANSWER: This paragraph does not require a response because the Court dismissed the

9    claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

10   follows: AHM denies the allegations in this paragraph, including the existence of the alleged defect.

11          493. Defendant knew or had reason to know of these material facts, and wrongfully and

12   fraudulently concealed these material facts from Plaintiff Rapp and the Class. Defendant was

13   provided notice of these issues by, inter alia, complaints lodged by consumers with NHTSA—which

14   Defendant routinely monitors — before or within a reasonable amount of time after the allegations

15   of the Defect became public.

16          ANSWER: This paragraph does not require a response because the Court dismissed the

17   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

18   follows: AHM denies the allegations in this paragraph, including the existence of the alleged defect

19   and any alleged fraudulent conduct by AHM.
20          494. Defendant’s actions, as complained of herein, breached the implied warranty that the

21   Class Vehicles were of merchantable quality and fit for such use.

22          ANSWER: This paragraph does not require a response because the Court dismissed the

23   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

24   follows: AHM denies the allegations in this paragraph.

25          495. Plaintiff Rapp and other Class members have had sufficient direct dealings with either

26   Defendant or its agents (e.g., dealerships, consumer affairs departments, and technical support) to

27   establish privity of contract between Defendant on one hand, and Plaintiff Rapp and each of the other

28   Class members on the other hand. Nonetheless, privity is not required here because Plaintiff Rapp
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1    and each of the other Class members are intended third-party beneficiaries of contracts between

2    Defendant and their dealers, and specifically, of Defendant’s implied warranties. The dealers were

3    not intended to be the ultimate consumers of the Class Vehicles and have no rights under the warranty

4    agreements provided with the Class Vehicles; the warranty agreements were designed for and

5    intended to benefit the consumers only. Defendant was also aware that the ultimate consumers of the

6    Class Vehicles (i.e., the Class) required vehicles that would function safely, could be relied upon, and

7    otherwise meet minimum industry standards. Additionally, privity is excused here because Plaintiff

8    Rapp and each of the other Class members relied on statements made by Defendant itself in choosing

9    to purchase or lease a Class Vehicle. As alleged herein, the marketing of the Class Vehicles was

10   uniform, and was controlled and disseminated directly by Defendant.

11          ANSWER: This paragraph does not require a response because the Court dismissed the

12   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

13   follows: This paragraph does not contain factual allegations requiring a response. To the extent a

14   response is required, AHM denies the allegations in this paragraph.

15          496. Plaintiff Rapp, on behalf of himself and the Class, seeks monetary damages, treble

16   damages, costs, attorneys’ fees, and such other and further relief provided by law and equity.

17          ANSWER: This paragraph does not require a response because the Court dismissed the

18   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

19   follows: AHM admits that Plaintiffs seek damages and other relief, but denies that they or any putative
20   member of the alleged class is entitled to any relief. AHM denies any remaining allegations in this

21   paragraph.

22                               COUNT NINETEEN:
         DECEPTIVE ACTS OR PRACTICES PROHIBITED BY MASSACHUSETTS LAW
23                       (Mass. Gen. Laws ch. 93A, §§ 1, et seq.)
                         (On Behalf of the Massachusetts Class)
24

25          497. Plaintiff Casey realleges and incorporates by reference all preceding allegations as

26   though fully set forth herein.

27          ANSWER: AHM reasserts and incorporates by reference its answers to all preceding

28   allegations as though fully set forth herein.
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1           498. Plaintiff Casey brings this claim individually and on behalf of the Massachusetts Class

2    against Defendant.

3           ANSWER: AHM admits that Casey purports to bring this claim individually and on behalf

4    of other putative members of an alleged class, but denies that the claim is amenable to class treatment.

5    AHM denies the remaining allegations in this paragraph.

6           499. Defendant, Plaintiffs, and the Massachusetts Class are “persons” within the meaning

7    of MASS. GEN. LAWS ch. 93A, §1(a).

8           ANSWER: This paragraph does not contain factual allegations requiring a response. To the

9    extent a response is required, M.G.L. ch. 93A, § 1(a) speaks for itself and AHM denies the remaining

10   allegations in this paragraph.

11          500. Defendant engaged in “trade” or “commerce” within the meaning of MASS. GEN.

12   LAWS ch. 93A, §1(b).

13          ANSWER: This paragraph does not contain factual allegations requiring a response. To the

14   extent a response is required, M.G.L. ch. 93A, § 1(b) speaks for itself and AHM denies the remaining

15   allegations in this paragraph.

16          501. Massachusetts law prohibits “unfair or deceptive acts or practices in the conduct of any

17   trade or commerce.” MASS. GEN. LAWS ch. 93A, §2. Defendant participated in misleading, false,

18   or deceptive acts that violated Massachusetts law.

19          ANSWER: M.G.L. ch. 93A, § 2 speaks for itself, and to the extent the allegations in this
20   paragraph vary therewith, AHM denies the allegations. AHM further denies the remaining allegations

21   in this paragraph, including any conduct that violated this statute.

22          502. In the course of its business, Defendant concealed and suppressed material facts

23   concerning the Parasitic Drain Defect present in the Class Vehicles. Specifically, Defendant

24   knowingly misrepresented and/or intentionally concealed material facts regarding the quality, safety,

25   and reliability of the Class Vehicles, including the existence of the Defect, and the existence of a

26   permanent and reliable repair for the Defect. Specifically, in marketing, offering for sale/lease, and

27   selling/leasing the defective Class Vehicles, Defendant engaged in one or more of the following

28   unfair or deceptive acts or practices prohibited by Massachusetts law.
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1            ANSWER: AHM denies the allegations in this paragraph, including the existence of the

2    alleged defect and any conduct that violated this statute.

3            503. Plaintiffs and the Massachusetts Class members had no way of discerning that

4    Defendant’s representations were false and misleading, or otherwise learning the facts that Defendant

5    had concealed or failed to disclose.

6            ANSWER: AHM denies the allegations in this paragraph, including any conduct that

7    violated this statute.

8            504. Defendant thus violated Massachusetts law by, at minimum: (a) representing that Class

9    Vehicles have characteristics, uses, benefits, and qualities which they do not have; (b) representing

10   that Class Vehicles are of a particular standard, quality, and grade when they are not; (c) advertising

11   Class Vehicles with the intent not to sell or lease them as advertised; and (d) representing that the

12   subject of a transaction involving Class Vehicles has been supplied in accordance with a previous

13   representation when it has not.

14           ANSWER: AHM denies the allegations in this paragraph, including any conduct that

15   violated this statute.

16           505. Defendant intentionally and knowingly misrepresented material facts regarding the

17   Class Vehicles with intent to mislead the Massachusetts Class.

18           ANSWER: AHM denies the allegations in this paragraph, including any conduct that

19   violated this statute.
20           506. Defendant knew or should have known that its conduct violated Massachusetts law.

21           ANSWER: AHM denies the allegations in this paragraph.

22           507. Defendant owed the Plaintiffs and the Massachusetts Class a duty to disclose the Defect

23   and the true nature of the Class Vehicles, because Defendant:

24          (a)     possessed exclusive knowledge that it was manufacturing, selling, and distributing

25   vehicles throughout the United States that did not perform as advertised;

26          (b)     intentionally concealed the foregoing from regulators, Plaintiffs, and/or the

27   Massachusetts Class members; and/or

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1           (c)     made incomplete representations about the Class Vehicles generally, and the safety,

2    quality, and reliability of the Class Vehicles in particular, while purposefully withholding material

3    facts from Plaintiffs and/or Massachusetts Class members that contradicted these representations.

4            ANSWER: AHM denies the allegations in this paragraph, including the existence of the

5    alleged defect and any conduct that violated this statute.

6            508. Defendant’s fraudulent statements concerning the safety, quality, and reliability of the

7    Class Vehicles were material to Plaintiffs and to the Massachusetts Class.

8            ANSWER: AHM denies the allegations in this paragraph, including any conduct that

9    violated this statute.

10           509. Defendant’s unfair or deceptive acts or practices were likely to and did, in fact, deceive

11   reasonable consumers, including Plaintiffs and the Massachusetts Class members, about the safety,

12   quality, and reliability of the Class Vehicles, and the true value of the Class Vehicles.

13           ANSWER: AHM denies the allegations in this paragraph, including any conduct that

14   violated this statute.

15           510. Defendant’s violations present a continuing risk to Plaintiffs and to the Massachusetts

16   Class, as well as to the general public. Defendant’s unlawful acts and practices complained of herein

17   affect the public interest.

18           ANSWER: AHM denies the allegations in this paragraph.

19           511. Plaintiffs and the Massachusetts Class suffered ascertainable loss and actual damages
20   as a direct and proximate result of Defendant’s misrepresentations and its concealment of and failure

21   to disclose material information. Defendant had an ongoing duty to all of its customers to refrain from

22   unfair and deceptive practices under Massachusetts law. All owners of Class Vehicles suffered

23   ascertainable loss as a result of Defendant’s deceptive and unfair acts and practices made in the course

24   of Defendant’s business.

25           ANSWER: AHM denies the allegations in this paragraph, including any conduct that

26   violated this statute and that Plaintiffs or any putative member of the alleged class was damaged by

27   AHM.

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1           512. As a direct and proximate result of Defendant’s violations of Massachusetts law,

2    Plaintiffs and the Massachusetts Class have suffered injury-in-fact and/or actual damage.

3           ANSWER: AHM denies the allegations in this paragraph, including that Plaintiffs or any

4    putative member of the alleged class was injured or damaged by AHM.

5           513. Pursuant to MASS. GEN. LAWS ch. 93A, §9, Plaintiffs, on behalf of the Massachusetts

6    Class, seek monetary relief against Defendant measured as the greater of: (a) actual damages in an

7    amount to be determined at trial; and (b) statutory damages in the amount of $25 for each

8    Massachusetts Class member. Because Defendant’s conduct was committed willfully and knowingly,

9    Plaintiffs and each Massachusetts Class member is entitled to recover up to three times actual

10   damages, but no less than two times actual damages.

11          ANSWER: AHM admits that Plaintiffs seek damages and other relief, but denies that they

12   or any putative member of the alleged class is entitled to any relief. AHM denies the remaining

13   allegations in this paragraph.

14          514. Plaintiffs, on behalf of the Massachusetts Class, also seek an Order enjoining

15   Defendant’s unfair and/or deceptive acts or practices, punitive damages, and attorneys’ fees and costs,

16   and any other just and proper relief available under Massachusetts law.

17          ANSWER: AHM admits that Plaintiffs seek equitable and other relief, but denies that they

18   or any putative member of the alleged class is entitled to any relief. AHM denies the remaining

19   allegations in this paragraph.
20          515. On August 23, 2021, a notice letter was sent to Defendant, complying with MASS.

21   GEN. LAWS ch. 93A, §9(3). Additionally, Defendant was provided notice of the issues raised in this

22   Count and this Complaint by the numerous complaints filed against it, and the many individual notice

23   letters sent by consumers. Plaintiffs seek all damages and relief to which Plaintiffs and the

24   Massachusetts Class are entitled.

25          ANSWER: AHM admits that Casey sent a letter to it dated August 23, 2021 asserting that

26   it is in violation of M.G.L. ch. 93A, § 9(3), but denies that the letter satisfied the requirements of

27   M.G.L. ch. 93A, § 9. AHM further admits that Plaintiffs seek damages and other relief, but denies

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1    that they or any putative member of the alleged class is entitled to any relief. AHM denies the

2    remaining allegations in this paragraph.

3           516. As a result of Defendant’s conduct, the amount of its unjust enrichment should be

4    disgorged, in an amount according to proof.

5           ANSWER: AHM denies the allegations in this paragraph.

6           517. Plaintiffs, on behalf of themselves and the Massachusetts Class, seek monetary

7    damages, costs, attorneys’ fees, and such other relief provided by law and equity.

8           ANSWER: AHM admits that Plaintiffs seek damages and other relief, but denies that they

9    or any putative member of the alleged class is entitled to any relief. AHM denies any remaining

10   allegations in this paragraph.

11                                             COUNT TWENTY:
                                       MASSACHUSETTS LEMON LAW
12                                     (Mass. Gen. Laws ch. 90, § 7N1/2(1))
                                      (On Behalf of the Massachusetts Class)
13
            518. Plaintiff Casey realleges and incorporates by reference all preceding allegations as
14
     though fully set forth herein.
15
            ANSWER: AHM reasserts and incorporates by reference its answers to all preceding
16
     allegations as though fully set forth herein.
17
            519. Plaintiff Casey brings this claim individually and on behalf of the Massachusetts Class
18
     against Defendant.
19
            ANSWER: AHM admits that Casey purports to bring this claim individually and on behalf
20
     of other putative members of an alleged class, but denies that the claim is amenable to class treatment.
21
     AHM denies the remaining allegations in this paragraph.
22
            520. Plaintiffs and the Massachusetts Class members own or lease “motor vehicles” within
23
     the meaning of MASS. GEN. LAWS ch. 90, §7N1/2(1), because these vehicles were constructed or
24
     designed for propulsion by power and were sold, leased, or replaced by Defendant. These vehicles
25
     are not: (a) auto homes; (b) vehicles built primarily for off-road use; and (c) used primarily for
26
     business purposes.
27

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1           ANSWER: AHM admits that the alleged Class Vehicles are not auto homes and vehicles

2    built primarily for off-road use. M.G.L. ch. 90, § 7N1/2(1) speaks for itself, and to the extent the

3    allegations in this paragraph vary therewith, AHM denies the allegations. AHM denies that it sold,

4    leased, or replaced any vehicles to Plaintiffs or any putative member of the alleged class. AHM lacks

5    knowledge or information sufficient to form a belief about the truth of the remaining allegations in

6    this paragraph and therefore denies the allegations.

7           521. Defendant is a “manufacturer” of the Class Vehicles within the meaning of MASS.

8    GEN. LAWS ch. 90, §7N1/2(1).

9           ANSWER: This paragraph does not contain factual allegations requiring a response. To the

10   extent a response is required, M.G.L. ch. 90, § 7N1/2(1) speaks for itself and AHM denies the

11   remaining allegations in this paragraph.

12          522. Plaintiffs and the Massachusetts Class are “consumers” within the meaning of MASS.

13   GEN. LAWS ch. 90, §7N1/2(1) because they bought or leased the Class Vehicles or are otherwise

14   entitled to the attendant terms of warranty

15          ANSWER: This paragraph does not contain factual allegations requiring a response. To the

16   extent a response is required, M.G.L. ch. 90, § 7N1/2(1) speaks for itself and AHM denies the

17   remaining allegations in this paragraph.

18          523. The Class Vehicles did not conform to their express and implied warranties because of

19   the Defect, which caused the Class Vehicles to not operate as intended, and were therefore not fit for
20   the ordinary purpose for which vehicles are used.

21          ANSWER: AHM denies the allegations in this paragraph, including the existence of the

22   alleged defect.

23          524. Defendant had actual knowledge of the nonconformities during the “term of protection”

24   within the meaning of MASS. GEN. LAWS ch. 90, §§7N1/2(1)-7N1/2(2). But, the nonconformities

25   continued to exist throughout this term, as they have not been fixed. Massachusetts Class members

26   are excused from notifying Defendant of the nonconformities because it was already fully aware of

27   the problem—it intentionally created it—and any repair attempt is futile.

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1           ANSWER: AHM denies the allegations in this paragraph, including the existence of the

2    alleged defect.

3           525. Defendant had a reasonable opportunity to cure the nonconformities because of its

4    actual knowledge of, creation of, and attempt to conceal the nonconformities, but has not done so as

5    required under MASS. GEN. LAWS ch. 90, §7N1/2(3).

6           ANSWER: AHM denies the allegations in this paragraph, including the existence of the

7    alleged defect.

8           526. For vehicles purchased, the Massachusetts Class demands a full refund of the contract

9    price. For vehicles leased, the Massachusetts Class demands a full refund of all payments made under

10   the lease agreement. The Massachusetts Class exercises their “unqualified right” to reject an offer of

11   replacement and will retain their vehicles until payment is tendered under MASS. GEN. LAWS ch.

12   90, §7N1/2(3).

13          ANSWER: AHM admits that Plaintiffs seek damages and other relief, but denies that they

14   or any putative member of the alleged class is entitled to any relief. AHM denies the remaining

15   allegations in this paragraph.

16          527. Plaintiffs, on behalf of themselves and the Massachusetts Class, seek monetary

17   damages, costs, attorneys’ fees, and such other relief provided by law and equity.

18          ANSWER: AHM admits that Plaintiffs seek damages and other relief, but denies that they

19   or any putative member of the alleged class is entitled to any relief. AHM denies any remaining
20   allegations in this paragraph.

21                                 COUNT TWENTY-ONE:
                   BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
22                       (Mass. Gen. Laws ch. 106, §§ 2-314 and 2A-212)
                             (On Behalf of the Massachusetts Class)
23

24          528. Plaintiff Casey realleges and incorporates by reference all preceding allegations as

25   though fully set forth herein.

26          ANSWER: This paragraph does not require a response because the Court dismissed the

27   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

28
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1    follows: AHM reasserts and incorporates by reference its answers to all preceding allegations as

2    though fully set forth herein.

3           529. Plaintiff Casey brings this claim individually and on behalf of the Massachusetts Class

4    against Defendant.

5           ANSWER: This paragraph does not require a response because the Court dismissed the

6    claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

7    follows: AHM admits that Casey purports to bring this claim individually and on behalf of other

8    putative members of an alleged class, but denies that the claim is amenable to class treatment. AHM

9    denies the remaining allegations in this paragraph.

10          530. Defendant is and was, at all relevant times, a “merchant” with respect to motor vehicles

11   under MASS. GEN. LAWS ch. 106, §2-104(1), and a “seller” of motor vehicles under MASS. GEN.

12   LAWS ch. 106, §2 103(1)(d).

13          ANSWER: This paragraph does not require a response because the Court dismissed the

14   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

15   follows: This paragraph does not contain factual allegations requiring a response. To the extent a

16   response is required, M.G.L. ch. 106, §§ 2-103(1)(d) and 2-104(1) speak for themselves and AHM

17   denies the remaining allegations in this paragraph.

18          531. With respect to leases, Defendant is and was, at all relevant times a “lessor” of motor

19   vehicles under MASS. GEN. LAWS ch. 106, §2A-103(1)(p).
20          ANSWER: This paragraph does not require a response because the Court dismissed the

21   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

22   follows: This paragraph does not contain factual allegations requiring a response. To the extent a

23   response is required, M.G.L. ch. 106, § 2A-103(1)(p) speaks for itself and AHM denies the remaining

24   allegations in this paragraph.

25          532. The Class Vehicles are and were, at all relevant times, “goods” within the meaning of

26   MASS. GEN. LAWS ch. 106, §§2-105(1) and 2A-103(1)(h).

27          ANSWER: This paragraph does not require a response because the Court dismissed the

28   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as
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1    follows: This paragraph does not contain factual allegations requiring a response. To the extent a

2    response is required, M.G.L. ch. 106, §§ 2-A103(1)(h) and 2-105(1) speak for themselves and AHM

3    denies the remaining allegations in this paragraph.

4            533. A warranty that the Class Vehicles were in merchantable condition and fit for the

5    ordinary purpose for which vehicles are used is implied by law pursuant to MASS. GEN. LAWS ch.

6    106, §§2-314 and 2A-212.

7            ANSWER: This paragraph does not require a response because the Court dismissed the

8    claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

9    follows: This paragraph does not contain factual allegations requiring a response. To the extent a

10   response is required, M.G.L. ch. 106, §§ 2-314 and 2A-212 speak for themselves and AHM denies

11   the remaining allegations in this paragraph.

12           534. These Class Vehicles, when sold or leased and at all times thereafter, included the

13   Defect, and were therefore not fit for the ordinary purpose for which vehicles are used.

14           ANSWER: This paragraph does not require a response because the Court dismissed the

15   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

16   follows: AHM denies the allegations in this paragraph, including the existence of the alleged defect.

17           535. Defendant was provided notice of these issues by the numerous public complaints filed

18   against it with NHTSA, as well as the filing of the instant Complaint, within a reasonable amount of

19   time.
20           ANSWER: This paragraph does not require a response because the Court dismissed the

21   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

22   follows: AHM denies the allegations in this paragraph.

23           536. As a direct and proximate result of Defendant’s breach of the implied warranty of

24   merchantability, Massachusetts Class members have been damaged in an amount to be proven at trial.

25           ANSWER: This paragraph does not require a response because the Court dismissed the

26   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

27   follows: AHM denies the allegations in this paragraph, including that Plaintiffs or any putative

28   member of the alleged class was damaged by AHM.
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1           537. Plaintiffs, on behalf of themselves and the Massachusetts Class, seek monetary

2    damages, costs, attorneys’ fees, and such other relief provided by law and equity.

3           ANSWER: This paragraph does not require a response because the Court dismissed the

4    claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

5    follows: AHM admits that Plaintiffs seek damages and other relief, but denies that they or any putative

6    member of the alleged class is entitled to any relief. AHM denies any remaining allegations in this

7    paragraph.

8                               COUNT TWENTY-TWO:
               VIOLATIONS OF THE MICHIGAN CONSUMER PROTECTION ACT
9                          (Mich. Comp. Laws §§ 445.903 et seq.)
                             (On Behalf of the Michigan Class)
10
            538. Plaintiff Sanger realleges and incorporates by reference all preceding allegations as
11
     though fully set forth herein.
12
            ANSWER: AHM reasserts and incorporates by reference its answers to all preceding
13
     allegations as though fully set forth herein.
14
            539. Plaintiff Sanger brings this claim individually, and on behalf of the Michigan Class
15
     against Defendant.
16
            ANSWER: AHM admits that Sanger purports to bring this claim individually and on behalf
17
     of other putative members of an alleged class, but denies that the claim is amenable to class treatment.
18
     AHM denies the remaining allegations in this paragraph.
19
            540. The Michigan Class members are “person[s]” within the meaning of the MICH.
20
     COMP. LAWS §445.902(1)(d).
21
            ANSWER: This paragraph does not contain factual allegations requiring a response. To the
22
     extent a response is required, MCL § 445.902(1)(d) speaks for itself and AHM denies the remaining
23
     allegations in this paragraph.
24
            541. Defendant is a “person” engaged in “trade or commerce” within the meaning of the
25
     MICH. COMP. LAWS §445.902(1)(d) and (g).
26

27

28
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1            ANSWER: This paragraph does not contain factual allegations requiring a response. To the

2    extent a response is required, MCL §§ 445.902(1)(d) and (g) speak for themselves and AHM denies

3    the remaining allegations in this paragraph.

4            542. The Michigan Consumer Protection Act (“Michigan CPA”) prohibits “[u]nfair,

5    unconscionable, or deceptive methods, acts, or practices in the conduct of trade or commerce[.]”

6    MICH. COMP. LAWS §445.903(1). Defendant engaged in unfair, unconscionable, or deceptive

7    methods, acts, or practices prohibited by the Michigan CPA, including: “(c) [r]epresenting that goods

8    or services have . . . characteristics . . . that they do not have . . .;” “(e) [r]epresenting that goods or

9    services are of a particular standard . . . if they are of another;” “(i) [m]aking false or misleading

10   statements of fact concerning the reasons for, existence of, or amounts of price reductions;” “(s)

11   [flailing to reveal a material fact, the omission of which tends to mislead or deceive the consumer,

12   and which fact could not reasonably be known by the consumer;” “(bb) [m]aking a representation of

13   fact or statement of fact material to the transaction such that a person reasonably believes the

14   represented or suggested state of affairs to be other than it actually is;” and “(cc) [flailing to reveal

15   facts that are material to the transaction in light of representations of fact made in a positive manner.”

16   MICH. COMP. LAWS §445.903(1).

17           ANSWER: The Michigan Consumer Protection Act (“Michigan CPA”) and MCL

18   §§ 445.903(1) speak for themselves, and to the extent the allegations in this paragraph vary therewith,

19   AHM denies the allegations. AHM further denies the remaining allegations in this paragraph,
20   including any conduct that violated this statute.

21           543. In the course of its business, Defendant concealed and suppressed material facts

22   concerning the Parasitic Drain Defect present in the Class Vehicles. Specifically, Defendant

23   knowingly misrepresented and/or intentionally concealed material facts regarding the quality, safety,

24   and reliability of the Class Vehicles, including the existence of the Defect, and the existence of a

25   permanent and reliable repair for the Defect.

26           ANSWER: AHM denies the allegations in this paragraph, including the existence of the

27   alleged defect and any conduct that violated this statute.

28
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1            544. Defendant, thus, violated the Michigan CPA by, at minimum: (a) employing deception,

2    deceptive acts or practices, fraud, and/or misrepresentations; or (b) concealing, suppressing, or

3    omitting material facts with the intent that others rely upon such concealment, suppression, or

4    omission, in connection with the sale of Class Vehicles.

5            ANSWER: AHM denies the allegations in this paragraph, including any conduct that

6    violated this statute.

7            545. Plaintiffs and the Michigan Class members had no way of discerning that Defendant’s

8    representations were false and misleading, or otherwise learning the facts that Defendant had

9    concealed or failed to disclose.

10           ANSWER: AHM denies the allegations in this paragraph, including any conduct that

11   violated this statute.

12           546. Defendant intentionally and knowingly misrepresented material facts regarding the

13   Class Vehicles with intent to mislead Plaintiffs and the Michigan Class.

14           ANSWER: AHM denies the allegations in this paragraph, including any conduct that

15   violated this statute.

16           547. Defendant knew or should have known that its conduct violated the Michigan Act.

17           ANSWER: AHM denies the allegations in this paragraph.

18           548. Defendant owed Plaintiffs and the Michigan Class a duty to disclose the Defect and the

19   true nature of the Class Vehicles, because Defendant:
20          (a)     possessed exclusive knowledge that it was manufacturing, selling, and distributing

21   vehicles throughout the United States that did not perform as advertised;

22          (b)     intentionally concealed the foregoing from regulators, Plaintiffs, and/or Michigan

23   Class members; and/or

24          (c)     made incomplete representations about the Class Vehicles generally, and the quality,

25   safety, and reliability of the Class Vehicles in particular, while purposefully withholding material facts

26   from Plaintiffs that contradicted these representations.

27           ANSWER: AHM denies the allegations in this paragraph, including the existence of the

28   alleged defect and any conduct that violated this statute.
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1            549. Defendant’s fraudulent concealment of the true characteristics of the Class Vehicles’

2    battery, and the lack of safety, reliability, and quality of the Class Vehicles, were material to Plaintiffs

3    and the Michigan Class.

4            ANSWER: AHM denies the allegations in this paragraph, including any conduct that

5    violated this statute.

6            550. Defendant’s unfair or deceptive acts or practices were likely to and did, in fact, deceive

7    reasonable consumers, including Plaintiffs and the Michigan Class, about the safety, reliability, and

8    quality of the Class Vehicles; the quality of Defendant’s brands; the existence of the Defect; and the

9    true value of the Class Vehicles.

10           ANSWER: AHM denies the allegations in this paragraph, including the existence of the

11   alleged defect and any conduct that violated this statute.

12           551. Plaintiffs and the Michigan Class suffered ascertainable loss and actual damages as a

13   direct and proximate result of Defendant’s misrepresentations and its concealment of and failure to

14   disclose material information.

15           ANSWER: AHM denies the allegations in this paragraph, including any conduct that

16   violated this statute and that Plaintiffs or any putative member of the alleged class was damaged by

17   AHM.

18           552. Defendant’s violations present a continuing risk to Plaintiffs and the Michigan Class,

19   as well as to the general public. Defendant’s unlawful acts and practices complained of herein affect
20   the public interest.

21           ANSWER: AHM denies the allegations in this paragraph.

22           553. Plaintiffs and the Michigan Class members suffered ascertainable loss and actual

23   damages as a direct and proximate result of Defendant’s misrepresentations and its concealment of

24   and failure to disclose material information. Defendant had an ongoing duty to all their customers to

25   refrain from unfair and deceptive practices under the Michigan CPA. All owners of Class Vehicles

26   suffered ascertainable loss as a result of Defendant’s deceptive and unfair acts and practices made in

27   the course of Defendant’s business.

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1           ANSWER: AHM denies the allegations in this paragraph, including any conduct that

2    violated this statute and that Plaintiffs or any putative member of the alleged class was damaged by

3    AHM.

4           554. As a direct and proximate result of Defendant’s violations of the Michigan CPA,

5    Michigan Class members have suffered injury-in-fact and/or actual damage.

6           ANSWER: AHM denies the allegations in this paragraph, including that Plaintiffs or any

7    putative member of the alleged class was injured or damaged by AHM.

8           555. Plaintiffs, on behalf of the Michigan Class, seek injunctive relief to enjoin Defendant

9    from continuing its unfair and deceptive acts; monetary relief against Defendant measured as the

10   greater of: (a) actual damages in an amount to be determined at trial; and (b) statutory damages in the

11   amount of $250 for each Michigan Class member; reasonable attorneys’ fees; and any other just and

12   proper relief available under MICH. COMP. LAWS §445.911.

13          ANSWER: AHM admits that Plaintiffs seek damages and other relief, but denies that they

14   or any putative member of the alleged class is entitled to any relief. AHM denies the remaining

15   allegations in this paragraph.

16          556. Plaintiffs, on behalf of the Michigan Class, also seek punitive damages against

17   Defendant because it carried out despicable conduct with willful and conscious disregard of the rights

18   of others. Defendant intentionally and willfully misrepresented the reliability of the Class Vehicles

19   and concealed material facts that only it knew—all to avoid the expense and public relations
20   nightmare of correcting a flaw in the Class Vehicles. Defendant’s unlawful conduct constitutes

21   oppression and fraud warranting punitive damages.

22          ANSWER: AHM admits that Plaintiffs seek other relief, but denies that they or any putative

23   member of the alleged class is entitled to any relief. AHM denies the remaining allegations in this

24   paragraph, including any conduct that violated this statute.

25          557. Plaintiffs, on behalf of themselves and the Michigan Class, seek monetary damages,

26   costs, attorneys’ fees, and such other relief provided by law and equity.

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1           ANSWER: AHM admits that Plaintiffs seek damages and other relief, but denies that they

2    or any putative member of the alleged class is entitled to any relief. AHM denies the remaining

3    allegations in this paragraph.

4                                 COUNT TWENTY-THREE:
                   BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
5                         (Mich. Comp. Laws §§ 440.2314 and 440.2860)
                                (On Behalf of the Michigan Class)
6

7           558. Plaintiff Sanger realleges and incorporates by reference all preceding allegations as

8    though fully set forth herein.

9           ANSWER: This paragraph does not require a response because the Court dismissed the

10   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

11   follows: AHM reasserts and incorporates by reference its answers to all preceding allegations as

12   though fully set forth herein.

13          559. Plaintiff Sanger brings this claim individually and on behalf of the Michigan Class

14   against Defendant.

15          ANSWER: This paragraph does not require a response because the Court dismissed the

16   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

17   follows: AHM admits that Sanger purports to bring this claim individually and on behalf of other

18   putative members of an alleged class, but denies that the claim is amenable to class treatment. AHM

19   denies the remaining allegations in this paragraph.
20          560. Defendant is and was, at all relevant times, a “merchant” with respect to motor vehicles

21   under MICH. COMP. LAWS §440.2104(1), and a “sellers” of motor vehicles under MICH. COMP.

22   LAWS §440.2103(1)(c).

23          ANSWER: This paragraph does not require a response because the Court dismissed the

24   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

25   follows: This paragraph does not contain factual allegations requiring a response. To the extent a

26   response is required, MCL §§ 440.2104(1) and 440.2103(1)(c) speak for themselves and AHM denies

27   the remaining allegations in this paragraph.

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1           561. With respect to leases, Defendant is and was, at all relevant times, a “lessor” of motor

2    vehicles under MICH. COMP. LAWS §440.2803(1)(p).

3           ANSWER: This paragraph does not require a response because the Court dismissed the

4    claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

5    follows: This paragraph does not contain factual allegations requiring a response. To the extent a

6    response is required, MCL § 440.2803(1)(p) speaks for itself and AHM denies the remaining

7    allegations in this paragraph.

8           562. The Class Vehicles are and were, at all relevant times, “goods” within the meaning of

9    MICH. COMP. LAWS §§440.2105(1) and 440.2803(1)(h).

10          ANSWER: This paragraph does not require a response because the Court dismissed the

11   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

12   follows: This paragraph does not contain factual allegations requiring a response. To the extent a

13   response is required, MCL § 440.2803(1)(h) speaks for itself and AHM denies the remaining

14   allegations in this paragraph.

15          563. A warranty that the Class Vehicles were in merchantable condition and fit for the

16   ordinary purpose for which vehicles are used is implied by law pursuant to MICH. COMP. LAWS

17   §§440.2314 and 440.2862.

18          ANSWER: This paragraph does not require a response because the Court dismissed the

19   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as
20   follows: This paragraph does not contain factual allegations requiring a response. To the extent a

21   response is required, MCL §§ 440.2314 and 440.2862 speak for themselves and AHM denies the

22   remaining allegations in this paragraph.

23          564. These Class Vehicles, when sold or leased and at all times thereafter, included the

24   Defect, and were therefore not fit for the ordinary purpose for which vehicles are used.

25          ANSWER: This paragraph does not require a response because the Court dismissed the

26   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

27   follows: AHM denies the allegations in this paragraph, including the existence of the alleged defect.

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1             565. Defendant was provided notice of these issues by the complaints filed with NHTSA

2     detailed herein, as well as the instant Complaint, within a reasonable amount of time.

3             ANSWER: This paragraph does not require a response because the Court dismissed the

4    claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

5    follows: AHM denies the allegations in this paragraph.

6             566. As a direct and proximate result of Defendant’s breach of the implied warranty of

7     merchantability, Plaintiffs and the Michigan Class members have been damaged in an amount to be

8     proven at trial.

9             ANSWER: This paragraph does not require a response because the Court dismissed the

10   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

11   follows: AHM denies the allegations in this paragraph, including that Plaintiffs or any putative

12   member of the alleged class was damaged by AHM.

13            567. Plaintiffs, on behalf of themselves and the Michigan Class, seek monetary damages,

14    costs, attorneys’ fees, and such other relief provided by law and equity.

15            ANSWER: This paragraph does not require a response because the Court dismissed the

16   claim on October 19, 2023. See Dkt. 89 at 12. To the extent a response is required, AHM responds as

17   follows: AHM admits that Plaintiffs seek damages and other relief, but denies that they or any putative

18   member of the alleged class is entitled to any relief. AHM denies any remaining allegations in this

19   paragraph.
20   X.      PRAYER FOR RELIEF
21           Plaintiffs’ prayer for relief does not contain factual allegations requiring a response. To the

22   extent a response is required, AHM denies that Plaintiffs or any putative member of the alleged classes

23   is entitled to any relief, including specifically all relief requested for each cause of action set forth in

24   Plaintiffs’ prayer.

25                                        AFFIRMATIVE DEFENSES

26           Without assuming or admitting that AHM bears the burden of proof for any of the below

27   allegations or defenses, AHM pleads the following affirmative defenses to Plaintiffs’ SAC. AHM has

28   insufficient knowledge or information on which to form a belief as to whether it may have additional
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1    affirmative defenses that govern the claims asserted by Plaintiffs and members of the proposed classes.

2    AHM therefore reserves the right to amend its answer to add additional defenses as appropriate,

3    including but not limited to those revealed during discovery.

4                                     FIRST AFFIRMATIVE DEFENSE

5           The SAC fails to state any claim upon which relief can be granted.

6                                   SECOND AFFIRMATIVE DEFENSE

7           Upon information and belief, the sales contracts pursuant to which Plaintiffs and/or some or

8    all members of the proposed classes purchased or leased their vehicles contain arbitration clauses that

9    may require some or all of the claims asserted herein to be resolved through arbitration.

10                                   THIRD AFFIRMATIVE DEFENSE

11          Some or all of the claims made in Plaintiffs’ SAC, including claims made on behalf of the

12   proposed putative classes, are barred because the named Plaintiffs and/or members of the proposed

13   putative classes lack Article III or statutory standing.

14                                  FOURTH AFFIRMATIVE DEFENSE

15          The claims of Plaintiffs and/or members of the proposed classes may be barred, in whole or in

16   part, to the extent any injury sustained by Plaintiffs and/or members of the proposed classes were

17   proximately and actually caused, in whole or in part, by the acts or omissions on the part of Plaintiffs,

18   members of the proposed class, and/or others for whose conduct AHM is not responsible.

19                                    FIFTH AFFIRMATIVE DEFENSE
20          The claims of Plaintiffs and/or members of the proposed classes may be barred, in whole or in

21   part, in that any alleged acts or omissions were intervened and/or superseded by the acts and omissions

22   of others, which were the sole cause of injury, damage, or loss (if any) to Plaintiffs and/or members

23   of the proposed classes.

24                                    SIXTH AFFIRMATIVE DEFENSE

25          The claims of Plaintiffs and/or members of the proposed classes may be barred, in whole or in

26   part, in that any and all injuries, losses, or damages (if any) sustained or suffered by Plaintiffs and/or

27   members of the proposed classes were the direct and proximate result of an unavoidable accident,

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1    incident or condition, an act of God, an act of nature, and/or irresistible forces of nature without fault

2    or liability on the part of AHM.

3                                    SEVENTH AFFIRMATIVE DEFENSE

4              Any claims for damages or other monetary recovery by Plaintiffs and/or members of the

5    proposed classes must be offset and reduced by the value received from the vehicles purchased or

6    leased.

7                                     EIGHTH AFFIRMATIVE DEFENSE

8              Any claims for incidental or consequential damages are barred by written disclaimers.

9                                      NINTH AFFIRMATIVE DEFENSE

10             With respect to all causes of action based on an alleged breach of any express warranty, there

11   is no privity of contract or other relationship between Plaintiffs and/or members of the proposed

12   classes and AHM that provides a basis for such warranty or duty in favor of Plaintiffs and/or members

13   of the proposed classes.

14                                    TENTH AFFIRMATIVE DEFENSE

15             If any persons or entities claiming to be members of the proposed classes have settled or

16   released their claims, they may be barred from recovery, in whole or in part, by such settlements or

17   releases.

18                                  ELEVENTH AFFIRMATIVE DEFENSE

19             If any persons claiming to be members of the proposed classes have resolved similar or the
20   same claims as those alleged in the SAC, they may be barred from recovery, in whole or in part, on

21   the ground that they are subject to the defense of accord and satisfaction.

22                                  TWELFTH AFFIRMATIVE DEFENSE

23             The claims of Plaintiffs and/or members of the proposed classes are time-barred under the

24   applicable statute of limitations.

25                                THIRTEENTH AFFIRMATIVE DEFENSE

26             The claims of Plaintiffs and/or members of the proposed classes are barred, in whole or in part,

27   based on the doctrine of waiver.

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1                               FOURTEENTH AFFIRMATIVE DEFENSE

2           The claims of Plaintiffs and/or members of the proposed classes are barred, in whole or in part,

3    based on the doctrine of estoppel.

4                                 FIFTEENTH AFFIRMATIVE DEFENSE

5           The claims of Plaintiffs and/or members of the proposed classes are barred, in whole or in part,

6    based on the doctrine of laches.

7                                 SIXTEENTH AFFIRMATIVE DEFENSE

8           The claims of Plaintiffs and/or members of the proposed classes are barred, in whole or in part,

9    to the extent they engaged in unlawful, inequitable, or improper conduct.

10                             SEVENTEENTH AFFIRMATIVE DEFENSE

11          The claims of Plaintiffs and/or members of the proposed classes may be barred, in whole or in

12   part, based upon the improper use or maintenance of their vehicles or the misuse, abuse, unauthorized

13   or unreasonable use of their vehicles.

14                              EIGHTEENTH AFFIRMATIVE DEFENSE

15          Plaintiffs and/or members of the proposed classes whose vehicles have been altered, modified,

16   or changed are barred, in whole or in part, from recovery.

17                              NINETEENTH AFFIRMATIVE DEFENSE

18          The claims of Plaintiffs and/or members of the proposed classes are barred, in whole or in part,

19   to the extent they have failed to mitigate damages and/or have caused some or all of the alleged damage
20   of which they now complain.

21                               TWENTIETH AFFIRMATIVE DEFENSE

22          The claims of Plaintiffs and/or members of the proposed classes may be barred, in whole or in

23   part, because Plaintiff and members of the proposed classes cannot meet their burden of showing that

24   any acts, conduct, statement or omissions on the part of AHM were likely to mislead.

25                             TWENTY-FIRST AFFIRMATIVE DEFENSE

26          Plaintiffs’ action is not properly maintained as a class action because the requirements under

27   federal law for class certification are not met and certification of the proposed classes would result in

28   a denial of due process to AHM as well as to the proposed classes.
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1                            TWENTY-SECOND AFFIRMATIVE DEFENSE

2           The action is not appropriate for class treatment because Plaintiffs’ claims necessarily revolve

3    around the individual circumstances concerning the usage, maintenance, and parking of the vehicles

4    of Plaintiffs and each member of the proposed classes.

5                              TWENTY-THIRD AFFIRMATIVE DEFENSE

6           Plaintiffs’ claims for equitable remedies are barred because Plaintiff and members of the

7    proposed putative classes have an adequate remedy at law.

8                            TWENTY-FOURTH AFFIRMATIVE DEFENSE

9           AHM’s conduct described in the SAC is not “unfair” within the meaning of California

10   Business and Professions Code § 17200 because the benefits of the alleged conduct outweigh the

11   alleged harm to consumers.

12                             TWENTY-FIFTH AFFIRMATIVE DEFENSE

13          AHM’s conduct described in the SAC is not “unfair” within the meaning of California

14   Business and Professions Code § 17200 based upon AHM’s reasons, justifications, and motives for

15   the conduct.

16                             TWENTY-SIXTH AFFIRMATIVE DEFENSE

17          AHM’s conduct described in the SAC is not “unfair” within the meaning of California

18   Business and Professions Code § 17200 because Plaintiffs and members of proposed classes had

19   reasonably available alternatives.
20                           TWENTY-SEVENTH AFFIRMATIVE DEFENSE

21          AHM’s practice described in the SAC is not “unfair” within the meaning of California

22   Business and Professions Code § 17200 because the alleged conduct does not violate established

23   public policy and is not immoral, unethical, oppressive, or unscrupulous.

24                           TWENTY-EIGHTH AFFIRMATIVE DEFENSE

25          Plaintiffs’ claim for unfair-business practices under California Business and Professions Code

26   § 17200 is barred because the claim is not tethered to a legislatively declared policy.

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1                              TWENTY-NINTH AFFIRMATIVE DEFENSE

2           Plaintiffs’ and proposed class members’ vehicles conform to the then-existing current state of

3    art and are not unreasonably dangerous.

4                                 THIRTIETH AFFIRMATIVE DEFENSE

5           Plaintiffs’ and proposed class members’ vehicles conform to any then-existing applicable

6    governmental or industry standards.

7                               THIRTY-FIRST AFFIRMATIVE DEFENSE

8           Plaintiffs’ claim under the Massachusetts Lemon Law fails, in whole or in part, because the

9    alleged nonconformity does not substantially impair the use, market value, or safety of the vehicle.

10                                       AHM’S PRAYER FOR RELIEF

11          WHEREFORE, AHM prays for judgment in its favor and against Plaintiffs as to all remaining

12   claims in this action as follows:

13          1.      that Plaintiffs and all putative members of the proposed classes take nothing by

14   reason of this action;

15          2.      that certification of the proposed classes be denied;

16          3.      for attorneys’ fees and costs of suit incurred; and

17          4.      for such other and further relief as the Court deems just and proper.

18                                             JURY DEMAND

19          AHM demands a trial by jury on all issues so triable.
20   Dated: December 22, 2023                      Respectfully submitted,
21                                                 SHOOK, HARDY & BACON L.L.P.
22                                                 By:         __/s/ Rachel A. Straus       ________
                                                                      Rachel A. Straus
23
                                                   Attorneys for Defendant
24                                                 AMERICAN HONDA MOTOR CO., INC.
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